         Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 1 of 161

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     916.498.9000 (p)
     916.498.9005 (f)
 6
     Attorneys for Defendant,
 7   Infinite Energy Home Services, Inc.

 8
                              UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
10
     INFINITY ENERGY, INC., a              Case No. 2:21-cv-00438-WBS-KJN
11   California Corporation,               Hon. William B. Shubb

12                  Plaintiff,             DEFENDANT’S NOTICE OF FILING OF
          v.                               EXHIBITS IN SUPPORT OF
13
                                           MOTION FOR SUMMARY JUDGMENT,
14   INFINITE ENERGY HOME                  OR IN THE ALTERNATIVE,
     SERVICES, INC., a California          MOTION FOR PARTIAL SUMMARY JUDGMENT
15   Corporation,
                                           Date:         May 30, 2023
16
                                           Time:         1:30 p.m.
                       Defendant.
17                                         Location:     Courtroom 5

18
19
20         Defendant INFINITE ENERGY HOME SERVICES, INC. hereby files true

21   and correct copies of the following exhibits with the Court in

22   support    of   Defendant’s     Motion    for    Summary    Judgment,     or   in   the

23   alternative, Motion for Partial Summary Judgment

24         Exhibit A. Plaintiff's United States Patent and Trademark Office

25   servicemark registration certificate.

26         Exhibit B. Dictionary Definition of the "Infinity", Merriam-

27   Webster.com Dictionary, Merriam-Webster, accessed on Apr. 10, 2023,

28   https://www.merriam-webster.com/dictionary/infinity/.
                                                 1

     Defendant’s Notice of Filing of Exhibits in Support of Motion for Summary Judgment, or in
                        the Alternative, Motion for Partial Summary Judgment
         Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 2 of 161


 1          Exhibit C. Dictionary Definition of the "Infinite", Merriam-

 2   Webster.com Dictionary, Merriam-Webster, accessed on Apr. 10, 2023,

 3   https://www.merriam-webster.com/dictionary/infinite/.

 4          Exhibit D. Pertinent portions of the Deposition Transcript of

 5   Plaintiff’s Person Most Qualified, Cameron Kelly ( L.R. 133(j))

 6          Exhibit E. United States Patent and Trademark Office records

 7   listing     live        trademarks     containing          the     word     "Infinity"      in

 8   International Class 037.

 9          Exhibit F United States Patent and Trademark Office records

10   listing live trademarks containing the word "Infinity” for Solar

11   services.

12          Exhibit G. United States Patent and Trademark Office records

13   listing    live       trademarks     containing      the    word     "Energy"      for   Solar

14   services.

15          Exhibit H. Defendant Infinite Energy Home Services, Inc.'s

16   Responses     to       Plaintiff     Infinity       Energy,      Inc.'s      Requests      for

17   Admissions, Set One.

18          Exhibit     I.    Plaintiff     Infinity      Energy,       Inc.'s    Responses      to

19   Defendant     Infinite       Energy     Home       Services,     Inc.'s      Requests      for

20   Admission, Set One.

21          Exhibit     J.    Plaintiff     Infinity      Energy,       Inc.'s    Responses      to

22   Defendant Infinite Energy Home Services, Inc.'s Interrogatories, Set

23   One.

24          Exhibit K. Defendant Infinite Energy Home Services, Inc.'s

25   Responses        to      Plaintiff      Infinity           Energy,        Inc.'s     Special

26   Interrogatories, Set One.

27          Exhibit L. Plaintiff's Expert Report of Expert Dr. Patrick

28   Farrell.
                                                    2

     Defendant’s Notice of Filing of Exhibits in Support of Motion for Summary Judgment, or in
                        the Alternative, Motion for Partial Summary Judgment
         Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 3 of 161


 1         Exhibit M. Defendant's Rebuttal Expert Report of Expert Rhonda

 2   Harper.

 3         Exhibit N. Home page of Plaintiff's website with the domain

 4   name "https://infinityenergy.com/"

 5         Exhibit O. Home page of Defendant's website with the domain

 6   name "https://www.infiniteenergyco.com/"

 7         Exhibit P. United States Patent and Trademark Office, Office

 8   Action dated May 26, 2020.

 9         Exhibit Q. Informative materials for Plaintiff’s services.

10         Exhibit R. A page from Plaintiff’s website with the domain name

11   https://infinityenergy.com/,

12         Exhibit      S.    California     Secretary       of   State,    Statement     of

13   Information for Defendant Infinite Energy Home Services, Inc.

14         Exhibit      T.    Further     informative    materials        for   Plaintiff’s

15   services.

16         Exhibit U. Amendments page to Plaintiff’s servicemark.

17         Exhibit V. Defendant's Facebook page.

18         Exhibit W. Email correspondence between Plaintiff and third

19   party, dated March 11, 2022.

20         Exhibit      X.    A   page   displaying    the   options      for   Plaintiff’s

21   services      on        Plaintiff’s     webpage      with      the     domain      name

22   https://infinityenergy.com/.

23
24   DATED: APRIL 25, 2023                           KROGH & DECKER, LLP

25
26                                            By: /cagil arel/
                                                 CAGIL AREL
27                                               Attorney for Defendant,
                                                 Infinite Energy Home Services,
28                                               Inc.
                                                 3

     Defendant’s Notice of Filing of Exhibits in Support of Motion for Summary Judgment, or in
                        the Alternative, Motion for Partial Summary Judgment
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        EXHIBIT A
        Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 5 of 161




Reg. No. 6,162,823         Infinity Energy Inc. (CALIFORNIA CORPORATION)
                           3855 Atherton Rd.
Registered Sep. 29, 2020   Rocklin, CALIFORNIA 95765

                           CLASS 37: Installation of solar energy systems and alternative energy products for
Int. Cl.: 37               residential and commercial use
Service Mark               FIRST USE 10-3-2014; IN COMMERCE 10-3-2014

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "ENERGY"

                           SER. NO. 88-820,219, FILED 03-04-2020
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        EXHIBIT B
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        EXHIBIT C
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        EXHIBIT D
  Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 11 of 161




INFINITY ENERGY, INC. v. INFINITE
  ENERGY HOME SERVICES, INC.

       Case No. 2:21-cv-00438-WBS-KJN


DEPOSITION OF CAMERON KELLY
 PERSON MOST QUALIFIED FOR
    INFINITY ENERGY, INC.
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                                                                       31:5-7
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                                                              25:17:22
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                                                              31:23-32:3
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 15 of 161




                                                         36:4-37:4
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 16 of 161




                                                               22:19-23:6
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 17 of 161




                                                               33:10-18
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                                                                  56:7-16
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                                                   14:9 – 16:10




                                                                       14:9-25
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                                                               15:10-22
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                                                              15:23-16:10
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                                                               16:15-19
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                                                                  3:10-12
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                                                        18:8 - 19:9
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                                                                   20:4-13
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                                                                 13:14-19
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         EXHIBIT E
                                                                                                   Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 29 of 161
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         EXHIBIT F
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        Serial         Reg.                                                                        Check
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       Number         Number                                                                       Status
1   97669550                      INFINIPOWER                                                TSDR           LIVE
2   97069162                      GROWATT INFINITY                                           TSDR           LIVE
3   97837209                      INFINITUM SOLAR                                            TSDR           LIVE
4   97127872                      INFINITE INGENUITY                                         TSDR           LIVE
5   97710728                      INFINITY GRID                                              TSDR           LIVE
6   97221307                      E-INFINITE                                                 TSDR           LIVE
7   97193796                      INFINITE ENERGY HOME SERVICES                              TSDR           LIVE
8   90551955       6998700        8 ENFINITY                                                 TSDR           LIVE
9   90807604       6939005        INFINITE FIBEARS                                           TSDR           LIVE
                                  INFINITI POWER THE CLIENT POWER THE
10 90800785                                                                                  TSDR           LIVE
                                  FUTURE
11 90806528        6890849        INFINISOLAR                                                TSDR           LIVE
12 90260655        6695265        INFINITYLAB                                                TSDR           LIVE
13 90583656        6657300        INFINITY                                                   TSDR           LIVE
14 90261261        6416383        INFINITY ENERGY                                            TSDR           LIVE
15 88820219        6162823        INFINITY ENERGY                                            TSDR           LIVE
16 88135686        5756396        MESH                                                       TSDR           LIVE      009
17 87318329        5465616        INFINITY X1                                                TSDR           LIVE
18 87276693        5470590        STARGAZING INFINITE DIMENSIONS                             TSDR           LIVE
19 86391149        5253495        QI-INFINITY                                                TSDR           LIVE
20 77459781        3549577        SUNFINITI                                                  TSDR           LIVE      042


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        EXHIBIT G
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           Serial     Reg.                                                            Check
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          Number     Number                                                           Status
1    97377355                   SV SKYVISION ENERGY                                TSDR        LIVE
2    97065363                   ECO ENERGY FUNDS                                   TSDR        LIVE
3    97850975                   VOLT ENERGY GROUP                                  TSDR        LIVE
4    97478427                   ENPOWER ENERGY                                     TSDR        LIVE
5    97844442                   CVE CHANGING VISIONS OF ENERGY                     TSDR        LIVE
6    97479936                   E                                                  TSDR        LIVE
7    97873076                   KIIN ENERGY                                        TSDR        LIVE
8    97189042                   RIENERGY                                           TSDR        LIVE
9    97188998                   RHODE ISLAND ENERGY                                TSDR        LIVE
10   97838417                   AUXERA ENERGY                                      TSDR        LIVE
11   97389847                   CLOUDENERGY                                        TSDR        LIVE
12   97322069                   THE CATALYST FOR YOUR ENERGY TRANSITION TSDR                   LIVE
13   97231260                   JANUS ENERGY                                       TSDR        LIVE
14   97018098                   TERRANAUT ENERGY                                   TSDR        LIVE
15   97184406                   INTERSECT ENERGY                                   TSDR        LIVE
16   97184400                   INTERSECT ENERGY                                   TSDR        LIVE
17   97831249                   BETTER ENERGY BY EVERY MEASURE                     TSDR        LIVE
18   97391562                   THE ENERGY CHICKS                                  TSDR        LIVE
19   97308102                   FUTURE ENERGY                                      TSDR        LIVE
20   97184393                   INTERSECT ENERGY                                   TSDR        LIVE
21   97184389                   INTERSECT ENERGY                                   TSDR        LIVE
22   97851127                   INSTANT ENERGY                                     TSDR        LIVE
23   97531693                   ENERGY PLANET                                      TSDR        LIVE
24   97310554                   ENERGYCRAFT                                        TSDR        LIVE
25   97301163                   REWI                                               TSDR        LIVE
26   97825023                   ENERGY SOLAR VELA                                  TSDR        LIVE
27   97018092                   TERRANAUT ENERGY                                   TSDR        LIVE
28   97845978                   KINGDOM SOLAR ENERGY                               TSDR        LIVE
29   97301166                   RENEWABLE ENERGY WILDLIFE INSTITUTE                TSDR        LIVE
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     97822725     2:21-cv-00438-WBS-KJN   Document 35 Filed 04/25/23TSDR
                            ENERGY SOLAR VELA                         Page 34LIVE
                                                                              of 161
31   97184402               INTERSECT ENERGY                       TSDR      LIVE
32   97125491               ENERGY AT A HIGHER POWER               TSDR      LIVE
33   97819513               FIZZENERGI                             TSDR      LIVE
34   97475553               ENERGYRE                               TSDR      LIVE
35   97443470               ENERGYRE ENERGY R ENERGY R             TSDR      LIVE
36   97265640               NOVIK ENERGY                           TSDR      LIVE
37   97139343               NELNET RENEWABLE ENERGY                TSDR      LIVE
38   97115147               ENERGY CARBON                          TSDR      LIVE
39   97730174               ESE                                    TSDR      LIVE
40   97434441               LASTMILE ENERGY                        TSDR      LIVE
41   97166202               ALLY ENERGY                            TSDR      LIVE
42   97059108               SFK ENERGY                             TSDR      LIVE
43   97814184               HIGH ENERGY CAR                        TSDR      LIVE
44   97715181               D DOMINION ENERGY SOLUTIONS            TSDR      LIVE
45   97715178               DOMINION ENERGY SOLUTIONS              TSDR      LIVE
46   97319055               BEDROCK ENERGY                         TSDR      LIVE
47   97293166               IRVING ENERGY                          TSDR      LIVE
48   97013351               LEEWARD RENEWABLE ENERGY               TSDR      LIVE
49   97302473               BALANCED ENERGY                        TSDR      LIVE
50   97299126               SOLAR ENERGY FOR SOCIAL GOOD           TSDR      LIVE
51   97418323               ROEV ENERGY                            TSDR      LIVE
52   97342637               GREENENERGYBLUE                        TSDR      LIVE
53   97266188     6996561   ECL ENERGY CHANGES LIFE                TSDR      LIVE
54   97200038               SUNERGY                                TSDR      LIVE
55   97115465               ENERGYCULTURE                          TSDR      LIVE
56   97082186               NOBEL ENERGY                           TSDR      LIVE
57   97021454     6994668   ON-DEMAND RENEWABLE ENERGY             TSDR      LIVE
58   97795832               ZE                                     TSDR      LIVE
59   97793623               SUMMIT ENERGY                          TSDR      LIVE
60   97347145               SUNATION ENERGY                        TSDR      LIVE
61   97326881               MARATHON ENERGY                        TSDR      LIVE
62   97300133               FUSION ENERGY                          TSDR      LIVE
63   97226991     6989864   MAXENERGY                              TSDR      LIVE
64   97114337               FARADAY ESS                            TSDR      LIVE
65   97400763               SENMARCK ENERGY                        TSDR      LIVE
66   97539675               AEGEAN ENERGY                          TSDR      LIVE
67   97394533               TRIGO ENERGIES                         TSDR      LIVE
68   97777740               EMERALD ENERGY ANALYTICS               TSDR      LIVE
69   97391002               AGILITAS ENERGY                        TSDR      LIVE
70   97317711               RENOVA ENERGY                          TSDR      LIVE
71   97092035     6983572   GARDENERGY                             TSDR      LIVE
72   97043739               HANWHA ENERGY INNOVATION               TSDR      LIVE
                            ONE NATION SOLAR FREEDOM OF ENERGY
73   97775550                                                      TSDR      LIVE
                            CHOICE
74   97760521               POWERING ENERGY INDEPENDENCE           TSDR      LIVE
75   97769701               547 ENERGY                             TSDR      LIVE
76   97768819               5 DIGITAL ENERGY                       TSDR      LIVE
77   97324155               ATMA ENERGY                            TSDR      LIVE
           Case 2:21-cv-00438-WBS-KJN   Document
                          SOLAR INFORMATICS       35 Filed
                                            SOLAR ENERGY   04/25/23 Page 35 of 161
                                                         CLOUD
78   97315052                                                                          TSDR   LIVE
                           PLATFORM
79   97291491              AURORA ENERGY                                               TSDR   LIVE
                           SAVEENERGY SAVE THE PLANET, SAVE YOUR
80   97217034                                                                          TSDR   LIVE
                           POCKET
81   97763897              A DIFFERENT KIND OF ENERGY                                  TSDR   LIVE
82   97187425              REIMAGINING ENERGY                                          TSDR   LIVE
83   97083992              REIMAGINING ENERGY                                          TSDR   LIVE
84   97551011              CREATING ENERGY SOLUTIONS                                   TSDR   LIVE
85   97551006              CORDIA ENERGY                                               TSDR   LIVE
86   97368561              MARVEL RENEWABLE ENERGY                                     TSDR   LIVE
87   97375205              CASSINI CLEAN ENERGY                                        TSDR   LIVE
88   97615251              REV ENERGY                                                  TSDR   LIVE
                           GREEN WAY GREENWAY CLEAN ENERGY ·
89   97372796                                                                          TSDR   LIVE
                           GREEN LIFE
90   97372766              GWSOLAR CLEAN ENERGY GREEN LIFE                             TSDR   LIVE
91   97257358              O ZEROBASE ENERGY RESILIENCY ANYWHERE                       TSDR   LIVE
92   97257231              ENERGY RESILIENCY ANYWHERE                                  TSDR   LIVE
93   97623842              SOLAR ENERGY DYNAMICS                                       TSDR   LIVE
94   97623770              THE ENERGY MATRIX                                           TSDR   LIVE
95   97369698              REV ENERGY VENTURES                                         TSDR   LIVE
96   97030824              BLUE HORIZON ENERGY                                         TSDR   LIVE
97   97754085              FULL ENERGY INDEPENDENCE                                    TSDR   LIVE
98   97368401              RESORT ENERGY VENTURES                                      TSDR   LIVE
99   97666157              NUQUEST ENERGY                                              TSDR   LIVE
100 97129677    6967205    MAKING CLEAN ENERGY CLEANER                                 TSDR   LIVE


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        EXHIBIT H
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     555 Capitol Mall, Suite 700
4    Sacramento, California 95814
     Telephone: 916.498.9000
5    Facsimile: 916.498.9005
6    Attorneys for Defendant
     INFINITE ENERGY HOME SERVICES, INC.
7
8                                THE UNITED STATES DISTRICT COURT

9                     EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO

10   INFINITY ENERGY, INC., a California       ) CASE NO.: 2:21-CV-00438-WBS-KJN
     Corporation.                              )
11                                             ) ASSIGNED TO:
                    Plaintiff,                 ) THE HON. WILLIAM B. SHUBB
12                                             )
              vs.                              ) DEFENDANT INFINITE ENERGY HOME
13                                             ) SERVICES,     INC.’S    RESPONSE     TO
                                               ) PLAINTIFF INFINITY ENERGY, INC.’S
14   INFINITE ENERGY HOME SERVICES,            ) REQUESTS FOR ADMISSIONS, SET ONE
     INC., a California Corporation.           )
15                                             ) SUIT FILED:               MARCH 11, 2021
                    Defendant.                 )
16                                             )
                                               )
17                                             )
18
19   PROPOUNDING PARTY: Plaintiff, INFINITY ENERGY, INC.

20   RESPONDING PARTY:             Defendant, INFINITE ENERGY HOME SERVICES, INC.

21   SET NO:                       One (1)

22            COMES NOW, Defendant INFINITE ENERGY HOME SERVICES, INC. (hereinafter

23   “Responding Party”) pursuant to Code of Civil Procedure § 2033.210, et seq. responding

24   to Plaintiff INFINITY ENERGY, INC. (hereinafter “Propounding Party”) REQUEST FOR

25   ADMISSIONS, Set One (1), served by Electronic Mail on March 31, 2022, as follows:

26   ///

27   ///

28   ///
                                                 1
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                         ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                               Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 38 of 161


1                                  PRELIMINARY STATEMENT

2             Responding Party responds for the purposes of this suit only and preserves all

3    objections for trial. Responding Party admits only its explicitly stated facts, but does not

4    admit the existence of facts asserted or assumed by any request, does not admit that any

5    document or response is admissible, and does not admit that the court has jurisdiction

6    over this suit. Any inadvertent disclosure is not a waiver of any applicable doctrine or

7    privilege. Responding Party has not completed its investigation or preparation for trial and

8    reserves its right to amend and supplement these responses.

9             Responding Party provides the following responses to Plaintiff, INFINITY ENERGY,

10   INC. REQUEST FOR ADMISSIONS, Set One. Responding Party continues to pursue its

11   investigation and analysis of the facts and law relating to this case. Responding Party has

12   not completed his trial preparation. Responding Party’s responses are therefore limited to

13   information and records that are presently known and available to it. Thus, Responding

14   Party provides these responses without prejudice to its right to add to, amend, modify, or

15   supplement these responses because of subsequently ascertained facts or to correct any

16   inadvertent errors or omissions.

17            Further, Responding Party objects to these requests to the extent that they seek

18   information protected from disclosure by the attorney-client privilege, the attorney work-

19   product doctrine, the joint-defense privilege, trade secret privilege, or any other applicable

20   doctrine or privilege. Accordingly, Responding Party will not provide responses to requests

21   seeking such information or materials. Responding Party objected to these requests to the

22   extent they seek discovery of facts that are neither relevant to the subject matter of this

23   action, nor reasonably calculated to lead to the discovery of admissible evidence.

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                                                 2
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                         ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                               Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 39 of 161


1                   RESPONSES TO REQUEST FOR ADMISSIONS, SET ONE

2    REQUEST FOR ADMISSION NO. 1:

3           Admit that actual or potential customers have contacted YOU seeking goods or

4    services from PROPOUNDING PARTY.

5    RESPONSE TO REQUEST FOR ADMISSION NO. 1:

6           RESPONDING PARTY objects to this Request as vague and ambiguous concerning

7    the term “services from PROPOUNDING PARTY”, as well as to time in scope. As

8    phrased, RESPONDING PARTY is unable to admit or deny.

9    REQUEST FOR ADMISSION NO. 2:

10          Admit that actual or potential customers have confused YOU and PROPOUNDING

11   PARTY.

12   RESPONSE TO REQUEST FOR ADMISSION NO. 2:

13          RESPONDING PARTY objects to this Request as this Request calls for a legal

14   conclusion that requires expert opionion; the Request is vague and ambiguous as to the

15   term “confused.” RESPONDING PARTY lacks sufficient facts to admit or deny whether

16   any actual or potential customer has “confused” RESPONDING PARTY with

17   PROPOUNDING PARTY.

18   REQUEST FOR ADMISSION NO. 3:

19          Admit that YOU had actual or constructive knowledge of PROPOUNDING PARTY’s

20   trademark which is the subject of this litigation during the time(s) that YOU offered solar

21   energy systems for sale or installation.

22   RESPONSE TO REQUEST FOR ADMISSION NO. 3:

23          RESPONDING PARTY objects to this Request as an improper request for an

24   admission of a pure legal conclusion. RESPONDING PARTY further objects to this

25   Request as vague and ambiguous as to time. Given the unlimited time and scope,

26   RESPONDING PARTY is unable to admit or deny as phrased.

27   REQUEST FOR ADMISSION NO. 4:

28          Admit that during at least some portion of time between 2014 and present day
                                              3
        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                      ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                            Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 40 of 161


1    YOU have marketed YOUR company by the name “Infinite Energy”.

2    RESPONSE TO REQUEST FOR ADMISSION NO. 4:

3          Admit

4    REQUEST FOR ADMISSION NO. 5:

5          Admit that YOUR website utilizes the name “Infinite Energy” to market its goods

6    and/or services.

7    RESPONSE TO REQUEST FOR ADMISSION NO. 5:

8          RESPONDING PARTY objects to this Request as vague and ambiguous as to the

9    term “utilizes the name ‘Infintie Energy’” and is intentionally phrased to be misleading.

10   Subject to and without waiving the aforementioned objections, RESPONDING PARTY

11   responds as follows: RESPONDING PARTY admits its website utilizes the term “Infinite

12   Energy” to market its goods and/or services; however, RESPONDING PARTY denies that

13   it uses the name “Infinite Energy” solely to market its goods and/or services.

14   REQUEST FOR ADMISSION NO. 6:

15         Admit that YOUR website refers to YOUR company as “Infinite Energy”.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 6:

17         Deny.

18   REQUEST FOR ADMISSION NO. 7:

19         Admit that YOU have sold solar energy systems to new customers who contacted

20   YOU attempting to contact PROPOUNDING PARTY.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 7:

22         Deny.

23   REQUEST FOR ADMISSION NO. 8:

24         Admit that YOU have installed solar energy systems at the properties of new

25   customers who contacted YOU attempting to contact PROPOUNDING PARTY.

26   RESPONSE TO REQUEST FOR ADMISSION NO. 8:

27         RESPONDING PARTY objects to this Request as the Request lacks foundation; the

28   Request calls for speculation; the Request seeks information within PROPOUNDING
                                              4
        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                      ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                            Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 41 of 161


1    PARTY’S possession, custody, or control. RESPONDING PARTY lacks sufficient facts to

2    admit or deny.

3    REQUEST FOR ADMISSION NO. 9:

4          Admit that YOU have received revenue from customers while utilizing the name

5    “Infinity Energy” on YOUR website.

6    RESPONSE TO REQUEST FOR ADMISSION NO. 9:

7          Admit.

8    REQUEST FOR ADMISSION NO. 10:

9          Admit that YOU have received revenue from customers while utilizing the name

10   “Infinity Energy” in YOUR marketing materials.

11   RESPONSE TO REQUEST FOR ADMISSION NO. 10:

12         Admit.

13   REQUEST FOR ADMISSION NO. 11:

14         Admit that YOUR marketing materials have contained the name “Infinity Energy”

15   at some point from 2014 to present.

16   RESPONSE TO REQUEST FOR ADMISSION NO. 11:

17         Admit.

18   REQUEST FOR ADMISSION NO. 12:

19         Admit that YOU were aware of the existence of PROPOUNDING PARTY prior to

20   the filing of PROPOUNDING PARTY’s COMPLAINT.

21   RESPONSE TO REQUEST FOR ADMISSION NO. 12:

22         Admit.

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        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                      ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                            Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 42 of 161


1                                               To Objections Only

2
3    DATED: May 2, 2022                          KROGH & DECKER, LLP

4
                                                 By:    /s/ Jason. G. Eldred
5                                                      JASON G. ELDRED
6                                                      Attorney for Defendant
                                                       INFINITE ENERGY HOME
7                                                      SERVICES, INC.

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       DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                     ENERGY, INC.’S REQUESTS FOR ADMISSIONS, SET ONE
                                                           Case No. 2:21-CV-00438-WBS-KJN
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 43 of 161




          EXHIBIT I
      Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 44 of 161

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                                                                                    DEC2 0 2021
         ELGUINDY, MEYER & KOEGEL, APC                                          BY:US (Vlwil Jir"
         DA YID L. PRJCE, State Bar Number 088696
       2     dprice@emkla wyers. com
         BENJAMIN D. KOEGEL, State Bar Number 266308
       3
             bkoegel@emklawyers.com
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       5 2990 Lava Ridge Court, Suite 205
         Roseville, CA 95661
       6 Telephone: (916) 778-3310
         Facsimile: (916) 330-4433
       7

       8   Attorneys for Plaintiff INFINITY ENERGY, lNC.,
           a California Corporation
       9
      10                              UNITED STATES DISTRICT COURT

      11                       FOR THE EASTER.!~ DISTRICT OF CALIFORNIA

      12

      13 INFINITY ENERGY, lNC., a California               Case No.: 2:2 l-cv-00438-WBS-KJN
         Corporation,
---   14
                      Plaintiff,                            PLAINTIFF INFINITY ENERGY, INC.'S
      15
                                                            RESPONSES TO DEFENDANT INFINITE
      16 vs.                                                ENERGY HOME SERVICES, INC,'S
                                                            REQUESTS FOR ADMISSION, SET ONE
      17 INFINITE ENERGY HOMES SERVICES,
         lNC.,
      18                                                   JUDGE:     Hon. William B. Shubb
                     Defendant.
                                                           MAG.:      Hon. Kendall J. Newman
      19
                                                           FlLED:     March I 0, 2021
      20                                                   TRIAL:     August 30, 2022
           ---------------~
      21   PROPOUNDING PARTY:                  INFINITE ENERGY HOMES SERVICES, INC.

      22   RESPONDING PARTY:                   INFINITY ENERGY, INC.

      23   SET NO.:                            ONE (1)

      24           Pursuant to the California Code of Civil Procedure, Plaintiff INFTNTY ENERGY, INC.

      25   ("RESPOND ING PARTY") submits these responses and objections to the Requests for

      26   Admission, Set One, propounded by Defendant lNFINITE ENERGY HOMES SERVICES, INC.

      27   ("PROPOUNDING       PARTY").

      28   ///


                                 RESPONSES TO REQUESTS FOR ADMfSSION. SET ONE
            Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 45 of 161




            I                                     PRELIMINARY STATEMENT

            2          Nothing in this response should be construed as an admission by RESPONDING PARTY

            3 with respect to the admissibility or relevance of any fact or document, or of the truth or accuracy
            4 of any characterization or statement of any kind contained in PROPOUNDING PARTY's
            5 Requests. RESPONDING PARTY has not completed its investigation of the facts relating to this
            6 case, discovery or preparation for trial. All responses and objections contained herein are based
            7 only upon such information and such documents that are presently available to and specifically
            8 known by RESPONDING PARTY. It is anticipated that further discovery, independent
            9 investigation, legal research and analysis will supply additional facts and add meaning to known
           10 facts, as well as establish entirely new factual conclusions and legal contentions, all of which may

           11 lead to substantial additions to, changes in and variations from the responses set forth herein. The
           12 following objections and responses are made without prejudice to RESPONDING PARTY's right
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      _,
           13 to produce at trial, or otherwise, evidence regarding any subsequently discovered documents.
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w~:w::
           14 RESPONDING PARTY accordingly reserves the right to modify and amend any and all responses


~
           15 herein as research is completed and contentions are made.
           16                   GENERAL OBJECTIONS TO REQUESTS FOR ADMISSION

           17          RESPONDING PARTY generally objects to the Requests as follows:

           18          A.      RESPONDING PARTY objects generally to the Requests to the extent that they

           19 seek to elicit information that is neither relevant to the subject matter of this action, nor reasonably
           20 calculated to lead to the discovery of admissible evidence;
           21          B.      RESPONDING PARTY objects generally to the Requests to the extent that they

           22 are unreasonably overbroad in scope, and thus burdensome and oppressive, in that each such
           23 request seeks information pertaining to items and matters that are not relevant to the subject matter
           24 of this action, or, if relevant, so remote therefrom as to make its disclosure of little or no practical
           25 benefit to PROPOUNDING PARTY, while placing a wholly unwarranted burden and expense on
           26 RESPONDING PARTY in locating, reviewing and producing the requested information;
           27          C.      RESPONDING PARTY objects generally to the Requests to the extent that they

           28 are burdensome and oppressive, in that ascertaining the information necessary to respond to them,

                                                                   2
                                        RESPONSES TO REQUESTS FOR ADMISSION, SET ONE
                 Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 46 of 161




                 1 and to produce documents in accordance therewith, would require the review and compilation of

                 2 information from multiple locations, and voluminous records and files, thereby involving

                 3 substantial time of employees of RESPONDING PARTY and great expense to RESPONDING

                 4 PARTY, whereas the information sought to be obtained by PROPOUNDING PARTY would be of

                 5 little use or benefit to PROPOUNDING PARTY;

                 6          D.      RESPONDING PARTY objects generally to the Requests to the extent that they

                 7 are vague, uncertain and overbroad, being without limitation as to time or specific subject matter;

                 8          E.      RESPONDING PARTY objects generally to the Requests to the extent that they

                 9 seek information at least some of which is protected by the attorney-client privilege or the attorney

                10 work-product doctrine, or both;

                11          F.      RESPONDING PARTY objects generally to the Requests to the extent that they

                12 seek to have RESPONDING PARTY furnish information and identify documents that are a matter
     ~      ~
     z ......
     5~0        13 of the public record, and therefore, are equally available to the PROPOUNDING PARTY as they
     ~~o
_w_~_..:_       14 are to RESPONDING PARTY; and

                15          G.      RESPONDING PARTY objects generally to the Requests to the extent that they

                16 seek to have RESPONDING PARTY furnish information and identify documents that are

                17 proprietary to RESPONDING PARTY and contain confidential information.

                18          Without waiver of the foregoing, RESPONDING PARTY further responds as follows:

                19               RESPONSES AND OBJECTIONS TO REQUESTS FOR ADMISSION

                20 REQUEST FOR ADMISSION NO. 1:

                21          Admit that RESPONDING PARTY was aware ofIEHS's existence before RESPONDING

                22 PARTY acquired its trademark for Infinity Energy.

                23 RESPONSE TO REQUEST FOR ADMISSION NO. 1:

                24          Deny.

                25 REQUEST FOR ADMISSION NO. 2:

                26          Admit that RESPONDING PARTY does not offer the following services: electrical

                27 services, including whole house surge protectors, electrical charging stations, 220 circuits for

                28 clothes dryers, LED lighting, dimmers, theaters, hot tub circuits, electrical panel repairs and

                                                                      3
                                            RESPONSES TO REQUESTS FOR ADMISSION, SET ONE
            Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 47 of 161




                replacements, low voltage, etc.; installation of generators as full house backup power systems,

            2 distinct from solar battery storage; replacement or upgrade of windows and doors for increased

            3 energy efficiency; comprehensive heating and air conditioning ("HV AC"), including repairs and

            4 installations; and outdoor deck installation.

            5 RESPONSE TO REQUEST FOR ADMISSION NO. 2:

            6          RESPONDING PARTY objects to this Request on the grounds that is vague, ambiguous

            7 and subject to multiple interpretations. RESPONDING PARTY further objects on the grounds

            8 that the Request is compound. Subject to and without waiving said objections, RESPONDING

            9 PARTY responds as follows:

           10          RESPONDING PARTY admits that it does not offer the following services: whole house

           11 surge protector, replacement or upgrade of windows and doors, HV AC, outdoor deck installation.

           12 REQUEST FOR ADMISSION NO. 3:
    ci j
    Z~w
    5w!J   13          Admit that YOU do not service El Dorado County, California.
    S~o
_w_~_~_    14 RESPONSE TO REQUEST FOR ADMISSION NO. 3:

           15          Deny.

           16 REQUEST FOR ADMISSION NO. 4:

           17          Admit that PROPOUNDING PARTY suffered no damages whatsoever as a result of any

           18 alleged conduct by IEHS.

           19 RESPONSE TO REQUEST FOR ADMISSION NO. 4:

           20          RESPONDING PARTY objects to this Request on the grounds that it calls for the

           21 premature disclosure of expert witness testimony, opinion and/or data. Subject to and without

           22 waiving said objections, RESPONDING PARTY responds as follows:

           23          Deny.

           24   REQUEST FOR ADMISSION NO. 5:

           25          Admit that YOU have not suffered any damages due to the alleged infringement by IEHS.

           26   RESPONSE TO REQUEST FOR ADMISSION NO. 5:

           27          De RESPONDING PARTY objects to this Request on the grounds that it calls for the

           28 premature disclosure of expert witness testimony, opinion and/or data. Subject to and without

                                                                 4
                                       RESPONSES TO REQUESTS FOR ADMISSION, SET ONE
                    Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 48 of 161




                    1 waiving said objections, RESPONDING PARTY responds as follows:

                    2          Deny.

                    3 REQUEST FOR ADMISSION NO. 6:

                    4          Admit that the products and services rendered and performed by IEHS are wholly different

                    5 and separate from those rendered and performed by INFINITY.

                    6 RESPONSE TO REQUEST FOR ADMISSION NO. 6:

                    7          RESPONDING PARTY objects to this Request on the grounds that it is vague, ambiguous

                    8 and subject to multiple interpretations. Subject to and without waiving said objections,

                    9 RESPONDING PARTY responds as follows:

                               Deny.

                   11 REQUEST FOR ADMISSION NO. 7:

                   12          Admit that YOU did not suffer any loss of income or reputation due to any action, service,
      ~       ~
      z~U::        13 marketing, or otherwise interference on the part of IEHS.
      ::i w   C)

      S~o
_w_~_:..:_         14 RESPONSE TO REQUEST FOR ADMISSION NO. 7:

                   15          RESPONDING PARTY objects to this Request on the grounds that it calls for the

                   16 premature disclosure of expert witness testimony, opinion and/or data. RESPONDING PARTY

                   17 further objects to this Request on the grounds that it is vague, ambiguous and subject to multiple

                   18 interpretations. Subject to and without waiving said objections, RESPONDING PARTY responds

                   19 as follows:

                   20          Deny.

                   21

                   22 Dated: December 13, 2021                  As to objections only,

                   23                                           ELGUINDY, MEYER & KOEGEL, APC
                   24

                   25
                                                                By: ~G........,_._f.
                                                                                ~l-:,____ ____                 _

                   26                                                 David L. Price, Esq.
                                                                      Benjamin D. Koegel, Esq.
                   27                                                 W. Patrick Cronican, Esq.
                   28                                           Attorneys for Plaintiff INFINITY ENGERY, INC., a
                                                                California Corporation

                                                                        5
                                              RESPONSES TO REQUESTS FOR ADMISSION, SET ONE
                  Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 49 of 161




                                                                   VERIFICATION

                   2         I have read the foregoing PLAINTIFF INFINITY ENERGY, INC.'S RESPONSES TO
                     DEFENDANT INFINITE ENERGY HOME SERVICES, INC,'S REQUESTS FOR
                   3
                     ADMISSION, SET ONE, and know its contents.
                   4
                              I am an officer oflnfinity Energy, Inc., a party to this action, and I make this verification
                   5 for that reason. I am informed and believe and on that ground allege that the matters stated in the
                     foregoing document are true.
                   6
                              I declare under penalty of perjury under the laws of the United States and the State of
                   7
                       California that the foregoing is true and correct.
                   8                                  12/13/2021                  R kl.1
                              Executed on ---------                   , 2021, at -------
                                                                                   oc         "         ,   California.
                   9                                                           l,DocuSigned       by:


                  10    Cory Gilbert
                        Print Name of Signatory
                                                                               L~!:Lfc!~~~~t
                                                                                Signature
                  11

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                                              RESPONSES TO REQUESTS FOR ADMISSION, SET ONE
                    Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 50 of 161




                                                              PROOF OF SERVICE

                    2        I am employed in the County of Placer, State of California. I am over the age of 18 and
                      am not a party to the within action. My business address is 2990 Lava Ridge Court, Suite 205,
                    3 Roseville, CA 95661.

                    4
                               On December 13, 2021, I served the within document(s) described as:
                    5
                      PLAINTIFF INFINITY ENERGY, INC.'S RESPONSES TO DEFENDANT INFINITE
                    6 ENERGY HOME SERVICES, INC,'S REQUESTS FOR ADMISSION, SET ONE

                    7          On each interest party in this action as state below:
                    8   Shawn M. Krogh, Esq.
                    9   Jason G. Eldred, Esq.
                        Krogh & Decker, LLP
                   10   555 Capitol Mall, Suite 700
                        Sacramento, CA 95814
                   11   (916) 498-9000; Fax (916) 498-9005
                        E-mail: shawnkrogh@kroghdecker.com
                   12   E-mail: jasoneldred@kroghdecker.com
     ; J                Counsel for Infinite Energy Home Services,
     Z ~w
     5   w   c.,
                   13
     s~~                Inc.
__   w_~_~_        14

                   15         D BY E-MAIL: Based on a court order or an agreement of the parties to accept electronic
                      service. I caused the document(s) to be sent to the persons at the electronic service addresses
                   16
                      listed above.
                   17
                              D BY ELECTRONIC: Pursuant to the controlling General Orders and Local Rules, the
                   18 foregoing document will be served by the court via NEF (Notice of Electronic Filing) and
                      hyperlink to the document.
                   19
                              ~ BY U.S. MAIL: I enclosed the document(s) in a sealed envelope or package addressed
                   20 to the persons at the address listed above and place the envelope for collection and mailing,
                      following our ordinary business practices. I am readily familiar with this business' practice for
                   21
                      collecting and processing correspondence for mailing. On the same day that correspondence is
                   22 placed for collection and mailing, it is deposited in the ordinary course of business with the United
                      States Postal Service, in a sealed envelope with postage fully prepaid.
                   23
                              I declare under penalty of perjury under the laws of the United States that the foregoing is
                   24 true and correct.

                   25          Executed on December 13, 2021, at Roseville, California.
                   26

                   27                                                         aRuiz       ,)

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                                                                          2
                                                                PROOF OF SERVICE
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 51 of 161




         EXHIBIT J
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                                                                               nDEC20 2021u
        ELGUINDY, MEYER & KOEGEL, APC                                           BY:UJ    M~-1
                                                                                            tee
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      3
            bkoegel@emklawyers.com
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      5 2990 Lava Ridge Cou1t, Suite 205
        Roseville, CA 95661
      6 Telephone: (916) 778-3310
        Facsimile: (916) 330-4433
      7

       8   Attorneys for Plaintiff INFINITY ENERGY, INC.,
           a California Corporation
       9

      10                             UNITED STATES DISTRJCT COURT

      11                      FOR THE EASTERN DISTRJCT OF CALIFOR.t~IA

      12

      13 INFINITY ENERGY, INC., a California              Case No.: 2:2 l-cv-00438-WBS-KJN
         Corporation,
---   14
                      Plaintiff,                          PLAINTIFF INFINITY ENERGY, INC.'S
      15
                                                          RESPONSES TO DEFENDANT INFINITE
      16 vs.                                              ENERGY HOME SERVICES, INC.'S
                                                          INTERROGATORIES, SET ONE
      17 INFINITE ENERGY HOMES SERVICES,
         INC.,
      18                                                  JUDGE:      Hon. William B. Shubb
                     Defendant.
                                                          MAG.:       Hon. Kendall J. Newman
      19
                                                          FILED:      March I 0, 2021
      20                                                  TRIAL:      August 30, 2022

      21   PROPOUNDING PARTY:                 INFINITE ENERGY HOME SERVICES, INC.

      22   RESPONDING PARTY:                  INFINITY ENERGY, INC.

      23   SET NO.:                           ONE (I)

      24          Pursuant to the Federal Rules of Civil Procedure, Plaintiff INFrNJTY ENERGY, INC.

      25   ("RESPONDING PARTY") submits these responses and objections to the Interrogatories, Set

      26   One, propounded by Defendant INFINITE ENERGY HOMES SERVICES, INC.

      27   ("PROPOUNDING      PARTY").

      28   ///


                                    RESPONSES TO INTER.ROGATORIES, SET ONE
                Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 53 of 161




                                                     PRELIMINARY STATEMENT

                2          Nothing in this response should be construed as an admission by RESPONDING PARTY

                3 with respect to the admissibility or relevance of any fact or document, or of the truth or accuracy

                4 of any characterization or statement of any kind contained in PROPOUNDING PARTY's

                5 Interrogatories. RESPONDING PARTY has not completed its investigation of the facts relating

                6 to this case, discovery or preparation for trial. All responses and objections contained herein are

                7 based only upon such information and such documents that are presently available to and

                8 specifically known by RESPONDING PARTY. It is anticipated that further discovery,

                9 independent investigation, legal research and analysis will supply additional facts and add

               10 meaning to known facts, as well as establish entirely new factual conclusions and legal

               11 contentions, all of which may lead to substantial additions to, changes in and variations from the

               12 responses set forth herein. The following objections and responses are made without prejudice to
    ci j
    5~0        13 RESPONDING PARTY's right to produce at trial, or otherwise, evidence regarding any
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____                            •
               14 subsequently discovered documents. RESPONDING PARTY accordingly reserves the right to

               15 modify and amend any and all responses herein as research is completed and contentions are

               16 made.

               17                 GENERAL OBJECTIONS TO SPECIAL INTERROGATORIES

               18          RESPONDING PARTY generally objects to the Interrogatories as follows:

               19          A.      RESPONDING PARTY objects generally to the Interrogatories to the extent that

               20 they seek to elicit information that is neither relevant to the subject matter of this action, nor

               21 reasonably calculated to lead to the discovery of admissible evidence;

               22          B.      RESPONDING PARTY objects generally to the Interrogatories to the extent that

               23 they are unreasonably overbroad in scope, and thus burdensome and oppressive, in that each such

               24 request seeks information pertaining to items and matters that are not relevant to the subject matter

               25 of this action, or, if relevant, so remote therefrom as to make its disclosure of little or no practical

               26 benefit to PROPOUNDING PARTY, while placing a wholly unwarranted burden and expense on

               27 RESPONDING PARTY in locating, reviewing and producing the requested information;

               28 I I I

                                                                       2
                                                RESPONSES TO INTERROGATORIES, SET ONE
 Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 54 of 161




             C.     RESPONDING PARTY objects generally to the Interrogatories to the extent that

 2 they are burdensome and oppressive, in that ascertaining the information necessary to respond to

 3 them, and to produce documents in accordance therewith, would require the review and

 4 compilation of information from multiple locations, and voluminous records and files, thereby

 5 involving substantial time of employees of RESPONDING PARTY and great expense to
 6 RESPONDING PARTY, whereas the information sought to be obtained by PROPOUNDING

 7 PARTY would be oflittle use or benefit to PROPOUNDING PARTY;

 8           D.     RESPONDING PARTY objects generally to the Interrogatories to the extent that

 9 they are vague, uncertain and overbroad, being without limitation as to time or specific subject

10 matter;

11           E.     RESPONDING PARTY objects generally to the Interrogatories to the extent that

12 they seek information at least some of which is protected by the attorney-client privilege or the

13 attorney work-product doctrine, or both;

             F.     RESPONDING PARTY objects generally to the Interrogatories to the extent that

15 they seek to have Defendant furnish information and identify documents that are a matter of the

16 public record, and therefore, are equally available to the PROPOUNDING PARTY as they are to

17 RESPONDING PARTY; and

18           G.     RESPONDING PARTY objects generally to the Interrogatories to the extent that

19 they seek to have RESPONDING PARTY furnish information and identify documents that are

20 proprietary to RESPONDING PARTY and contain confidential information.

21           Without waiver of the foregoing, RESPONDING PARTY further responds as follows:

22                   RESPONSES AND OBJECTIONS TO INTERROGATORIES

23 INTERROGATORY NO. 1:

24           Please state any and all facts supporting the allegation in YOUR COMPLAINT, paragraph

25   13, in which it is stated that "Infinity has invested significant time, energy and money advertising

26 promoting, and selling services featuring the Infinity Trademark as well as ensuring the high

27 quality of services which bear the Infinity Trademark," and IDENTIFY any PERSON(S) with

28 such KNOWLEDGE.

                                                       3
                                RESPONSES TO INTERROGATORIES, SET ONE
                     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 55 of 161




                     1 RESPONSE TO INTERROGATORY N0.1:

                     2          RESPONDING PARTY objects to this Interrogatory on the grounds that it is overly broad

                     3 and unduly burdensome as to scope and time. RESPONDING PARTY further objects to this

                     4 Interrogatory to the extent it seeks the confidential, proprietary· information and/or trade secret

                     5 information of RESPONDING PARTY and to the extent it seeks information protected by the

                     6 attorney client privilege. RESPONDING PAR TY further objects to this Interrogatory on the

                     7 grounds that it is compound and contains multiple subparts. Subject to and without waiving said

                     8 objections, RESPONDING PARTY responds as follows:

                     9          As alleged in the Complaint, Infinity expends substantial time and monetary resources

                    10 towards the marketing of its products and services which bear the Infinity Trademark. The

                    11 Infinity Trademark is present on Infinity's website, social media channels, print marketing,

                    12 company vehicles, construction signage, etc. Additionally, Infinity operates a robust customer
     ~          ~
     ~~~            13 service department tasked with ensuring customer satisfaction and quality service. Persons with
     :::,w(!)

     S~o
__   w_~_~_         14 knowledge of these facts include Cory Gilbert, Mark Crockett, and Wesley Armstrong, all of

                    15 which may be contacted via counsel of record hereon. Discovery and investigation are ongoing

                    16 and RESPONDING PARTY reserves the right to supplement this response.

                    17 INTERROGATORY NO. 2:

                    18          Please state any and all facts supporting the allegation in YOUR COMPLAINT, paragraph

                    19 18, in which YOU allege ".. actual and constructive knowledge of the Infinity Trademark ... " as

                    20 that statement relates to IEHS.

                    21 RESPONSE TO INTERROGATORY NO. 2:

                    22          RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

                    23 ambiguous and subject to multiple interpretations. RESPONDING PARTY further objects to this

                    24 Interrogatory on the grounds that it seeks a legal conclusion and to the extent it seeks information

                    25 protected by the attorney-client privilege. Subject to and without waiving said objections,

                    26 RESPONDING PARTY responds as follows:

                    27          Infinity's registration of the Infinity Trademark gives construction notice of ownership of

                    28 the same to all persons/entities. Moreover, Infinity's use of the Infinity Trademark on Infinity's

                                                                          4
                                                    RESPONSES TO INTERROGATORIES, SET ONE
               Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 56 of 161




               1 website, social media channels, print marketing, company vehicles, construction signage, etc.

               2 resulted in actual knowledge of the Infinity Trademark to PROPOUNDING PARTY and others.

               3 Finally, PROPOUNDING PARTY had actual knowledge of the Infinity Trademark at least when

               4 it was identified to them via letter correspondence from RESPONDING PARTY (via its legal

               5 counsel). Discovery and investigation are ongoing and RESPONDING PARTY reserves the right

               6 to supplement this response.

               7 INTERROGATORY NO. 3:

               8          How many INQUIRIES, including but not limited to emails, text messages, phone calls, or

               9 any other means, per year have YOU received from a third party attempting to reach IEHS, instead

              10 of RESPONDING PARTY, from 2014 and the present?

              11 RESPONSE TO INTERROGATORY NO. 3:

              12          RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,
     ~    ~
     5~ffi    13 ambiguous and subject to multiple interpretations. RESPONDING PARTY objects to this
     ~~o
__   w_~_~_   14 Interrogatory on the grounds that it is overly broad and unduly burdensome as to scope and time.

              15 RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the confidential,

              16 proprietary information and/or trade secret information of RESPONDING PARTY and to the

              17 extent it seeks information protected by the attorney client privilege. Subject to and without

              18 waiving said objections, RESPONDING PARTY responds as follows:

              19          Unknown at this time.

              20          Discovery and investigation are ongoing and RESPONDING PARTYreserves the right to

              21 supplement this response.

              22 INTERROGATORY NO. 4:

              23          How many INQUIRIES, including but not limited to emails, text messages, phone calls, or

              24 any other means, per year have YOU received from any third party attempting to reach YOU from

              25 2014 and the present?

              26 RESPONSE TO INTERROGATORY NO. 4:

              27          RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

              28 ambiguous and subject to multiple interpretations. RESPONDING PARTY objects to this

                                                                   5
                                             RESPONSES TO INTERROGATORIES, SET ONE
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             1 Interrogatory on the grounds that it is overly broad and unduly burdensome as to scope and time.

             2 RESPONDING PAR TY further objects on the grounds that the Interrogatory is irrelevant and

             3 unlikely to lead to the discovery of admissible evidence.

             4 INTERROGATORY NO. 5:

             5          Please state any and all facts supporting the allegation in YOUR COMPLAINT, paragraph

             6 27, which states that "as a result of Defendant's wrongful conduct, Infinity has suffered, and will

             7 continue to suffer, substantial damages."

             8 RESPONSE TO INTERROGATORY NO. 5:

             9          RESPONDING PARTY objects to this Interrogatory on the grounds that it seeks the

            10 premature disclosure of expert witnesses and expert opinions, data and/or reports. Subject to and

            11 without waiving said objections, RESPONDING PARTY responds as follows:

            12          Due to PROPOUNDING PARTY's unauthorized use of a confusingly similar imitation of
>-      {
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5wC>        13 Infinity's federally registered mark, the public is likely to believe that PROPOUNDING PARTY's
C)   >- w
~~8
            14 goods and services have been manufactured, approved by, or are affiliated with Infinity. Thus,


~
            15 Infinity's ability to gain revenue through the sale of solar installation services bearing the Infinity

            16 Trademark is reduced. PROPOUNDING PARTY's actions have also led to injury to Infinity's

            17 goodwill and reputation as symbolized by Infinity's Trademark. Discovery and investigation are

            18 ongoing and RESPONDING PARTY reserves the right to supplement this response.

            19 INTERROGATORY NO. 6:

            20          Please state any and all facts supporting the allegation in YOUR COMPLAINT, paragraph

            21 39, which states "[p]laintiff has suffered injury in fact and lost money as a result of Defendant's

            22 acts as alleged above."

            23   RESPONSE TO INTERROGATORY NO. 6:

            24          RESPONDING PARTY objects to this Interrogatory on the grounds that it seeks the

            25 premature disclosure of expert witnesses and expert opinions, data and/or reports. Subject to and

            26 without waiving said objections, RESPONDING PARTY responds as follows:

            27          Due to PROPOUNDING PARTY's unauthorized use of a confusingly similar imitation of

            28 Infinity's federally registered mark, the public is likely to believe that PROPOUNDING PARTY's

                                                                   6
                                             RESPONSES TO INTERROGATORIES, SET ONE
              Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 58 of 161




               1 goods and services have been manufactured, approved by, or are affiliated with Infinity. Thus,

               2 Infinity's ability to gain revenue through the sale of solar installation services bearing the Infinity

               3 Trademark is reduced. PROPOUNDING PARTY's actions have also led to injury to Infinity's

               4 goodwill and reputation as symbolized by Infinity's Trademark. Discovery and investigation are

               5 ongoing and RESPONDING PARTY reserves the right to supplement this response.

               6 INTERROGATORY NO. 7:

               7           Please state any and all facts within YOUR KNOWLEDGE to support the allegation

               8 contained in paragraph 43 of YOUR COMPLAINT stating that "[a]n economic relationship exists

               9 between Plaintiff and its customers (as third parties), with the probability of future economic

              10 benefit to Plaintiff in the form of sales and profits."

              11 RESPONSE TO INTERROGATORY NO. 7:

              12           RESPONDING PARTY objects to this Interrogatory on the grounds that it seeks the
  ~       j
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              13 premature disclosure of expert witnesses and expert opinions, data and/or reports. RESPONDING
   ~~8
____          14 PARTY further objects to this Interrogatory on the grounds that it seeks a legal conclusion and

              15 seeks information protected by the attorney-client privilege.

              16 INTERROGATORY NO. 8:

              17           Please describe, with particularity, the places in which YOUR mark is displayed to the

              18 public.

              19 RESPONSE TO INTERROGATORY NO. 8:

              20           RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

              21 ambiguous and overly broad. Subject to and without waiving said objections, RESPONDING

              22 PARTY responds as follows:

              23           Infinity's website, social media channels, marketing materials, construction signage,

              24 customer documents such as contracts, warrantees, and information sheets, company vehicles,

              25 business cards, etc. Discovery and investigation are ongoing and RESPONDING PARTY

              26 reserves the right to supplement this response.

              27 INTERROGATORY NO. 9:

              28           Please state any facts within YOUR KNOWLEDGE supporting the assertion that the way

                                                                     7
                                               RESPONSES TO INTERROGATORIES, SET ONE
            Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 59 of 161




            1 in which IEHS's services are marketed and offered to the public is more likely than not to generate

            2 confusion to the general public.

            3 RESPONSE TO INTERROGATORY NO. 9:

            4          RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

            5 ambiguous and subject to multiple interpretations. RESPONDING PARTY objects to this

            6 Interrogatory on the grounds that it is overly broad and unduly burdensome as to scope and time.

            7 RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the confidential,

            8 proprietary information and/or trade secret information of RESPONDING PARTY and to the

            9 extent it seeks information protected by the attorney client privilege. RESPONDING PARTY
           10 objects to this Interrogatory on the grounds that it seeks the premature disclosure of expert

           11 witnesses and expert opinions, data and/or reports. Subject to and without waiving said
           12 objections, RESPONDING PARTY responds as follows:
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Cl    _,
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5wO        13          PROPOUNDING PARTY's use of the name "Infinite Energy" on its website, website url,
C) >- w

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           14 marketing materials, billboards, etc., along with its use of the infinity symbol and nearly identical


~
           15 color pallet used on its website, marketing, etc. coupled with the offering of overlapping product

           16 and services categories has led to significant customer confusion amongst the general public.

           17 Discovery and investigation are ongoing and RESPONDING PARTY reserves the right to

           18 supplement this Response.

           19 INTERROGATORY NO.10:

           20          Please list the amount of past, current, or future profits of which RESPONDING PAR TY

           21 has been allegedly deprived, due to the allegations contained in YOUR COMPLAINT.

           22 RESPONSE TO INTERROGATORY NO. 10:

           23          RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

           24 ambiguous and subject to multiple interpretations. RESPONDING PARTY objects to this

           25 Interrogatory on the grounds that it is overly broad and unduly burdensome as to scope and time.

           26 RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the confidential,

           27 proprietary information and/or trade secret information of RESPONDING PARTY and to the

           28 extent it seeks information protected by the attorney client privilege. RESPONDING PARTY

                                                                 8
                                           RESPONSES TO INTERROGATORIES, SET ONE
               Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 60 of 161




                   objects to this Interrogatory on the grounds that it seeks the premature disclosure of expert

               2 witnesses and expert opinions, data and/or reports. RESPONDING PARTY further objects on the

               3 grounds that the Interrogatory is compound and contains multiple subparts. Subject to and without

               4 waiving said objections, RESPONDING PARTY responds as follows:

               5          Unknown at this time. Discovery and investigation are ongoing and RESPONDING

               6 PARTY reserves the right to supplement this response.

               7 INTERROGATORY NO. 11:

               8          Please detail the method YOU used to calculate any alleged lost past, current, or future

               9 profits, referred to in YOUR response to Interrogatory no. 20.

              10 RESPONSE TO INTERROGATORY NO. 11:

              11          RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the

              12 confidential, proprietary information and/or trade secret information of RESPONDING PARTY
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  C)   >- w
              13 and to the extent it seeks information protected by the attorney client privilege. RESPONDING
   u:~8
____          14 PARTY objects to this Interrogatory on the grounds that it seeks the premature disclosure of

              15 expert witnesses and expert opinions, data and/or reports.

              16 INTERROGATORY NO. 12:

              17          Please list the amount of profits accrued by RESPONDING PARTY per year, beginning in

              18 2014, up until September 30, 2021, or present day, whichever is later.

              19 RESPONSE TO INTERROGATORY NO. 12:

              20          RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the

              21 confidential, proprietary information and/or trade secret information of RESPONDING PARTY

              22 and to the extent it seeks information protected by the attorney client privilege. RESPONDING

              23 PARTY further objects to this Interrogatory on the grounds that it is irrelevant to the subject

              24 matter of the litigation and unlikely to lead to the discovery of admissible evidence.

              25 INTERROGATORY NO. 13:

              26          Please IDENTIFY, with particularity, the geographic area that RESPONDING PARTY

              27 services.

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                                              RESPONSES TO INTERROGATORIES, SET ONE
                   Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 61 of 161




                   1 RESPONSE TO INTERROGATORY NO. 13:

                   2          RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the

                   3 confidential, proprietary information and/or trade secret information of RESPONDING PARTY

                   4 RESPONDING PARTY further objects to this Interrogatory on the grounds that it is irrelevant to

                   5 the subject matter of the litigation and unlikely to lead to the discovery of admissible evidence.

                   6 Subject to and without waiving said objections, RESPONDING PARTY responds as follows:

                   7          RESPONDING PARTY services California, Texas, Nevada, Idaho and Florida.

                   8 INTERROGATORY NO. 14:

                   9          Please IDENTIFY the percentage of the geographic area that RESPONDING PARTY

                  10 services, as IDENTIFIED in Interrogatory no. 23, which has been affected by IEHS's alleged

                  11 infringing conduct.

                  12 RESPONSE TO INTERROGATORY NO. 14:
     ~        (
     ~~~          13          RESPONDING PARTY objects to this Interrogatory on the grounds that is vague,
     ::)WC)

     ~~o
__   w_~_~_       14 ambiguous and subject to multiple interpretations. Specifically, there is no "Interrogatory no. 23"

                  15 contained in this set of discovery requests.

                  16 INTERROGATORY NO. 15:

                  17          Please IDENTIFY any and all facts supporting the assertion that IEHS's reputation, is

                  18 lesser than that of RESPONDING PARTY'S. The term "reputation" is intended to have the same

                  19 meaning as in paragraph 32 of YOUR COMPLAINT.

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                  22 I II

                  23 I II

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                                                  RESPONSES TO INTERROGATORIES, SET ONE
                Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 62 of 161




                     RESPONSE TO INTERROGATORY NO. 15:

                2           RESPONDING PARTY objects to this Interrogatory on the grounds that it is vague,

                 3 ambiguous and subject to multiple interpretations. RESPONDING PARTY objects to this

                4 Interrogatory on the grounds that it is overly broad and unduly burdensome as to scope and time.

                 5 RESPONDING PARTY further objects to this Interrogatory to the extent it seeks the confidential,

                6 proprietary information and/or trade secret information of RESPONDING PARTY and to the

                 7 extent it seeks information protected by the attorney client privilege. RESPONDING PARTY

                 8 objects to this Interrogatory on the grounds that it seeks the premature disclosure of expert

                9 witnesses and expert opinions, data and/or reports.

                10

                11 Dated: December 13, 2021                  As to objections only,

                12                                           ELGUINDY, MEYER & KOEGEL, APC
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   w~:..:
____            14

                15
                                                             By:     li fl--
                                                                   D~id L. Price, Esq.
                                                                   Benjamin D. Koegel, Esq.
                16                                                 W. Patrick Cronican, Esq.
                                                             Attorneys for Plaintiff INFINITY ENGERY, INC., a
                17
                                                             California Corporation
                18

                19

                20

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                                                                     11
                                                RESPONSES TO INTERROGATORIES, SET ONE
           Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 63 of 161




                                                         VERIFICATION

            2          I have read the foregoing PLAINTIFF INFINITY ENERGY, INC. 'S RESPONSES TO
              DEFENDANT INFINITE ENERGY HOME SERVICES, INC.'S INTERROGATORIES, SET
            3
              ONE, and know its contents.
            4
                       I am an officer of Infinity Energy, Inc., a party to this action, and I make this verification
            5 for that reason. I am informed and believe and on that ground allege that the matters stated in the
              foregoing document are true.
            6
                        I declare under penalty of perjury under the laws of the United States and the State of
            7
                California that the foregoing is true and correct.
            8
                                     12/13/2021
                       Execute d on ________                  , 2021 , at ______
                                                                           Rocklin          , Ca 1·~  •
                                                                                                  11omta.
            9

           10    Cory Gilbert
                 Print Name of Signatory
           11

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                                            RESPONSES TO INTERROGATORIES, SET ONE
              Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 64 of 161




                                                        PROOF OF SERVICE

              2        I am employed in the County of Placer, State of California. I am over the age of 18 and
                am not a party to the within action. My business address is 2990 Lava Ridge Court, Suite 205,
              3 Roseville, CA 95661.

              4
                         On December 13, 2021, I served the within document(s) described as:
              5
                PLAINTIFF INFINITY ENERGY, INC.'S RESPONSES TO DEFENDANT INFINITE
              6 ENERGY HOME SERVICES, INC,'S INTERROGATORIES, SET ONE

              7          On each interest party in this action as state below:
              8   Shawn M. Krogh, Esq.
              9   Jason G. Eldred, Esq.
                  Krogh & Decker, LLP
             10   555 Capitol Mall, Suite 700
                  Sacramento, CA 95814
             11   (916) 498-9000; Fax (916) 498-9005
                  E-mail: shawnkrogh@kroghdecker.com
             12   E-mail: iasoneldred@kroghdecker.com
   ~     j
   Z~w       13   Counsel for Infinite Energy Home Services,
   ; wC)
   C) >- w        Inc.
   u:; 8
___          14

             15          D BY E-MAIL:     Based on a court order or an agreement of the parties to accept electronic
                service. I caused the document( s) to be sent to the persons at the electronic service addresses
             16
                listed above.
             17
                         D BY ELECTRONIC:           Pursuant to the controlling General Orders and Local Rules, the
             18 foregoing document will be served by the court via NEF (Notice of Electronic Filing) and
                hyperlink to the document.
             19
                        ~ BY U.S. MAIL: I enclosed the document(s) in a sealed envelope or package addressed
             20 to the persons at the address listed above and place the envelope for collection and mailing,
                following our ordinary business practices. I am readily familiar with this business' practice for
             21
                collecting and processing correspondence for mailing. On the same day that correspondence is
             22 placed for collection and mailing, it is deposited in the ordinary course of business with the United
                States Postal Service, in a sealed envelope with postage fully prepaid.
             23
                        I declare under penalty of perjury under the laws of the United States that the foregoing is
             24 true and correct.

             25
                         Executed on December 13, 2021, at Roseville, California.
             26

             27                                                         aRuiz       .)
             28

                                                                    2
                                                          PROOF OF SERVICE
Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 65 of 161




        EXHIBIT K
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 66 of 161


1    KROGH & DECKER, LLP
     SHAWN M. KROGH, SBN 227116
2    shawnkrogh@kroghdecker.com
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3    jasoneldred@kroghdecker.com
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4    Sacramento, California 95814
     Telephone: 916.498.9000
5    Facsimile: 916.498.9005
6    Attorneys for Defendant
     INFINITE ENERGY HOME SERVICES, INC.
7
8                                     THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA - SACRAMENTO

10   INFINITY ENERGY, INC., a California            ) CASE NO.: 2:21-CV-00438-WBS-KJN
     Corporation.                                   )
11                                                  ) ASSIGNED TO:
                         Plaintiff,                 ) THE HON. WILLIAM B. SHUBB
12                                                  )
              vs.                                   ) DEFENDANT INFINITE ENERGY HOME
13                                                  ) SERVICES,     INC.’S    RESPONSE     TO
                                                    ) PLAINTIFF INFINITY ENERGY, INC.’S
14   INFINITE ENERGY HOME SERVICES,                 ) SPECIAL INTERROGATORIES, SET ONE
     INC., a California Corporation.                )
15                                                  ) SUIT FILED:               MARCH 11, 2021
                         Defendant.                 )
16                                                  )
                                                    )
17                                                  )
18
19   PROPOUNDING PARTY: Plaintiff, INFINITY ENERGY, INC.

20   RESPONDING PARTY:                  Defendant, INFINITE ENERGY HOME SERVICES, INC.

21   SET NO:                            One (1)

22            COMES NOW, Defendant INFINITE ENERGY HOME SERVICES, INC. (hereinafter

23   “Responding Party”) pursuant to Code of Civil Procedure § 2030.210, et seq. responding

24   to      Plaintiff      INFINITY      ENERGY,   INC.   (hereinafter   “Propounding   Party”)

25   INTERROGATORIES, Set One (1), served by Electronic Mail on March 31, 2022, as

26   follows:

27   ///

28   ///
                                                1
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
                                                               Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 67 of 161


1                                  PRELIMINARY STATEMENT

2             Responding Party responds for the purposes of this suit only and preserves all

3    objections for trial. Responding Party admits only its explicitly stated facts, but does not

4    admit the existence of facts asserted or assumed by any request, does not admit that any

5    document or response is admissible, and does not admit that the court has jurisdiction

6    over this suit. Any inadvertent disclosure is not a waiver of any applicable doctrine or

7    privilege. Responding Party has not completed its investigation or preparation for trial and

8    reserves its right to amend and supplement these responses.

9             Responding Party provides the following responses to Plaintiff, INFINITY ENERGY,

10   INC. INTERROGATORIES, Set One. Responding Party continues to pursue its

11   investigation and analysis of the facts and law relating to this case. Responding Party has

12   not completed his trial preparation. Responding Party’s responses are therefore limited to

13   information and records that are presently known and available to it. Thus, Responding

14   Party provides these responses without prejudice to its right to add to, amend, modify, or

15   supplement these responses because of subsequently ascertained facts or to correct any

16   inadvertent errors or omissions.

17            Further, Responding Party objects to these requests to the extent that they seek

18   information protected from disclosure by the attorney-client privilege, the attorney work-

19   product doctrine, the joint-defense privilege, trade secret privilege, or any other applicable

20   doctrine or privilege. Accordingly, Responding Party will not provide responses to requests

21   seeking such information or materials. Responding Party objected to these requests to the

22   extent they seek discovery of facts that are neither relevant to the subject matter of this

23   action, nor reasonably calculated to lead to the discovery of admissible evidence.

24   ///

25   ///

26   ///

27   ///

28   ///
                                                2
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
                                                               Case No. 2:21-CV-00438-WBS-KJN
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 68 of 161


1                                      INTERROGATORIES

2    INTERROGATORY NO. 1:

3          How many inquiries, including but not limited to emails, text messages, phone

4    calls, or any other means, per year have YOU received from a third party attempting to

5    reach PROPOUNDING PARTY, instead of RESPONDING PARTY, from 2014 and the

6    present?

7    RESPONSE TO INTERROGATORY NO. 1:

8          RESPONDING PARTY objects to this Interrogatory as disproportionate to the

9    needs of the case; the Interrogatory is subject to multiple interpretations, and therefore

10   vague and ambiguous concerning the term “inquiries”. RESPONDING PARTY objects to

11   the term “third party” as vague and ambiguous.

12         Subject to and without waiving the aforementioned objections, RESPONDING

13   PARTY responds as follows: less than ten.

14   INTERROGATORY NO. 2:

15         How many inquiries, including but not limited to emails, text messages, phone

16   calls, or any other means, per year have YOU received from any third party attempting to

17   reach YOU from 2014 and the present?

18   RESPONSE TO INTERROGATORY NO. 2:

19         RESPONDING PARTY objects to this Interrogatory as disproportionate to the

20   needs of the case; the Interrogatory is subject to multiple interpretations, and therefore

21   vague and ambiguous concerning the term “inquiries”. RESPONDING PARTY objects to

22   the term “third party” as vague and ambiguous.

23         Subject to and without waiving the aforementioned objections, RESPONDING

24   PARTY responds as follows: RESPONDING PARTY receives approximately 600 phone

25   calls from third parties every week.

26   INTERROGATORY NO. 3:

27         Please describe with particularity the geographic area that RESPONDING PARTY

28   provides goods or services.
                                             3
        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
              ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
                                                            Case No. 2:21-CV-00438-WBS-KJN
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1    RESPONSE TO INTERROGATORY NO. 3:

2             RESPONDING PARTY objects to this Request as the term “geographic area” is

3    vague and ambiguous; RESPONDING PARTY objects to this Request as it is not

4    proportionate to the needs of the case under FRCP 26(b)(1); RESPONDING PARTY objects

5    to this Request as it is vague and ambiguous to time and scope.

6             Subject to and without waiving the aforementioned objections, RESPONDING

7    PARTY responds as follows: El Dorado County, Placer County, Sacramento County, though

8    RESPONDING PARTY may service customers outside the abovementioned counties.

9    INTERROGATORY NO. 4:

10            IDENTIFY each PERSON who has witnessed, observed, or is otherwise aware of

11   any other PERSON who has confused RESPONDING PARTY with PROPOUNDING

12   PARTY.

13   RESPONSE TO INTERROGATORY NO. 4:

14            RESPONDING PARTY obects to this Interrogatory as the Interrogatory is vague and

15   ambiguous in time and scope; the Interrogatory is vague and ambiguous as to the term

16   “confused”; the Interrogatory calls for pure legal conclusion; the Interrogatory calls for

17   speculation.    Subject   to   and   without   waiving   the   aforementioned   objections,

18   RESPONDING PARTY responds as follows: Anna Wong.

19   INTERROGATORY NO. 5:

20            IDENTIFY each PERSON who was employed by YOU to answer phones as part of

21   their daily job duties from 2014 to the present.

22   RESPONSE TO INTERROGATORY NO. 5:

23            RESPONDING PARTY objects to this Request as the term “answer phones as part

24   of their daily job duties” is vague and ambiguous; RESPONDING PARTY objects to this

25   Request as the information sought is not proportionate to the needs of the case per FRCP

26   26(b)(1).

27   ///

28   ///
                                                4
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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1    INTERROGATORY NO. 6:

2             State the telephone number and address for each PERSON YOU identified in

3    Interrogatory No. 5.

4    RESPONSE TO INTERROGATORY NO. 6:

5             RESPONDING PARTY objects to this Request as the term “answer phones as part

6    of their daily job duties” is vague and ambiguous; RESPONDING PARTY objects to this

7    Request as the information sought is not proportionate to the needs of the case per FRCP

8    26(b)(1); this Request violates the privacy rights of third parties.

9    INTERROGATORY NO. 7:

10            For each PERSON YOU identified in Interrogatory No. 5, state whether each

11   PERSON is still employed by YOU.

12   RESPONSE TO INTERROGATORY NO. 7:

13            RESPONDING PARTY objects to this Request as the term “answer phones as part

14   of their daily job duties” is vague and ambiguous; RESPONDING PARTY objects to this

15   Request as the information sought is not proportionate to the needs of the case per FRCP

16   26(b)(1).

17   INTERROGATORY NO. 8:

18            Explain, with particularity, all methods in which any PERSON can contact YOU for

19   services YOU provide.

20   RESPONSE TO INTERROGATORY NO. 8:

21            RESPONDING PARTY objects to this Interrogatory as the information sought is not

22   proportionate to the needs of the case per FRCP 26(b)(1).

23            Subject to and without waiving the aforementioned objections, RESPONDING

24   PARTY responds as follows: Phone calls, email, direct submission.

25   INTERROGATORY NO. 9:

26            Explain, with particularity, all methods in which YOU communicate with any

27   potential or current customer.

28   ///
                                                5
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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1    RESPONSE TO INTERROGATORY NO. 9:

2           RESPONDING PARTY objects to this Interrogatory as the information sought is not

3    proportionate to the needs of the case per FRCP 26(b)(1).

4           Subject to and without waiving the aforementioned objections, RESPONDING

5    PARTY responds as follows: Phone calls, email.

6    INTERROGATORY NO. 10:

7           Please describe with particularity the geographic area that RESPONDING PARTY

8    advertises its goods or services.

9    RESPONSE TO INTERROGATORY NO. 10:

10          RESPONDING PARTY objects to this Request as the term “geographic area” is

11   vague and ambiguous; RESPONDING PARTY objects to this Request as it is not

12   proportionate to the needs of the case under FRCP 26(b)(1); RESPONDING PARTY objects

13   to this Request as it is vague and ambiguous to time and scope.

14          Subject to and without waiving the aforementioned objections, RESPONDING

15   PARTY responds as follows: El Dorado County, Placer County, Sacramento County,

16   INTERROGATORY NO. 11:

17          Please describe with particularity all marketing channels RESPONDING PARTY

18   utilizes to advertise its goods or services.

19   RESPONSE TO INTERROGATORY NO. 11:

20          RESPONDING PARTY objects to the term “marketing channels” as vague and

21   ambiguous.

22          Subject to and without waiving the aforementioned objections, RESPONDING

23   PARTY responds as follows: internet, social media, YouTube, billboards, radio.

24   INTERROGATORY NO. 12:

25          Please IDENTIFY with particularity all marketing materials RESPONDING PARTY

26   utilizes to advertise its goods or services.

27   RESPONSE TO INTERROGATORY NO. 12:

28          RESPONDING PARTY objects to the term “marketing materials” as vague and
                                             6
        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
              ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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1    ambiguous.

2             Subject to and without waiving the aforementioned objections, RESPONDING

3    PARTY responds as follows: internet, social media, YouTube, billboards.

4    INTERROGATORY NO. 13:

5             Please describe with particularity the total revenue generated by RESPONDING

6    PARTY through the sale and/or installation of solar energy systems on an annual basis.

7    RESPONSE TO INTERROGATORY NO. 13:

8             RESPONDING PARTY objects to this Interrogatory as the information sought is not

9    proportionate to the needs of the case per FRCP 26(b)(1). The Interrogatory seeks the

10   impermissible discovery of trade secrets; and seeks to violate RESPONDING PARTY’S

11   right to privacy.

12   INTERROGATORY NO. 14:

13            Please describe with particularity the total profit derived by RESPONDING PARTY

14   through the sale and/or installation of solar energy systems on an annual basis.

15   RESPONSE TO INTERROGATORY NO. 14:

16            RESPONDING PARTY objects to this Interrogatory as the information sought is not

17   proportionate to the needs of the case per FRCP 26(b)(1). The Interrogatory seeks the

18   impermissible discovery of trade secrets; and seeks to violate RESPONDING PARTY’S

19   right to privacy.

20   INTERROGATORY NO. 15:

21            Please describe with particularity the total revenue generated by RESPONDING

22   PARTY on an annual basis.

23   RESPONSE TO INTERROGATORY NO. 15:

24            RESPONDING PARTY objects to this Interrogatory as the information sought is not

25   proportionate to the needs of the case per FRCP 26(b)(1). The Interrogatory seeks the

26   impermissible discovery of trade secrets; and seeks to violate RESPONDING PARTY’S

27   right to privacy.

28   ///
                                                7
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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1    INTERROGATORY NO. 16:

2             Please state when YOU first became aware of the existence of PROPOUNDING

3    PARTY.

4    RESPONSE TO INTERROGATORY NO. 16:

5             October 28, 2020.

6    INTERROGATORY NO. 17:

7             Please state the number of solar energy systems YOU have installed on an annual

8    basis from 2014 to present.

9    RESPONSE TO INTERROGATORY NO. 17:

10            RESPONDING PARTY objects to this Interrogatory as the information sought is not

11   proportionate to the needs of the case per FRCP 26(b)(1).

12   INTERROGATORY NO. 18:

13            Please state the number of solar energy systems YOU have sold on an annual basis

14   from 2014 to present.

15   RESPONSE TO INTERROGATORY NO. 18:

16            RESPONDING PARTY objects to this Interrogatory as the information sought is not

17   proportionate to the needs of the case per FRCP 26(b)(1).

18   INTERROGATORY NO. 19:

19            Is your response to each request for admission served with these interrogatories

20   an unqualified admission? If not, for each response that is not an unqualified admission:

21            (a)   state the number of the request;

22            (b)   state all facts upon which you base your response;

23            (c)   state the names, addresses, and telephone numbers of all PERSONS who

24   have knowledge of those facts; and

25            (d)   identify all DOCUMENTS and other tangible things that support your

26   response and state the name, address, and telephone number of the PERSON who has

27   each DOCUMENT or thing.

28   ///
                                                8
           DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
                 ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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1    RESPONSE TO INTERROGATORY NO. 19:

2          (a)    5

3          (b)    RESPONDING PARTY objects to this Request as vague and ambiguous as

4    to the term “utilizes the name ‘Infintie Energy’” and is intentionally phrased to be

5    misleading. Subject to and without waiving the aforementioned objections, RESPONDING

6    PARTY responds as follows: RESPONDING PARTY admits its website utilizes the term

7    “Infinite Energy” to market its goods and/or services; however, RESPONDING PARTY

8    denies that it uses the name “Infinite Energy” solely to market its goods and/or services.

9          (c)    Rich Walton, who can be contacted only through counsel.

10         (d)    RESPONDING PARTY’S website, which has already been produced by

11   PROPOUNDING PARTY.

12
13                                                   To Objections Only

14
15   DATED: May 2, 2022                              KROGH & DECKER, LLP

16
                                                     By:    /s/ Jason. G. Eldred
17                                                         JASON G. ELDRED
18                                                         Attorney for Defendant
                                                           INFINITE ENERGY HOME
19                                                         SERVICES, INC.

20
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                                             9
        DEFENDANT INFINITE ENERGY HOME SERVICES, INC.’S RESPONSE TO PLAINTIFF INFINITY
              ENERGY, INC.’S REQUESTS FOR PRODUCTION OF DOCUMENTS, SET ONE
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         EXHIBIT L
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 8 Attorneys for Plaintiff INFINITY ENERGY, INC.,
   a California Corporation
 9
10                              UNITED STATES DISTRICT COURT
11                       FOR THE EASTERN DISTRICT OF CALIFORNIA
12

13 INFINITY ENERGY, INC., a California                   Case No.: 2:21-cv-00438-WBS-KJN
   Corporation,
14
                Plaintiff,                               PLAINTIFF’S DISCLOSURE OF EXPERT
15
                                                         TESTIMONY PURSUANT TO F.R.C.P.
   vs.                                                   26(a)(2)(B)
16

17 INFINITE ENERGY HOMES SERVICES,
   INC.,                                                 JUDGE:    Hon. William B. Shubb
18                                                       MAG.:     Hon. Kendall J. Newman
              Defendant.
19                                                       FILED:    March 10, 2021
                                                         TRIAL:    October 11, 2022
20

21 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

22          Plaintiff INFINITY ENERGY, INC., a California Corporation (“Plaintiff”) pursuant to the

23 Court’s January 4, 2022 Scheduling Order (and the parties’ subsequent agreement to delay

24 designation until April 1, 2022), and F.R.C.P 26(a)(2)(B), hereby discloses the following expert

25 witnesses who may testify at trial:

26          1.     Dr. Patrick M. Farrell, Ph.D.; University of California, Davis. Declaration and

27 Expert Report of Dr. Patrick Farrell Pursuant to F.R.C.P. 26(a)(2)(B) is attached hereto as Exhibit

28 1.

                                                     1
                                   DISCLOSURE OF EXPERT TESTIMONY
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 1          Plaintiff reserves the right to call additional expert witnesses for the purposes of rebuttal or

 2 impeachment, and any expert witness disclosed by any other party to this litigation. Further,

 3 Plaintiff reserves the right to supplement, augment and/or submit the names of additional expert

 4 witnesses upon receipt of the exchanges of other parties hereto for the purposes of expressing an

 5 opinion on a subject to be covered by experts designated by any other party in this matter.

 6          Plaintiff further reserves the right, pursuant to F.R.C.P 26, et seq., as well as any other

 7 constitutional, statutory and/or other right it may have to later disclose such other experts or call to

 8 testify at trial, experts not named when such testimony is needed to aid in the prosecution of the

 9 action and/or refute and rebut the contentions and testimony of expert witnesses adverse to its
10 case.

11          If any of the witnesses discussed and/or identified herein are not available at the time of

12 trial, Plaintiff hereby advises all parties that it will seek introduction of competent former

13 testimony including depositions of such witnesses, in lieu of their live testimony. Plaintiff hereby

14 also reserves the right to substitute experts if the schedule of trial or other circumstances preclude

15 their testimony at trial. The above-listed retained expert witnesses have agreed to testify at trial

16 and will be sufficiently familiar with the pending action to submit to a meaningful deposition.

17

18 Dated: April 1, 2022                       ELGUINDY, MEYER & KOEGEL, APC

19
20
                                              By:
21                                                  David L. Price, Esq.
                                                    Benjamin D. Koegel, Esq.
22                                                  W. Patrick Cronican, Esq.
                                              Attorneys for Plaintiff INFINITY ENGERY, INC., a
23                                            California Corporation
24

25

26

27

28

                                                       2
                                    DISCLOSURE OF EXPERT TESTIMONY
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           Exhibit 1
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   a California Corporation
 9

10                               UNITED STATES DISTRICT COURT
11                       FOR THE EASTERN DISTRICT OF CALIFORNIA
12

13 INFINITY ENERGY, INC., a California                     Case No.: 2:21-cv-00438-WBS-KJN
   Corporation,
14
                Plaintiff,                                 DECLARATION AND EXPERT REPORT
15
                                                           OF DR. PATRICK FARRELL PURSUANT
   vs.                                                     TO F.R.C.P. 26 (a)(2)(B)
16

17 INFINITE ENERGY HOMES SERVICES,
   INC.,                                                   JUDGE:    Hon. William B. Shubb
18                                                         MAG.:     Hon. Kendall J. Newman
              Defendant.
19                                                         FILED:    March 10, 2021
                                                           TRIAL:    October 11, 2022
20

21          I, Patrick Farrell, do hereby declare as follows:
22         1.      I am a professor emeritus in the Department of Linguistics at the University of
23 California, Davis, where I have taught classes on general and theoretical linguistics and conducted

24 related research for 31 years.

25         2.      I am the author of two books and thirty journal articles or book chapters on a wide
26 array of topics concerned with the structure of English and other languages and am a Fellow of the
27 Linguistic Society of America, for which I have served as Secretary-Treasurer and currently serve

28 as Publications Advisor.

                                                       1
                      DECLARATION AND EXPERT REPORT OF DR. PATRICK FARRELL
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 1         3.       I have provided expert testimony and written reports on numerous occasions for

 2 legal cases concerned with the English language and other languages, including the meaning,

 3 internal structure, historical development, and common usage of particular words and phrases,

 4 both in the context of trademark litigation and otherwise. My current CV, with further details

 5 about my qualifications, is attached as Appendix A.

 6         4.       In addition, contained in Appendix A is my current rate sheet governing my work

 7 in this matter including the rates for my study and testimony (including trial and deposition).

 8         5.       I was asked by the law firm of ElGuindy, Meyer & Koegel, APC, counsel to

 9 Infinity Energy, Inc. in this action, to review the complaint filed on behalf of the Plaintiff and to

10 conduct a linguistic analysis of the structure, meaning, and usage of the words INFINITY and

11 INFINITE in order to render an opinion concerning the potential for consumer confusion in light

12 of the trademark owned by Infinity Energy, Inc. and the use of INFINITE by the Defendant.

13 I.       Summary of opinions

14         6.       A linguistic analysis of the words INFINITE and INFINITY will show that these

15 words derive from adjective and noun versions of the same Latinate word borrowed into English

16 from French in such a way as to preserve key components of their original word structure and

17 meanings. Since their spellings and pronunciations are very close as well, they are highly

18 susceptible to confusion.

19         7.       Usage evidence will show that the trademark INFINITY ENERGY is strongly

20 associated with Plaintiff’s company; INFINITE and INFINITY are in fact often confused; and

21 INFINITE ENERGY is routinely mistaken for INFINITY ENERGY.

22 II.      Spelling and pronunciation

23         8.       The words INFINITE and INFINITY are potentially easy to confuse because of

24 their spelling (or orthography) and their pronunciation (or phonological structure). The only

25 difference in spelling is that one ends in the letter E and the other ends instead in the letter Y.

26 Other than the additional phoneme (or sound unit) corresponding to this Y that INFINITY
27 contains, the phonemes in the two words are identical. In the notational system of the International

28 Phonetic Alphabet (IPA) the shared phonemes correspond to the shared letters, which are all but

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 1 one: /ɪnfɪnɪt/ for INFINITE and /ɪnfɪnɪti/ for INFINITY. Because the final E letter in INFINITE is

 2 “silent” and the letter Y in INFINITY is pronounced, INFINITY has four syllables, whereas

 3 INFINITE has only three. The different number of syllables creates one other difference in

 4 pronunciation. Because main stress in English words cannot ordinarily be placed on the third from

 5 the last syllable, among other reasons, INFINITY has its main stress on the second from the last

 6 syllable, i.e., /ɪnˈfɪnɪti/, as does INFINITE: /ˈɪnfɪnɪt/.

 7         9.       Overall, the similarities in spelling and pronunciation are sufficient to make it easy

 8 for the two words to be perceived as being closely related and even to be confused with one

 9 another. However, the potential for confusion is significantly greater because of their closeness in

10 word structure and meaning.

11 III.     Historical origin, word structure and meaning

12         10.      Much of the vocabulary of modern English was borrowed indirectly from Latin,

13 mostly from its daughter language French, during the Middle English period (roughly late 12th

14 through 15th centuries), due to the conquest and rule of England by the French-speaking Normans

15 in that era. In Latin, by and large, and in French to a large extent as well, many words come with

16 necessary prefixes and suffixes, which often indicate such things as tense and part of speech for

17 different forms of the same word. For example, although the word for “end” in French is simply

18 the noun fin (as in le fin du monde “the end of the world”), the verb form of the same word is

19 created by adding one or more suffixes (as in j’ai fini “I have finished”), which has the past

20 participle suffix -i added to the root fin. English often borrowed whole words from French,

21 together with any suffixes or prefixes, without necessarily also borrowing the root as an

22 independent word.

23         11.      The words INFINITE and INFINITY came into English in the Middle English

24 period through borrowing from French, in which they were adjective and noun forms of words

25 built on the root fin “end”, to which the prefix in- meaning “not” had been added. Because of this,

26 even in English, these two words are essentially adjective and noun versions of the same word
27 and INFINITY is typically defined in dictionaries in terms of the word INFINITE. If the prefixes

28 and suffixes are stripped away from these words in their English incarnation, we find what is

                                                         3
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 1 known as a bound root, i.e., a root that cannot itself stand alone as a word.1

 2              12.      According to the Oxford English Dictionary (OED) the primary meaning of the

 3 noun INFINITY is “The quality or attribute of being infinite or having no limit; boundlessness,

 4 illimitableness.”2 It consists of the prefix IN-, meaning “not” (as also in such words as

 5 INTOLERABLE and INCONSISTENT), the bound root FIN, meaning “end” (as also in such

 6 words as FINAL and FINISH), and the suffix -ITY, which forms nouns (as also in such words as

 7 PURITY and SANITY).

 8              13.      The adjective INFINITE has as its primary meaning, according to the OED,

 9 “having no limit or end, boundless, unlimited, endless”; and it also contains the IN- prefix and the

10 FIN bound root. The key difference is that rather than ending in the noun-forming suffix -ITY, it

11 ends in the -ITE suffix that characterizes words borrowed from French or Latin in their past

12 participle form, which makes them function as adjectives, such as was the case with Latin finitus

13 “finished, ended” and as also in the case of adjectives such as FAVORITE and OPPOSITE.

14              14.      The intimate connection between these two words is highlighted in the Online

15 Etymological Dictionary’s entry for INFINITY,3 which stresses not only its French and Latin

16

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26    1
       The concepts of word structure engaged here are fundamental to linguistic analysis. See, for example, Plag, Ingo.
      2003. Word-formation in English. Cambridge: Cambridge University Press.
27    http://catdir.loc.gov/catdir/samples/cam041/2003048479.pdf.
      2
28        The full OED definitions for both INFINITY and INFINITE are provided in Appendix B.
      3
          https://www.etymonline.com/word/infinity.
                                                                4
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 1 connections, but also the necessity of considering INFINITE at the same time.

 2         15.      In sum, the spellings, pronunciations, word structure and meanings of these two

 3 words overlap in such a way as to make them virtually indistinguishable as trademarks.

 4 IV.      Usage evidence concerning trademark strength

 5         16.      That the phrase INFINITY ENERGY is strongly associated with Plaintiff’s

 6 company can be demonstrated with web corpus evidence. WebCorp Live provides a search tool

 7 designed to enable linguistic analysis from the results of live searches of the entire world wide

 8 web as indexed by the Bing search engine. Usual search engine biases are avoided, since the

 9 WebCorp Live platform in the UK is employed, leaving user IP and browser search history out of

10 play. Moreover, users can set various search parameters, in such a way as to get around or avoid

11 other ordinary search engine restrictions. For example, my query for [Infinity Energy] was

12 structured in such a way as to include case-sensitive results for this exact phrase only, for United

13 States English, with only one concordance line (i.e., stretch of text on both sides of the phrase in

14 question) from each web page retrieved. The result was that Bing returned 50 hits (out of an

15 estimated 53,900) and WebCorp Live successfully accessed 41 web pages and generated 28

16 concordances. The full results are provided in Appendix C.

17         17.      My analysis of the results can be summarized as follows. The first result is from the

18 home page of the Plaintiff’s company, as the URL is https://www.infinityenergy.com and the

19 phrase “Infinity Energy, Inc.” is included in the concordance line. Eleven other results are for

20 reviews of Infinity Energy, Inc. (Rocklin); two are for subsidiary pages on this company’s domain,

21 i.e., infinityenergy.com; two are for the same company’s referral app available on Apple App

22 Store and Google Play; one is for a MapQuest listing for the Fresno office of this company; and

23 one is for a news story about this company. Thus, the Plaintiff’s company, with the phrase

24 INFINITY ENERGY used as its trademark, is featured in 18 of the 28 results. The remainder

25 include a reference to a Pokémon wiki entry for the phrase INFINITY ENERGY, which is a

26 translation of a Japanese word and is defined as “a type of energy in the Pokémon world derived
27 from the life force of Pokémon” and a random assortment of references to various gas and electric

28 and solar energy companies, an equipment rental company, and an energy-saving enterprise, all of

                                                      5
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 1 which operate outside of the service area of Infinity Energy, Inc., in the UK, Canada, Louisiana,

 2 and New Jersey.

 3 V.       Usage evidence concerning confusion potential

 4         18.     That people do often confuse the words INFINITY and INFINITE can be

 5 demonstrated with an ordinary Google search. As shown in the screenshot below, if I try to fill the

 6 search box with [“an infinity number of”], in order to retrieve results for this exact phrase, Google

 7 attempts to correct this to [“an infinite number of”], which unlike the other phrase would be

 8 grammatically correct, with the noun NUMBER being properly modified by the adjective

 9 INFINITE.

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15         19.     Proceeding with the ungrammatical search, nevertheless, I get a surprising 18,100

16 estimated results. The first 100 actual retrievals, which are shown in Appendix D, are exemplified

17 by the top hit, which has INFINITE NUMBER displayed twice and, mistakenly, INFINITY

18 NUMBER once:

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23

24         20.     Being logged into my Google account in my office in Woodland, CA, in the greater

25 Sacramento area, if I search for [“Infinite Energy”], even Google seems to get confused, as it

26 brings to the top of the search results a map with not only a hit for Defendant’s Infinite Energy
27 Home Services in Rancho Cordova, but also two hits for Infinity Energy, Inc. in nearby Rocklin.

28 / / /

                                                      6
                      DECLARATION AND EXPERT REPORT OF DR. PATRICK FARRELL
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18              21.       That people actually do sometimes confuse the phrase INFINITE ENERGY with
19 the phrase INFINITY ENERGY can be demonstrated with a Google search for [“infinity energy”

20 “infinite”] or [“infinite energy” “infinity”], in which case there is an attempt to retrieve only pages

21 that contain both of the terms enclosed with quotes in the search box. Such searches retrieve

22 numerous pages that reveal confusion. For example, one page on the Quick Electricity Review site

23 for Texas energy companies has a review for a company (not that of Defendant) that is named

24 Infinite Energy.4 It ends with the following summary (emphasis added):

25
      Infinite Energy is a top ranked electricity company in Texas, according to the Texas PUC. Rest
26
      assured when you switch to Infinity Energy, you’re in good hands. Sign up today!
27

28
      4
          https://quickelectricity.com/companies/infinite-energy/
                                                                    7
                              DECLARATION AND EXPERT REPORT OF DR. PATRICK FARRELL
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 1              22.       Another page has testimonials for an Australian company named Infinite Energy,

 2 on which two different users include confusion-revealing references to “Infinity Energy”,5 as in

 3 the following example:

 4

 5

 6

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 9

10              23.         On a page with Better Business Bureau customer reviews for a Florida natural
11 gas company named Infinite Energy, Inc., one of the reviews shows blatant confusion between

12 INFINITE and INFINITY for the company name (emphasis added):6

13 … i switched from Scana to infinite for gas service with a mailed promotion brochure which says

14 clearly Infinite will pay any early termination fee for the switch … Infinity is not doing business

15 honestly. Do not trust this company.

16              24.       There’s also a Finance Guru web page with a quick overview of Florida-based
17 Infinite Energy that includes a question and answer about where the company operates and

18 mistakenly calls it Infinity Energy, in bold:7

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      5
27        https://www.infiniteenergy.com.au/Testimonials/current/
      6
          https://www.bbb.org/us/fl/gainesville/profile/natural-gas-companies/infinite-energy-inc-0403-9075/customer-
28 reviews
      7
          https://financeguru.com/energy/providers/infinite-energy/
                                                                    8
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 1 VI.      Conclusions

 2         25.     Based on a careful linguistic analysis of the words INFINITE and INFINITY and

 3 how they are used, especially in the context of the word ENERGY, I conclude as follows:

 4          a)     Their spelling, pronunciation, word structure, historical origin, and meaning make

 5 these essentially noun and adjective versions of the same word and, therefore, highly susceptible

 6 to confusion.

 7          b)     Internet corpus evidence shows that these words are in fact often confused.

 8          c)     Internet corpus evidence also shows that the phrase INFINITY ENERGY is

 9 strongly associated with Plaintiff’s company and the phrase INFINITE ENERGY does in fact get

10 confused with it.

11          I declare under penalty of perjury under the laws of the United States of America that the

12 foregoing is true and correct.

13                    04/01/2022
            Executed ______________ at Woodland, California.

14

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                                                         ____________________________________
16
                                                          PATRICK FARRELL
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                       DECLARATION AND EXPERT REPORT OF DR. PATRICK FARRELL
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APPENDIX A
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Brief CV | 530-848-2874 | pmfarrell@ucdavis.edu | linguistics.ucdavis.edu/people/pmfarrel




Affiliation, education, and areas of expertise
Since 1990 – Member of the faculty in Linguistics, University of California, Davis (current rank: Professor
        Emeritus)
1991 – PhD, Linguistics, University of California, San Diego. Dissertation committee: David M.
       Perlmutter (chair), Farrell Ackerman, Gilles Fauconnier
1975 – BA, Humanistic Psychology, University of California, Santa Cruz. Thesis director: Norman O.
        Brown

Research
My research explores how human language works and how various theories of linguistics model this,
focusing on issues in the syntax and semantics of English, cross-linguistic and diachronic comparison of
languages, the structure of words and sentences and how these relate to meaning, language in popular
use as displayed in online corpora and what this tells us about cultures and human cognition, and how the
scientific study of language can elucidate matters of policy, particularly in the domain of trademark law
and statutory interpretation.

Teaching
My teaching career began with English language classes that I taught in Brazil in the 1980’s as a lecturer at
the Universidade Estadual de Londrina and as a graduate student instructor at UC San Diego, where I
taught Portuguese, Spanish, and English as a second language. I have taught courses at UC Davis on a
wide range of topics in linguistics, including phonology, morphology, syntax, semantics, language
universals and typology, English grammar, Portuguese grammar, languages of the world, the history of
generative grammar, and second language learning and teaching.


Administrative and academic service (since 2004)
2016- 2018 – Member, Davis Division Committee on Undergraduate Admissions and Enrollment and Davis
            representative to the UC Board of Admissions and Relations with Schools.
Since 2016 – Editor, Proceedings of the Linguistic Society of America.
Since 2018 – Fellow and Publications Advisor, Linguistic Society of America.
2015-2017 – Chair, Admissions Committee, Graduate Group in Linguistics.
Since 2016 – Member, Steering Committee of the UC Davis Division of Social Sciences.
2014-2016 – Member, Executive Committee of the UC Davis Institute for Social Science.
2012-2013 – Chair, Davis Division Committee on Undergraduate Admissions and Enrollment.
2012-2014 – Member, Davis Division WASC Steering Committee.
2012-2014 – Member, University of California Board of Admissions and Relations with Schools.
2013-2018 – Secretary-Treasurer, member of the Executive Committee, and chair of the Committee on
            Publications, Linguistic Society of America.
2004-2006 – Faculty Director for Brazil, University of California Education Abroad Program.
2007-2012 – Department Chair, UC Davis, Linguistics.
2007-2010 – Chair, Admissions Committee, Graduate Group in Linguistics.
2007-2014 – Member, Executive Committee, Graduate Group in Linguistics.
2006-2009 – Member, Executive Committee, College of Letters & Science.
2007-2009 – Chair, Subcommittee on Student Petitions for the Executive Committee, College of Letters &
            Science.
2011-2013 – Member, Committee on Effective Delivery of the Curriculum in the Division of Social Sciences.
2008-2011 – Member, UC Davis Graduate Council Subcommittee on Educational Policy.
2009-2012 – Member, UC Davis Undergraduate Council.
2011-2012 – Member, Davis Executive Council Special Committee on Athletics.
2011-2013 – Member, Representative Assembly of the Davis Division.


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2011-2013 – Member, Workgroup on English as a Second Language and Internationalization at UC Davis.


Testimony at trial or deposition as a linguistics expert (since 2003)
2018, June 21 – Deposition, Federal Court, Western New York District, Saxon Glass Technologies Inc. v.
       Apple Inc., for Defendant. Case Text.
2017, Sept. 11 – Deposition, Superior Court of the State of Arizona, Julie E. Littenberg v. Sharon L. Raskin, for
       Plaintiff.
2016, Oct. 14 – Trial, Board of Administration, California Public Retirement System, Judith Brooks v. Carl
       Goode, for Plaintiff.
2013, July 15 – Deposition, Federal Court, Arizona District, Elliot et al. v. Google Inc., for Plaintiff.
2013, August 28 – Deposition, Federal Court, Northern California District, Clorox Company v. Alen USA LLC.,
       for Plaintiff.
2003, July 12 – Trial, Federal Court, Eastern California District, Yellow Cab CO. of Sacramento v. Yellow Cab
       CO. of Elk Grove, for Defendant. Google Scholar.

Publications
Articles in journals and proceedings
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        African Languages and Linguistics, 14: 155–186.
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Farrell, Patrick. 1990. Psych-Movement as P Incorporation: Evidence from Italian. Proceedings of the
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        across Languages and Language Families: The Reykjavík / Eyjafjallajökull Papers, 85-114.
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        Board, USPTO, Alexandria, VA. View this report.
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        San Francisco. View this report.
Farrell, Patrick. 2012. Expert Report: Yellow Cab Drivers Association v. Yellow Cab Park City. View this
        report.
Farrell, Patrick. 2011. Declaration in Support of Plaintiff’s Opposition to Defendant’s Motion to Strike:
        Burrill v. Nair et al. The Superior Court of California in and for the County of Placer. View this report.


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        Linguistics, 44: 201–204.
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        Language, 77: 158-162.
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Farrell, Patrick. 1995. Review of Susumu Kuno and Ken-ichi Takami, Grammar and Discourse Principles:
        Functional Syntax and GB Theory. Language, 71: 374–381.
Farrell, Patrick. 1995. Review of Paul Deane, Grammar in Mind and Brain. Linguist List 6-1214, 6-1214. View
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Farrell, Patrick. 1994. Review of Jerold A. Edmondson and Donald A. Burquest, A Survey of Linguistic
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Farrell, Patrick. 1990. Review of Nora González, Object and Raising in Spanish. Probus, 2: 113–123.


PhD dissertation committee service (since 2010)
2010-2015 – Chair, Beatriz Willgohs
2011-2015 – Co-chair (with Martha Macri), Lewis Lawyer (Reference Systems Manager, Cambridge
University Press)
2012-2013 – Member, Brian Slocum (Professor, McGeorge School of Law)
2012-2014 – Co-chair (with Robert May), Kristen Greer (Lecturer, Linguistics, UC Davis)
2013-2017 – Member, Chris Graham (Lecturer, Linguistics, UC Davis)
2015–2020 – Member, Yuxiang Wang




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                                                                                         301 North Lake Avenue, Suite 420, Pasadena, CA
                                                                                          91101-5119 626/795-5000 TEL 626/795-1950 FAX
                                                                                           800/555-5422 (Toll Free) www.ForensisGroup.com


                                 Expert: Dr. Patrick M. Farrell Ph.D.
        ForensisGroup, Inc.'s Fee Schedule and Contract Conditions
Non-Testimony work/Case                        $440.00 per hour
Preparation

                                               $550.00 per hour Fees are due on the same day of event before any
Deposition                                     testimony is given, retaining counsel is responsible for any fees owed or not
                                               paid by the opposing counsel.

Testimony                                      $2,640.00 Flat Fee for Half Day

                                               $5,280.00 Flat Fee for Full Day Estimated fees for reserved time are
                                               prepaid at least one week prior to scheduled event, any difference in
Testimony                                      estimated time and actual time spent will be invoiced immediately and shall
                                               be due and payable upon receipt.; Any and all outstanding invoices must be
                                               fully paid before any testimony is to be provided.

                                               $2,050.00 refundable retainer will be required in advance, prior to
Retainer                                       initiation of any services, applicable to the first invoice. Any unused portion
                                               of retainers shall be returned.

Travel Time                                    $75.00 per hour


PLUS air travel, meals, accommodations, ground transportation, travel time, and other related expenses to be
billed.
1. The Expert may require a deposit into the Retainer before continuing any services.
2. A case initiation fee of $495.00 payable to FGI is required and reflected on the first invoice.
3. Client agrees not to designate Expert in court papers until Expert's express permission is obtained. Notwithstanding lack of
execution of this Contract, Client agrees that commencement of work by Expert, at Client's direction, constitutes retention of Expert
under the terms and conditions of this Contract.
4. Time billed to Client shall include all time Expert spends on Client's behalf, which includes but is not limited to consultation,
meetings, site inspections, case review, document review, investigations, research, travel, report preparation, and other customary
case-related preparations. Charges for depositions, arbitrations and court appearances shall include waiting time at the established
rates for these events that are set forth above. FGI reserves the right to modify Expert's fees upon reasonable notice.
5. All out-of-pocket expenses incurred by Expert (including but not limited to film, reproduction, long distance telephone, fax and
similar reimbursable costs) plus laboratory, videotaping, destructive testing, data processing, and other similar expenses shall be
charged at cost plus 15%.
6. All invoices to Client are due and payable to FGI upon presentation. In the event of unpaid invoices, FGI and Expert each reserve
the right to cease work, regardless of the stage of completion of work or the imminence of deposition, trial or arbitration.
Responsibility for all payments rests solely with Client; by retaining Expert, Client acknowledges that Client is responsible for all
fees and costs incurred. Of importance, Client retaining expert bears responsibility for invoiced differences between actual time and
fee schedule minimum charge time with regard to opposing counsel deposition fees.

7. It is further agreed and understood that all accounts or monies due ForensisGroup, Inc. shall be due and payable at its office in
Pasadena, California within thirty (30) days of installation; that all past due accounts, notes or judgments shall bear interest from the
date the indebtedness is first incurred until paid at the maximum rate allowed by law. If the accounts or notes are placed with a third




2                                                              FG File #: FG-016804                                                FG-05-1
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APPENDIX B
ABOUT       COMMUNITY                BLOG                                                                                                                                                                              Access: University of California/Davis              Personal profile: Sign in
                                                                                                          Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 95 of 161

                                                                                                                                                                             Quick search:                                                               Browse:                                       Appendix B
                                                                                                                                                                                                   Lost for Words?     Advanced search        Help          Dictionary               Sources

                                                                                                                                                                                                                                                            Categories               Historical
                                                                                                                                                                                                                                                                                     Thesaurus
                                                                                                                                                                                                                                                            Timelines
  View full results for 'Infinity'                                                                                                                          Help on Dictionary Entry   Print      Save       Email   Cite

                                                                                                                                                                                                                                                        My entries (1)

   infinity, n.                                                                                                                                                                                    Text size:               This entry has not
                                                                                                                                                                                                                            yet been fully
                                                                                                                                                                                                                                                        My searches (1)
   View as: Outline | Full entry                                                                                                                              Quotations: Show all | Hide all Keywords: On | Off            updated (first
                                                                                                                                                                                                                            published 1900;
                                                                                                                                                                                                                            most recently               Jump to:
 Pronunciation:                  /ɪnˈfɪnɪti/                                                                                                                                                                                modified version
                                                                                                                                                                                                                            published online
   Forms: Also Middle English -te, Middle English–1500s -tie.
                                                                                                                                                                                                                            December 2020).
   Frequency (in current use):
                                                                                                                                                                                                                            Entry history                Sort by: Entry | Date
   Etymology: < French infinité (13th cent. in Hatzfeld and Darmesteter.), < Latin infīnītās endlessness, boundlessness, infinity, < infīnītus : see -ITY suffix.                              (Show Less)                                                infinitism, n.                     1897
                                                                                                                                                                                                                            Entry profile
                                                                                                                                                                                                                                                          infinitival, adj.                  1870
                                                                                                                                                                                                                                                          infinitive, adj. and n.           c1470
                                                                                                                                                                                                                            Previous version:
   1. The quality or attribute of being infinite or having no limit; boundlessness, illimitableness (esp. as an                                                                           Thesaurus »
                                                                                                                                                                                                                            OED2 (1989)
                                                                                                                                                                                                                                                          infinitively, adv.                 1711
                                                                                                                                                                                          Categories »                                                    infinitize, v.                     1913
   attribute of Deity).
                                                                                                                                                                                                                                                          infinito-, comb. form              1749
                                                                                                                                                                                                                            In this entry:                infinitude, n.                     1641
       c1374 G. CHAUCER tr. Boethius De Consol. Philos. (Cambr.) V. pr. vi. 134 Al thogh þat the lyf of it be strechched with infinite of tyme, yit algates nis it no swych                                                                               infinitum, n.                      1682
             thing.                                                                                                                                                                                                         at infinity
                                                                                                                                                                                                                                                          infinituple, adj.                  1722
                                                                                                                                                                                                                            infinity pool
       ▸ 1435 R. MISYN tr. R. Rolle Fire of Love 14 In þe infenite of gode meruaile and worschip, with-oute begynyng all-myghti clerely scheuys.                                                                                                          infinity, n.                     c1374
                                                                                                                                                                                                                            infinity, to                  infire, v.                       a1661
       1532 T. MORE Confut. Tyndale in Wks. 636/1 One whose eternity passeth al time, and whose infinity passeth all nombre, that is almightye God himselfe.
                                                                                                                                                                                                                                                          infirm, adj.                      c1374
       1647 A. COWLEY Constant in Mistress iii What, alas can be Added to that which hath Infinity Both in Extent and Quality?                                                                                                                            infirm, v.                        c1449
                                                                                                                                                                                                                            In other
       1690 J. LOCKE Ess. Humane Understanding II. xxiii. 148 It is Infinity, which, joined to our Ideas of Existence, Power, Knowledge, &c. makes that complex Idea,                                                       dictionaries:                 infirmarer, n.                    c1430
                                                                                                                                                                                                                                                          infirmarian, n.                    1669
            whereby we represent to our selves the best we can, the supreme Being.                                                                                                                                          infī̆nī̆tẹ̄, n. in Middle
                                                                                                                                                                                                                                                          infirmary, n.                      1625
       a1774 O. GOLDSMITH Surv. Exper. Philos. (1776) II. 94 Wherever the doctrines of infinity enter into philosophy, knowledge ceases, and we talk at random.                                                             English Dictionary
                                                                                                                                                                                                                                                          infirmat, adj.                     1487
       1875 B. JOWETT in tr. Plato Dialogues (ed. 2) IV. 9 Of that positive infinity, or infinite reality, which we attribute to God, he had no conception.                                                                                               infirmate, v.                      1657
                                                                                                                                                                                                                                                          infirmation, n.                    1808
                                                                                                                                                                                       (Hide quotations)
                                                                                                                                                                                                                                                          infirmative, adj. an...            1611




   2. Something that is infinite; infinite extent, amount, duration, etc.; a boundless space or expanse; an                                                                               Thesaurus »

   endless or unlimited time. (In quot. 1682 the Infinite Being, the Deity.)

       1377 W. LANGLAND Piers Plowman B. XIII. 127–8 One pieres þe plough~man..seith þat dowel and dobet aren two infinites, Whiche infinites, with a feith fynden
            oute dobest, Which shal saue mannes soule.
       1614 W. RALEIGH Hist. World I. I. i. §3. 3 There cannot be more infinites then one; for one of them would limit the other.
       1682 J. DRYDEN Religio Laici 6 Dar'st thou, poor Worm, offend Infinity?
       1839 C. DARWIN in R. Fitzroy & C. Darwin Narr. Surv. Voy. H.M.S. Adventure & Beagle III. i. 12 Any power, acting for a time short of infinity.
       1843 J. RUSKIN Mod. Painters I. 225 The greatest number is no nearer infinity than the least, if it be definite number.
       1856 D. MASSON Ess. Biogr. & Crit. iii. 62 They did not tenant all space, but only that upper and illuminated part of infinity called Heaven.
       1865 M. ARNOLD Ess. Crit. ix. 297 For all his sweetness and serenity, however, man's point of life ‘between two infinities’ (of that expression Marcus Aurelius is
            the real owner) was to him anything but a Happy Island.
                                                                                                                                                                                       (Hide quotations)



    3.

   a. In hyperbolical use (from 1, 2): Immensity, vastness; an indefinitely great amount or number, an                                                                                    Thesaurus »
                                                                                                                                                                                          Categories »
   exceeding multitude, ‘no end’ (of). [A frequent sense in Old French.]

       c1480 (▸a1400) St. George 321 in W. M. Metcalfe Legends Saints Sc. Dial. (1896) II. 185 Þe king [þane] ane infinite of gret tresore gert offerit be to george.
       1581 R. MULCASTER Positions xxxvi. 133 Whether all children be to be set to schoole or no, without repressing the infinitie of multitude.
       1634 W. TIRWHYT tr. J. L. G. de Balzac Lett. 168 By meanes of an infinity of rules and maximes.
       1681 H. NEVILLE Plato Redivivus 102 He gives daily charitable audience to an Infinity of poor people.
       1757 E. BURKE Philos. Enq. Sublime & Beautiful III. §4. 79 An infinity of observations of this kind [are] to be found in the writings, and conversations of many.
       1871 B. JOWETT tr. Plato Dialogues II. 339 When little things are elaborated with an infinity of pains.
                                                                                                                                                                                       (Hide quotations)




    b. to infinity (= Latin ad or in infinitum): to an ‘infinite’ extent, ‘endlessly’, without limit.                                                                                     Thesaurus »


       1640 tr. G. S. du Verdier Love & Armes Greeke Princes I. 27 Loving him to infinity, I almost died at the first news of his sicknes.
       1812 Burke's Speech Act of Uniformity 1772 in Wks. V. 328 You may delight yourselves in varying to infinity the fashion of them.
       1825 J. R. MCCULLOCH Princ. Polit. Econ. II. iv. 189 The multiplication of such commodities to infinity, could never occasion a glut.
                                                                                                                                                                                       (Hide quotations)



    4.

    a. Mathematics. Infinite quantity (see INFINITE adj. 4c): denoted by the symbol ∞. Also, an infinite number                                                                           Thesaurus »
                                                                                                                                                                                          Categories »
   (of something; quot. 1831).

       1693 E. HALLEY in Philos. Trans. (Royal Soc.) 16 556 The whole..is the summ of the beginning and ceasing Infinity, or as I may say of Infinity a parte ante and
            a parte post, which is analogous to Eternity in time or Duration.
       1831 D. BREWSTER Life I. Newton xii. 194 The curve which should cut at right angles an infinity of curves of a given nature.
       1855 T. B. MACAULAY Hist. Eng. IV. XX. 496 To say..that a hundred was five times infinity.
       1859 J. O. HALLIWELL Introd. Evid. Christianity 14 In modern science, there is a symbol used to express infinity.
       1880 Encycl. Brit. XI. 138 In this treatise [Nova Stereometria Doliorum, 1615] he [Kepler] introduced for the first time the name and notion of ‘infinity’ into
            the language of geometry.
                                                                                                                                                                                       (Hide quotations)




    b. Geometry. Infinite distance, or that portion or region of space which is infinitely distant: usually in at                                                                         Thesaurus »
                                                                                                                                                                                          Categories »
   infinity. In Photography also used of any distance, or the range of distances, at which an object is
   effectively in focus when the lens is set for the greatest possible distance.

       1867 T. SUTTON & G. DAWSON Dict. Photogr. 122 In every lens there is..a certain distance of a near object from it, between which and infinity all objects are in
            equally good focus.
       1873 B. WILLIAMSON Elem. Treat. Differential Calculus (ed. 2) xiii. §192 A system of parallel lines may be considered as meeting in the same point at infinity.
       1873 B. WILLIAMSON Elem. Treat. Differential Calculus (ed. 2) xiii. §195 The ordinary parabola..[has] the line at infinity for an asymptote.
       1885 C. LEUDESDORF tr. L. Cremona Elements Projective Geom. 221 Suppose the four tangents to be parallel in pairs..then one diagonal will pass to infinity.
       1910 Photogr. for Beginners (Country Life Ltd.) ii. 13 These are called ‘fixed focus’ cameras, and the lens is ‘set at Infinity’, which means that, provided the
            object to be photographed is not nearer the camera than, say, twenty feet, everything in the picture will appear sharp.
       1929 R. H. GOODSALL Beginner's Guide Photogr. v. 22 The next thing is to adjust the lens to correct focus... All subjects over 100 feet away will be at ‘infinity’,
            smaller distances are marked on the scale.
       1939 J. M. BLAIR Pract. & Theoret. Photogr. ix. 89 The hyperfocal distance is the least distance at which a lens may be focussed when objects at infinity are still
            in focus.
       1950 G. L. WAKEFIELD Your Camera Lens & Shutter ii. 27 In photography, an object at 100 feet away from the lens would be normally considered as being at
            infinity. Infinity cannot be rigidly defined in the photographic sense, but it becomes a greater distance as the focal length of the lens increases.
       1974 Trafford Catal. Spring & Summer 890/1 Kodak 100 pocket camera outfit. Fine 3-element lens gives sharp colourful prints or slides from 4 ft. to infinity.
                                                                                                                                                                                       (Hide quotations)




   DRAFT ADDITIONS DECEMBER 2005


    infinity pool n. originally North American an outdoor swimming pool designed to give the impression                                                                                     Thesaurus »
                                                                                                                                                                                            Categories »
   that it lacks an edge or edges and merges into the surrounding landscape.

       1992 Orange County (Calif.) Register 23 June E1/4 Dinner tables were sprinkled around an infinity pool (designed to look as if it's spilling over the hillside),
            guarded by a fountain of swans.
       2003 J. FARRIS Fury & Power 18 Alberta Nkambe had begun her daily half-mile swim in the infinity pool at the edge of the east lawn, overlooking a landscape of
            farms, bush, and extinct volcanoes.
                                                                                                                                                                                         (Hide quotations)




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  infinite, adj., adv., and n.                                                                                                                                                                       Text size:               This entry has not
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 Pronunciation:              /ˈɪnfɪnɪt/                                                                                                                                                                                       modified version
                                                                                                                                                                                                                              published online
  Forms: Middle English–1500s infynyt(e, Middle English–1600s infinit, (Middle English infenite ...                                    (Show More)
                                                                                                                                                                                                                              March 2022).
  Frequency (in current use):
                                                                                                                                                                                                                              Entry history                  Sort by: Entry | Date
  Etymology: < Latin infīnītus unbounded, unlimited, < in-                   (IN- prefix4)   + fīnītus FINITE adj. and n.; perhaps originally through Old French infinit, -ite (13th cent. in                                 Entry profile                  infimate, v.                    a1641
   Hatzfeld & Darmesteter), later infini (Oresme, 14th cent.). In hymns sometimes rhymed with /-aɪt/.                            (Show Less)                                                                                                                 infimity, n.                      1885
                                                                                                                                                                                                                                                             infimous, adj.                    1613
                                                                                                                                                                                                                              Previous version:
                                                                                                                                                                                                                                                             infimum, n.                       1940
    A. adj.                                                                                                                                                                                                                   OED2 (1989)
                                                                                                                                                                                                                                                             infinal, adj.                   ?1504
    1.                                                                                                                                                                                                                                                       infinitant, adj.
                                                                                                                                                                                                                              In this entry:                 infinitary, adj.
   a. Having no limit or end (real or assignable); boundless, unlimited, endless; immeasurably great in                                                                                       Thesaurus »
                                                                                                                                                                                                                              infinite decimal
                                                                                                                                                                                                                                                             infinitate, v.                    1864
                                                                                                                                                                                              Categories »
   extent, duration, or other respect. Chiefly of God or His attributes; also of space, time, etc., in which it                                                                                                               infinite regress
                                                                                                                                                                                                                                                             infinitation, n.                  1652
                                                                                                                                                                                                                                                             infinite, adj., adv....         c1385
   passes into the mathematical use ( A. 4b).                                                                                                                                                                                 infinite series                infinite, v.                      1656
                                                                                                                                                                                                                              infinite, to                   infinitely, adv.                  1413
      1413 Pilgr. Sowle (1859) V. i. 71 The largenes therof may not be comprehended by thought of mannes wytte; for it is Infynyte.                                                                                           in infinite                    infiniteness, n.                  1534
      1477 EARL RIVERS tr. Dictes or Sayengis Philosophhres (Caxton) (1877) lf. 1 Releued by thynfynyte grace & goodnes of our said lord.                                                                                                                    infinitesimal, n. an...           1655
                                                                                                                                                                                                                                                             infinitesimally, adv.             1801
      1535 Bible (Coverdale) Psalms cxlvi[i]. 5 Greate is oure Lorde, and greate is his power, yee his wyszdome is infinite.                                                                                                  In other
                                                                                                                                                                                                                                                             infiniteth, adj.                  1696
      1557 Bible (Whittingham) Ep. *iij That he might shewe more manifestly his goodnes and infinit mercie among men.                                                                                                         dictionaries:
                                                                                                                                                                                                                                                             infinitinomial, adj....           1706
      1651 T. HOBBES Leviathan I. iii. 11 No man can have in his mind an Image of infinite magnitude; nor conceive infinite swiftness, infinite time, or infinite force, or                                                   infī̆nī̆t(e, adj. in Middle    infinition, n.                  ?1605
                                                                                                                                                                                                                              English Dictionary             infinitism, n.                    1897
            infinite power.
                                                                                                                                                                                                                                                             infinitival, adj.                 1870
      1754 J. EDWARDS Careful Enq. Freedom of Will I. iv. 22 That Power is not infinite; and so goes not beyond certain Limits.
      1811 R. HEBER in Christian Observer Nov. 697 Lord of mercy and of might..Maker, Teacher, Infinite! Jesus, hear and save!
      1849 J. A. FROUDE Nemesis of Faith 130 The doctrine of the infinite divisibility of matter must be called in to help you in your dividings.
      1860 J. TYNDALL Glaciers of Alps I. ii. 15 An infinite series of images of the candle will be seen.
                                                                                                                                                                                           (Hide quotations)




    b. In loose or hyperbolical sense: Indefinitely or exceedingly great; exceeding measurement or                                                                                            Thesaurus »

   calculation; immense, vast.

      c1385 G. CHAUCER Legend Good Women Hypsipyle. 1675 Why lykede me..of thyn tunge the infynyt graciousnesse.
      c1440 Gesta Romanorum (Harl.) I. xxxii. 122 He shulde wed hir with goodis infinite.
      a1527 R. THORNE in R. Hakluyt Divers Voy. (1582) sig. C3v Infinite number of Iewes that were expelled out of Spayne.
      1600 W. SHAKESPEARE Merchant of Venice I. i. 114 Gratiano speakes an infinite deale of nothing.
      1604 W. SHAKESPEARE Hamlet II. ii. 306 What peece of worke is a man, how noble in reason, how infinit [1623 infinite] in faculties.
      1748 B. ROBINS & R. WALTER Voy. round World by Anson Introd. sig. c4v Of infinite import to the commercial and seafaring part of mankind.
      1857 F. D. MAURICE Epist. St. John xvii. 281 We owe them infinite thanks for it.
      1865 R. W. DALE Jewish Temple xxi. 233 A truth this, of infinite importance.
                                                                                                                                                                                           (Hide quotations)




   †c. Occupying an indefinitely long time; immensely long, very tedious, ‘endless’. (Used predicatively, with                                                                                Thesaurus »

   infinitive or with personal subject: cf. long.) Obsolete.

      1585 ABP. E. SANDYS Serm. i. 18 It were infinite to recite what huge summes of money they haue..gathered.
      1608 E. TOPSELL Hist. Serpents 105 All which..I will (least I should seeme to be infinite), passe ouer with silence.
      1620 Horæ Subseciuæ 363 I dare walke no farther in this Labyrinth, for feare of growing too infinite.
      1638 W. CHILLINGWORTH Relig. Protestants I. ii. §116. 97 Lastly, not to be infinite, it is taught by Mr. Knot himselfe, not in one page only..but all his Book over.
                                                                                                                                                                                           (Hide quotations)




   d. infinite regress n. see quots.                                                                                                                                                          Thesaurus »


      a1856 W. HAMILTON Lect. Metaphysics (1859) II. xxxviii. 372 We cannot conceive the infinite regress of time.
      1934 A. C. EWING Idealism iv. 149 If we once view relations as terms we are involved in Bradley's infinite regress.
      1946 P. HARRISON Oxf. Marmalade I. iii. 27 George's criterion of niceness, however, might be described as an infinite regress. Every girl he met was nice, until he
           met another, and she was nicer.
      1968 E. H. GOMBRICH Art & Illusion (ed. 3) ix. 268 Are we not led into what philosophers call an infinite regress, the explanation of one thing in terms of an
           earlier which again needs the same type of explanation?
      1973 A. QUINTON Nature of Things 109 The concept of an axiom..solves the problem of the infinite regress of justification.
                                                                                                                                                                                           (Hide quotations)




   2. with n. plural. Unlimited or indefinitely great in number; innumerable, very many, ‘no end of’. Now                                                                                     Thesaurus »
                                                                                                                                                                                              Categories »
   archaic or rare.

      c1405 (▸c1385) G. CHAUCER Knight's Tale (Hengwrt) (2003) l. 1963 Infinite been the sorwes and the teerys Of olde folk. and folk of tendre yeerys.
      1483 W. CAXTON tr. Caton I ij Many and Infynyte euyles and inconuenientes.
      1555 R. EDEN tr. Peter Martyr of Angleria Decades of Newe Worlde III. i. f. 88v Not onely..infinite hundredes and legions, but also myriades of men.
      1556 tr. J. de Flores Histoire de Aurelio & Isabelle sig. L6 She and heir ladeis shedde infinite teares.
      1611 M. SMITH in Bible (King James) Transl. Pref. 5 Now the Latine Translations were too many to be all good, for they were infinite.
      1668 M. HALE Pref. Rolle's Abridgm. b ij Infinite other Instances of like nature may be given.
      1709 J. ADDISON Tatler No. 119. ⁋2 There are infinite Parts in the smallest Portion of Matter.
      1775 J. HARRIS Philos. Arrangem. iii. 57 Thus there are..infinite ways of being vicious, though but one of being virtuous.
      1858 T. CARLYLE Hist. Friedrich II of Prussia I. III. xviii. 355 The Swedes..found infinite ‘pigs, near Insterburg’.
                                                                                                                                                                                           (Hide quotations)




   †3. Indefinite in nature, meaning, etc.; indeterminate. Obsolete.                                                                                                                          Thesaurus »


      1520 R. WHITTINGTON Uulgaria sig. B.v Nownes infinyte, as quisquis, quicunque.
      1553 T. WILSON Arte of Rhetorique 1 Either it is an infinite question and without ende, or els it is definite and comprehended within some ende.
      1663 J. SPENCER Disc. Prodigies (1665) 111 It is a blind, confused, infinite, giddy thing.
                                                                                                                                                                                           (Hide quotations)



    4. Mathematics.

   †a. Having no determined limit; of indefinite length or magnitude. Obsolete.                                                                                                               Thesaurus »
                                                                                                                                                                                              Categories »

      1660 tr. I. Barrow Euclide's Elements I. 15 Vpon an infinite right line given AB.
      1660 tr. I. Barrow Euclide's Elements I. 20 From the infinite line DE.
                                                                                                                                                                                           (Hide quotations)




    b. Of a quantity or magnitude: Having no limit; greater than any assignable quantity or magnitude                                                                                         Thesaurus »
                                                                                                                                                                                              Categories »
   (opposed to finite). Of a line or surface: Extending indefinitely without limit, and not returning into itself
   at any finite distance (opposed to closed).

      1693 Philos. Trans. (Royal Soc.) 16 556 (heading) An Account of the several Species of Infinite Quantity, and of the Proportions they bear one to the other.
      1743 W. EMERSON Doctr. Fluxions 277 To find the Force wherewith an infinite Solid, plain on one Side Ll, attracts a Corpuscle placed at C.
      1836 A. DE MORGAN Differential & Integral Calculus Elem. Illustr. 61 When we say, a + 1/ x is equal to a when x is infinite, we only mean that as x is increased a
              + 1/ x becomes nearer to a and may be made as near to it as we please, if x may be as great as we please.
      1840 D. LARDNER Treat. Geom. 278 When the ellipse becomes a parabola, the further focus will be removed to an infinite distance.
      1869 I. TODHUNTER Plane Trigon. (ed. 4) iv. §58 As the angle increases from 0 to 90° the tangent increases from 0 without limit, so that by taking an angle
           sufficiently near to 90° we can make the tangent as great as we please; this is usually expressed for the sake of abbreviation thus, the tangent of 90° is
           infinite.
      1875 I. TODHUNTER Algebra for Schools (ed. 7) lii. §706 The number of prime numbers is infinite.
      1885 H. W. WATSON & S. H. BURBURY Math. Theory Electr. & Magn. I. 4 If u become infinite at any point within S, we cannot include in the integration the point
           at which the infinite value occurs.
                                                                                                                                                                                           (Hide quotations)




    c. infinite series: a series of quantities or expressions which may be indefinitely continued without ever                                                                                Thesaurus »
                                                                                                                                                                                              Categories »
   coming to an end (but may or may not have a finite value or ‘limit’ to which it approaches as more and
   more terms are taken: see CONVERGING adj. 2, DIVERGENT adj. 4). So infinite decimal.

      1706 W. JONES Synopsis Palmariorum Matheseos 44 The Operation may either be terminated..or else continued on in an Infinite Series.
      1763 W. EMERSON Method of Increments Pref. p. vi The Method of Increments will help us to this term, either expressed in finite quantities, or by an infinite
           series.
      1796 C. HUTTON Math. & Philos. Dict. Infinite Decimals, such as do not terminate, but go on without end.
      1875 I. TODHUNTER Algebra for Schools (ed. 7) xl. §557 An infinite series in which all the terms are of the same sign is divergent if each term is greater than
            some assigned finite quantity, however small.
                                                                                                                                                                                           (Hide quotations)




   5. Music. Applied to a form of musical structure which can be repeated infinitely.                                                                                                         Thesaurus »
                                                                                                                                                                                              Categories »

      1869 F. A. G. OUSELEY Treat. Counterpoint xv. 105 If [the canon] is made continually to recur to the beginning, so as never to come to a regular close, it is called
           Infinite, or Circular.
      1876 J. STAINER & W. A. BARRETT Dict. Musical Terms 69/2 The above is also an infinite canon, because, anyone having such a remarkable desire as to play it for
           ever, could do so.
      1880 G. GROVE Dict. Music Many canons lead back to the beginning and thus become ‘circular’ or ‘infinite’.
      1959 Collins Mus. Encycl. at Canon If..each part, on coming to the end of the melody, goes back to the beginning again and repeats, the result is a ‘perpetual’ or
           ‘infinite’ canon.
                                                                                                                                                                                           (Hide quotations)




   6. Law. distress infinite: see infinite distress at DISTRESS n. 3b.                                                                                                                        Categories »


      1495 Act 11 Henry VII c. 24 §1 in Statutes of Realm (1816) II. 588 In the same atteynte there shalbe awarded ageynst the petite Jurie the party and the graund
           Jury som[ons] and resom[ons] and distres infynyte.
      1531–2 Act 23 Hen. VIII c. 3 §1.
      1641 Termes de la Ley 125 Distresse..is divided first into finite and infinite, finite is that which is limited by Law, how often it shall bee made to bring the party
           to tryall of the action, as once or twice. Distresse infinite is without limitation untill the party comes, as against a Jurie that refuseth to appeare upon
           certificate of assise.
      1768 W. BLACKSTONE Comm. Laws Eng. III. 231 A distress..that has no bounds with regard to it's quantity, and may be repeated from time to time, until the
           stubbornness of the party is conquered, is called a distress infinite.
      1882 Scriven's Copyholds (ed. 6) vi. §2. 227 The proper remedy for neglect of suit of court, as well as for refusal to do fealty, was a distress infinite of the beasts
           or other personal property of the defaulter.
                                                                                                                                                                                           (Hide quotations)




   7. Grammar. Applied to those parts of the verb which are not limited by person or number; viz. those                                                                                       Thesaurus »
                                                                                                                                                                                              Categories »
   verbal nouns and adjectives which have certain verbal properties, the Infinitive ‘Mood’, Gerunds, Supines,
   and Participles. Opposed to finite.

      1871 H. J. ROBY Gram. Lat. Lang. II. xvi. 183 The forms of the verb proper are often called collectively the Finite Verb; the verbal nouns above named are
           sometimes called the Infinite Verb.
      1871 B. H. KENNEDY Public School Lat. Gram. §35 The forms of the Verb Infinite are not limited by Mood and Person. It comprises..(1) The Infinitive, a Verbal
           Substantive: as, amare, to love..(2) Participles, which are Verbal Adjectives.
                                                                                                                                                                                           (Hide quotations)




   8. Logic. A rendering of Schol. Latin infinitus, applied to a negative term, etc.; infinitated.                                                                                            Thesaurus »
                                                                                                                                                                                              Categories »

      a1856 W. HAMILTON Lect. Metaphysics (1860) III. xiv. 253 Aristotle denominated the negative terms, such as non B, non homo, non albus, etc., ὀνόµατα
           ἀόριστα, literally indefinite nouns. Boethius, however unhappily translated Aristotle's Greek term..ἀόριστος by the Latin infinitus... The Schoolmen..thus
           called the ὀνόµατα ἀόριστα..nomina infinita: and the non they styled the particula infinitans.
                                                                                                                                                                                           (Hide quotations)



   †B. adv.

    = INFINITELY adv.: usually in hyperbolical sense = very greatly. Obsolete.                                                                                                                Thesaurus »


      1526 W. BONDE Rosary sig. Aiiv Infinite riche in glory.
      1642 D. ROGERS Naaman 616 Are there not infinite many passages in thy life?
      1658 W. SANDERSON Graphice 60 Nature is so infinite various in the Colours and shadows of the face.
      1673 J. DRYDEN Marriage a-la-Mode I. i. 6 I set a good face upon the matter, and am infinite fond of her before company.
                                                                                                                                                                                           (Hide quotations)



    C. n.

    1. That which is infinite, or has no limit; an infinite being, thing, quantity, extent, etc. Now almost always                                                                            Thesaurus »

   in singular with the; esp. as a designation of the Deity or the absolute Being.

      1587 SIR P. SIDNEY & A. GOLDING tr. P. de Mornay Trewnesse Christian Relig. ii. 15 Two infinites cannot be abidden, no nor imagined together,..therefore like as
           there must needes be one Infinite, so must there be but only one.
      a1711 T. KEN Hymnarium 1 in Wks. (1721) II. No Rival Infinite could share thy Throne, There no more Infinites can be but one.
      1712 tr. H. More Scholia Antidote Atheism 151 in H. More Coll. Philos. Writings (ed. 4) Since every part of an Infinite is infinite, there may be supposed
            something more infinite than an Infinite.
      1830 J. F. W. HERSCHEL Prelim. Disc. Study Nat. Philos. §106 The telescope and the microscope laid open the infinite in both directions.
      1847 J. MARTINEAU Endeavours Christian Life II. xvii. 275 The Presence-chamber of the Infinite.
      1856 R. A. VAUGHAN Hours with Mystics (1860) I. 44 Hindoo mysticism..aims at ultimate absorption in the Infinite.
                                                                                                                                                                                           (Hide quotations)



    2. In hyperbolical use: An exceedingly large amount or number; a very great quantity or multitude; very much or many; ‘no end’.

   †a. absol. (from A. 2: always in plural sense.) Obsolete.

      a1568 R. ASCHAM Scholemaster (1570) I. f. 21v Infinite shall be made cold in Religion by your example.
      ?1577 J. NORTHBROOKE Spiritus est Vicarius Christi: Treat. Dicing 136 Infinite from thence haue returned home vnchast.
      1656 J. SMITH Compl. Pract. Physick 120 Infinite have been cured by it.
                                                                                                                                                                                           (Hide quotations)




   †b. Const. of, with no defining word prefixed.

      1613 S. PURCHAS Pilgrimage IV. xvi. 428 There are infinite of Frier-like companions passing to and fro.
      a1616 W. SHAKESPEARE Two Gentlemen of Verona (1623) II. vii. 70 A thousand oathes, an Ocean of his teares, And instances of infinite of Loue.
      1661 S. PEPYS Diary 1 June (1970) II. 112 There was infinite of new cakes placed.
      1677 A. YARRANTON England's Improvem. 115 Down the Elb to Hamborough, is sent infinite of Corn.
      1697 W. CONGREVE Mourning Bride IV. i. 41 No Term, no Bound, but Infinite of Woe.
                                                                                                                                                                                           (Hide quotations)




    c. With article or other defining word prefixed; usually const. of. Formerly also in plural (cf. modern                                                                                   Thesaurus »
                                                                                                                                                                                              Categories »
   colloquial lots, heaps, oceans).

      1563 N. WIN!      ET   Wks. (1890) II. 64 Thow may se an infinit of exemplis.
      1595 G. MARKHAM Most Honorable Trag. Sir R. Grinuile xciii Shee lesse great shot in infinets did hide.
      1611 T. HEYWOOD Golden Age III. sig. E3v We haue assembled infinites of men.
      1615 Life, Death & Actions Lady Iane Gray sig. A2v She brought forth her increase in such aboundance of infinits, that the least of her excellencies were
              impossible to bee circumscribed.
      1647 R. STAPLETON tr. Juvenal Sixteen Satyrs 279 The ibes, that kill infinites of serpents.
      1662 J. GLANVILL Lux Orientalis Pref. 13 What an infinite of books are written upon almost all subjects.
      1748 Acct. Voy. for Discov. North-west Passage I. 188 You have an Infinite to lose, should you be defeated.
      1856 J. RUSKIN Mod. Painters IV. 3 That Calais tower has an infinite of symbolism in it.
                                                                                                                                                                                           (Hide quotations)




   †3. in infinite, to infinite, = Latin in or ad infinitum (see INFINITUM n.); endlessly. Obsolete.                                                                                          Thesaurus »


      a1631 J. DONNE Elegy to Lady Bedford in Poems (1633) 299 Diffus'd, and spread in infinite.
      1651 J. SAINT-AMARD tr. F. Micanzio Life Father Paul sig. Lv Mischiefes have their terminations, but feares go in infinite.
      1651 BP. J. TAYLOR XXVIII Serm. vii. 87 And so on to infinite.
                                                                                                                                                                                           (Hide quotations)




   4. Mathematics. An infinite quantity: see A. 4b.                                                                                                                                           Thesaurus »
                                                                                                                                                                                              Categories »
        Different orders of infinites are distinguished, each infinitely greater than the preceding: cf. INFINITESIMAL adj. 1.


      1671 T. HOBBES Consid. Wallis his Answer 2 in 3 Papers This arguing of Infinites is but the ambition of School-boyes.
      1677 R. PLOT Nat. Hist. Oxford-shire 288 Dr. John Wallis..first demonstrated the impossibility of squaring the Circle, Arithmetically,..having apply'd his
           method of Infinites in order thereunto.
      1693 E. HALLEY in Philos. Trans. (Royal Soc.) 16 556 That among themselves each of those Species of Infinites are in given Proportions, is what I now intend to
           make plain.
      1706 W. JONES Synopsis Palmariorum Matheseos 205 Of Infinites 'tis hence plain, that some are equal, others unequal.
      1710 G. BERKELEY Treat. Princ. Human Knowl. §130 Of late the speculations about Infinites have..grown to such strange notions, as have occasioned no small
           scruples and disputes among the geometers.
      1831 D. BREWSTER Life I. Newton xvi. 288 He then proceeds to correct an error of Dr Bentley's in supposing that all infinites are equal.
      1858 H. T. BUCKLE Hist. Civilisation Eng. (1869) II. iv. 190 The geometry of infinites applied to the ordinates and tangents of curves.
      1864 PLÜCKER New Geom. of Space in Philos. Trans. (Royal Soc.) (1865) 727 The number of rays constituting a configuration, a congruency, a complex and
           space, are infinites of first, second, third, and fourth order.
      1864 Reader 21 May 657 The symbol 1/ 0, the infinite of common algebra, represents an extreme of infinite.
                                                                                                                                                                                           (Hide quotations)




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APPENDIX C
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                                          Concordance the web in real-time.
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3) https://www.classaction.org/news/infinity-energy-hit-with-class-action-over-alleged-robocalls
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   3: Learn About Us Search Search in Newswire November 13, 2020 Infinity Energy Hit with Class Action Over Alleged Robocalls by Erin Shaak



4) https://www.bbb.org/us/ca/rocklin/profile/solar-energy-product-services/infinity-energy-1156-90020874
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   4: a countryUS Search Home California Rocklin Solar Energy Product Services Infinity Energy SharePrint Business Profile Business Profile for Infinity Energy Solar Energy



5) https://www.yelp.com/biz/infinity-energy-rocklin
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12) https://www.thisoldhouse.com/solar-alternative-energy/21349289/infinity-energy
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  12: How To & DIY Video More Overview How To & DIY Video Infinity Energy Review: Services and Purchasing Plans Infinity Energy offers residential solar



13) https://bestcompany.com/solar/company/infinity-energy
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  13: Legal Services See More Write a Review For Businesses Login Infinity Energy -- Insufficient Reviews star star star star_border star_border We



14) https://play.google.com/store/apps/details?id=com.getthereferral.infinityenergy&hl=en_US&gl=US
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17) https://apps.apple.com/us/app/infinity-energy/id1459072703
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  17: on Apple Accessories Support Shopping Bag + Cancel App Store Preview Infinity Energy 4+ Infinity Energy INC Designed for iPhone 4.4 • 7 Ratings



18) https://www.mapquest.com/us/california/infinity-energy-443834661
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  18: Infinity Energy 5096 N Blythe Ave Ste 100 Fresno CA 93722 (888



19) https://www.glassdoor.co.uk/Reviews/Infinity-Energy-Reviews-E1266112.htm?countryRedirect=true
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20) https://www.homeadvisor.com/sp/infinity-energy
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  20: App Home > Pro Ratings & Reviews > California > Rocklin > Solar Energy Companies > Infinity Energy, Inc. Infinity Energy, Inc. P.O. Box 1420 East, Roseville, CA



21) https://bulbapedia.bulbagarden.net/wiki/Infinity_Energy
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  21: it on the forums or in the Bulbagarden Discord server. Infinity Energy From Bulbapedia, the community-driven Pokémon encyclopedia. Jump to navigationJump to



22) https://www.dnb.com/business-directory/company-profiles.infinity_energy_inc.7eb1a11112aca5105178b856fd65e663.html
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  22: ECIALTY TRADE CONTRACTORS / BUILDING EQUIPMENT CONTRACTORS / UNITED STATES / CALIFORNIA / ROCKLIN / Infinity Energy Inc. Infinity Energy Inc. Website Corporation Get a D&B



23) https://www.infinityenergy.ca/
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  23: Energy of the Future - Today A Renewable Resource Who is Infinity Energy? Infinity Petroleum Energy Resources Inc.(Infinity Energy) is a privately



24) https://www.glassdoor.co.uk/Overview/Working-at-Infinity-Energy-EI_IE1266112.11,26.htm?countryRedirect=true
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25) https://www.buildzoom.com/contractor/infinity-energy-inc
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27) https://www.marketbeat.com/stocks/OTCMKTS/IFNY/
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  27: is the American crisis almost nobody sees coming. OTCMKTS:IFNY Infinity Energy Resources Stock Forecast, Price & News Adding Choose a watchlist: Watchlist



28) https://www.solarpowerworldonline.com/suppliers/infinity-energy/
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  28: 2022 Leaders! 2021 Winners 2020 Winners 2019 Winners 2018 Winners Infinity Energy Infinity EnergyRocklin, CA Year Founded: 2014 goinfinityenergy.com Infinity Energy




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APPENDIX D
                                                                                                                                                                                                 Appendix D
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Dec 22, 2021 — To children and adults alike, Pi is perplexing… a constant with an infinity
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Significant figures
The number 10 will have an infinity number of significant figures. Example 14: radius =
diameter/2. The 2 will have an infinity number of significant figures.
3 pages


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The sum of an infinite number of terms of a G.P is ... - Study.com
1 answer
Consider that: The sum of an infinity number of terms of G.P, S∞=15 S ∞ = 15 .Where
S∞=a1−r S ∞ = a 1 − r. Hence,...


https://c6xty.com › synthetic-lattice-shape-smart-cities

How C6XTY Synthetic Lattice Can Shape Our Smart Cities
Aug 13, 2019 — It utilizes the form of the Carbon 60 (Fullerene) to create a new type of
structural compound that has an infinity number of possibilities.


https://www.toppr.com › ask › en-us › question

Show that the systems of equations 2x - 3y = 5, 6x - Toppr
a2a1=62=31,b2b1=−9−3=31 and a2a1=b2b1=c2c1 This system has an infinity number of
solution. Was this answer helpful? upvote 0. downvote ...
1 answer · Top answer: 2x - 3y = 5, 6x - 9y = 15 Here, a1 = 2, b1 = - 3, c1 = 5 a2 = 6, b2 = - 9, …


https://www.justfreetools.com › infinity-symbol-mac

How to type infinity symbol on mac? | Justfreetools
For example, there is an infinity number of integers, going from negative infinity to 0 to positive
infinity. Infinity is not an actual specific number – it ...


https://m.facebook.com › ...

sophianassif - I have an infinity number of reasons to be happy
I have an infinity number of reasons to be happy :) ... I have an infinity number of reasons to
be happy :) Instagram Photos · Dec 13, 2020 ·.


https://www.chegg.com › questions-and-answers › syste...

Solved A system of equations may have a unique solution, an
Question: A system of equations may have a unique solution, an infinity number of solutions or
no solution. Use matrices to find the general solution of the ...

   https://www.chegg.com › questions-and-answers › prob...

   Solved Problem 3. We are given a simple undirected graph of
   Question: Problem 3. We are given a simple undirected graph of maximum degree d and d+1
   different tokens (assume an infinity number of each token, so you don't ...


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for γ = 0.675 and = 0.005 and the three strategies discussed ...


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THERE ARE INFINITELY MANY SMARANDACHE ...
Obviously, the previous theorem is an example of a lucky differential equation, as well. 3 There
Are an Infinity Number of ... Lucky Numbers. To avoid ...
5 pages


https://twitter.com › Gnomael › status

Gnomael on Twitter: "If there's an infinity number of dimensional ...
If there's an infinity number of dimensional branches I call dibs on being the #conqueror
emperor of this one. #loki #Sylvie #Mobius #Marvel #mcu #kang # ...

   https://twitter.com › maxevry › status

   Max Evry on Twitter: "An infinity number of Avengers: Infinity War ...
   An infinity number of Avengers: Infinity War toys, courtesy of. @HasbroNews !
   #UniverseUnites #HasbroToyPic #Marvel #April27.


https://www.biophysics.org › Publications › BPS Blog

Pi Is Encoded in the Patterns of Life - Biophysical Society
To children and adults alike, Pi is perplexing… a constant with an infinity number of digits and
no pattern. We all learn about Pi in geometry class at high ...


https://marvel.fandom.com › wiki › Talk:Peter_Parker_(E...

Talk:Peter Parker (Earth-31198) | Marvel Database
Even an infinity number of Morluns killing an infinte number of spider-men wouldn't solve that
problem because infinity - infinity = infinity.


https://www.tumgir.com › tag

#an infinity number of seasons | Explore Tumblr Posts and Blogs ...
Explore Tumblr Posts and Blogs tagged as #an infinity number of seasons with no restrictions,
modern design and the best experience | Tumgir.


https://www.linguee.com.br › ingles-portugues › traducao

an infinity number of - Tradução em português – Linguee
Muitos exemplos de traduções com "an infinity number of" – Dicionário português-inglês e
busca em milhões de traduções.


https://math.stackexchange.com › questions › a-probabi...

A probability question on infinite sets - Math Stack Exchange
Oct 2, 2020 — For example, if any person i selects number i, no number will be selected an
infinity number of times. (not an answer, to sure 100% of the ...
2 answers · Top answer: If the probabilities are finitely additive then the uniform distribution on …


https://jackie-fran.weebly.com › math

Math - Tok Journals
If so, can it be used in a question such as; if there are an infinity number of numbers in
between 0 and 1, how many are there between 0 and 10?


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UNIVERSIDADE DE SÃO PAULO - USP
by RDS OLIVEIRA · 2016 · Cited by 11 — on an infinity number of hyperbolas. Suppose we
have a finite number of real invariant hyperbolas and real invariant straight lines of.


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Solve using the elimination method. Show your work. If the ...
system%289x-2y=88%2C9x-2y=88%29 . This system consisted from one linear equation, thus, it
has an infinity number of solutions.


https://arxiv.org › math

Moderate deviations for Ewens-Pitman exchangeable random ...
by S Favaro · 2016 — Abstract: Consider a population of individuals belonging to an infinity
number of types, and assume that type proportions follow the ...


https://www.academia.edu › The_Geometry_of_God_a...

an little essay inspired on Massimo Melli´s insights
1) THE CREATION OF THE UNIVERSE: FROM LOGONS TO RIEMMAN SPACE. Before
spacetime has come, God created an infinity number of monads, an denumerable number…


https://percentages.io › Home › Symbols

Infinity Symbol ∞ - Percentages.io Articles
Feb 22, 2021 — For example, there is an infinity number of integers, going from negative
infinity to 0 to positive infinity. Infinity is not an actual ...


https://www.matigalerie.ch › product › la-vague

CHF 190 - Mati Galerie
The comb is an object that has been around in our civilizations for millennia, under an infinity
number of forms and materials.


https://www.shmoop.com › finance-glossary › sampling...

Sampling Distribution Definition - Shmoop
always shaking in between) and plot it. Then we do it again and again and again like an infinity
number of times. The resulting distribution is a sampling ...


https://www.pinterest.com › pin

FLAX Light Gray Open Linen Cardigan Jacket - Pinterest
Dec 5, 2019 - Shop Women's Flax Gray Size M Jackets & Coats at a discounted price at
Poshmark. Description: "I have an infinity number of reasons to be ...


http://anythingblogbawb.blogspot.com › 2009/01 › infinit...

Infinities, part one - The Anything Blog
Jan 21, 2009 — Therefore, you can't have an infinity number of points on a line. You have to
multiply the spacing between points by zero for it to be true, ...


https://www.jstor.org › stable

About the Infinite Repetition of Histories in Space - jstor
by FJS Gil · 2014 — clude that the universe must contain an infinity number of planets
identical to. Earth, including all the living beings on it. Ergo we live in a universe ...


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linear equation in three variables is an equation ...


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The actual infinity of universe the Aristotle way - Happy HO
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an infinity number of human souls in existence now.


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system of equations that has an infinity number of solutions.
1 answer · Top answer: change the 2nd equation to 3x-18y = 12, then the solutions are infinite…


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Neogaf calls pedophiles and bans people that show interest in ...
Neogaf should be like Gamefaqs, with an infinity number of trolls making an infinity number
of troll topics every minute.


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Latex numerator denominator. the smallest positiv - RP777News
There is an infinity number of equivalent fractions to 4 9. If 6 is added to the numerator and 2 is
subtracted feom the denominator, the resulting - 7849648 ...


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The universe is teaming with an infinity number of monkeys and ...
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are being made all the time. They are just in different time ...


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by M Alfonseca · 2014 — clude that the universe must contain an infinity number of planets
identical to. Earth, including all the living beings on it.


https://faq-all.com › ...

What number has infinite sig figs? - faq-all.com
Aug 13, 2021 — ... the number of significant figures in the result of an operation. ... The number
10 will have an infinity number of significant figures.


http://ieeexplore.ieee.org › document

A closed-form expression for the received power through the ...
by H Nieto-Chaupis · 2015 · Cited by 4 — ... function which was generalized to the case where
the argument might depend on a polynomial function containing an infinity number of free…
parameters.
INSPEC Accession Number: 15402285                            DOI: 10.1109/IWT.2015.7224558
Date of Conference: 14-17 June 2015                          Date Added to IEEE Xplore: 27 August 2015


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Collinearity
Once we have values for those two quantities, there are an infinity number of triplets that can
be used. Collinearity and least squares. Consider a design ...


http://www.scielo.org.ar › scielo

An extended MPC convergence condition - SciELO (Argentina)
by AH González · 2006 — V. DEALING WITH AN INFINITY NUMBER OF CONSTRAINTS. In
the formulation presented above, the number of constraints is infinite, but considering that the ...


https://coolconversion.com › math › What-is-an-equiva...

What is an equivalent fraction for 18/19 - CoolConversion
There is an infinity number of equivalent fractions to 1819. To find an equivalent fraction to
1819, or to any other fraction, you just need to multiply (or ...


https://bookdown.org › AndrewA › test_2 › appendixA

A Mathematical conversions of quantities and units, scientific ...
Exact/constant numbers (e.g. conversion values) are considered to have an infinity number of
significant figures–meaning that constants do not factor into ...


https://plainmath.net › what-is-4-8-equivalent-to

What is 4/8 equivalent to? - PlainMath
There is an infinity number of equivalent fractions to 48. To find an equivalent fraction to 48, or
to any other fraction, you just need to multiply (or ...
3 answers · Top answer: Notice that you can split 8 into 2 lots of 4→4+4=8. This means that th…


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random (Jason API)
+ quantity of random values (number, optional): default value is 1, value = 0 means that an
infinity number of random values will be produced (this is ...


http://users.telenet.be › jci › math › imag

Imaginary points and lines - Telenet
A real point is on an infinity number of imaginary lines. If a real line contains an imaginary
point, that line contains the conjugate imaginary point. If an ...


https://romanelectrichome.com › Blog

5 Surprising Reasons Why A Drain Cleaning Should Be On ...
There's nothing like bad odors to completely gross you straight out of your kitchen! Have you
ever cleaned your sink an infinity number of times it seems, and ...
             Rating: 4.8 · 17,980 reviews


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Would you like to live forever debate. I thing it - Student ...
... Because there is an infinity number of things that people want to accomplish in life, And
having an infinite life will give people the chance to ...


https://saverahotel.com › rdwp › fractions-smallest-to-la...

Fractions smallest to largest chart. single line code to sort a ...
There is an infinity number of equivalent fractions to 25. The decimal 0. 2020-4-9 · We all have
a mix of wrenches in our tool boxes.


https://www.sololearn.com › Discuss › 0-1-can-you-spo...

0 = 1? Can you spot the mistake? | Sololearn
Nov 5, 2017 — ... guest to move one number and the new guest gets number one. one hour
later an infinity number of guests arrive. can hilbert help again?


https://tutorial.math.lamar.edu › classes › alg › Augmen...

Algebra - More on the Augmented Matrix - Pauls Online Math ...
Jun 2, 2018 — Okay, let's see how we solve a system of three equations with an infinity
number of solutions with the augmented matrix method.


https://s3.cern.ch › inspire-prod-files-8

Exact Solutions in Nonlocal Linear Models - CERN
by SY Vernov · Cited by 3 — Note that in such a way we obtain an infinity number of local
systems, because equation (9) has an infinity number of roots. 4 Exact Solutions.


https://feetuphostels.blog › tag › summer

Summer - Feetup Hostels Spain
There are organized an infinity number of activities like concerts at different points of the city,
exhibitions, circus, street theatre, audiovisual shows, ...


http://ioangamboa.com › store

Store - Ioan Gamboa
Multiverse inspired by the Quantum Multiverse theory that tells that there's an infinity number
of universes, so virtually everything is possible and has ...


http://sandra-gesing.com › uploads › diplomabstract             PDF


Approximating a set of points by circles - Sandra Gesing
set of points, there are an infinity number of circles which solve this problem and their radius is
∞. We define the largest empty circle based on two ...


https://github.com › mavlink › qgroundcontrol › issues

MAVCMD retransmit an infinite number of time #8334 - GitHub
Feb 14, 2020 — GCS start retransmit the current CMD an infinity number of time, blocking all
the other MAVCMD in queue. The text was updated successfully, ...


http://citeseerx.ist.psu.edu › viewdoc › download          PDF


The Riemann Zeta Function Applied on Glassy Systems and ...
by VL CARTAS · 2004 · Cited by 1 — In the interior of the γ contour, supposing that R→ ∞, there
are an infinity number of purely imaginary simple poles z−k of the function that appears in ...


https://stackoverflow.com › questions › substituting-val...

Substituting values in an array for one cell - Stack Overflow
Jul 5, 2016 — ... far too long and cumbersome to adapt, e.g. wanting to make an "infinity"
number of symbols (Column A) and corresponding Column B symbol.
1 answer · Top answer: REGEXREPLACE to the rescue: This will create a regex of the charac…


https://www.cram.com › essay › Meaning-Of-A-Pencil

Definition Of Metaphysics - 1949 Words | Cram
If there is an infinity number of causes, then the first thing would never come to be caused, and
therefore this argument is ...


https://forum.unity.com › ... › Scripting

Generic Event/Observer Model? - Unity Forum
Jan 11, 2018 — Basically there are an infinity number of events that someone might want to
subscribe to for whatever reason, but I don't want to write ...


https://ui.adsabs.harvard.edu › abs › abstract

Chaos control applied to piezoelectric vibration-based energy ...
by WOV Barbosa · 2015 · Cited by 14 — Chaotic behavior presents intrinsic richness due to the
existence of an infinity number of unstable periodic orbits (UPOs). The possibility of…


https://architoys.pt › Shop

Nexus - Architoys - Architectural Toys
Join the pieces in an infinity number of shapes and geometries and play with composition and
balance! Box dimensions: 5 x 14 x 13 cm.


https://studylib.net › doc › significant-figures-review

Significant Figures Review - StudyLib
The number 10 will have an infinity number of significant figures. Example 14: radius =
diameter/2. The 2 will have an infinity number of significant ...


https://fqxi.org › community › forum › topic

Deconstructing Everett's Crazy Idea - FQXi Community
... short period should remove a large number of particles near it's vicinity, thus, there must be
an infinity number of moons copied to "other" locations?


https://scholarworks.utep.edu › cgi › viewcontent          PDF


Challenges in Assessing College Students' Conception of ...
by GO Babarinsa-Ochiedike · 2015 — an infinity number of sources that we can use. Track B
another infinity number of resources we can use. And that's how we get to where we ...


https://www.physicsforums.com › threads › m-theory-and...

M-Theory and the Multiverse | Physics Forums
Jun 7, 2004 · 8 posts
... there are an Infinity number of worldlines branching off to a subsequence number of other
Universe's, each with a slight variation of ...


https://link.springer.com › article

Masanes and Oppenheim on the Third Law of Thermodynamics
by J Uffink · 2017 — ... one needs an infinity number of steps to cool it) as their preferred
expression of the third law, and aims to provide a derivation of ...


https://saasoptics.com › saaspedia › what-is-mrr

The Ultimate Guide To Monthly Recurring Revenue (MRR)
... and the percentage difference drops with each subsequent term and at an infinity number of
renewals the numbers are mathematically the same.


https://www.siliconvalleywatcher.com › we-live-in-an-a...

We Live In An "And" World... It's Quantum Not Binary - Silicon ...
Jul 30, 2011 — But the reality is that many things can exist at the same time: we live in an
analog world where there is an infinity number of states for ...


https://gourmetrecipesforone.com › math › 2-4-equival...

2 4 equivalent fractions - Conversion Chart
Feb 25, 2022 — There is an infinity number of equivalent fractions to 2/4. To find an equivalent
fraction to 2/4, or to any other fraction, you just need ...


https://www.tic.itefi.csic.es › publica › Pastor97       PDF


A Revision of the Lyapunov Exponent in 1D Quadratic Maps
by G Pastor · Cited by 16 — clearly separated from the others (an infinity number of non-
coincidental ones). If an alignment disappears, it has little influence in the value of λ.


https://codeforces.com › blog › entry

School Team Contest #1 (Winter Computer School 2010/11)
... by it (if there is a rectangle in it not lying in the band completely, we threat this segment as if it
contains an infinity number of rectangles).


https://search.proquest.com › openview

Probing quantum general relativity through exactly soluble ...
by M Pierri-Galvao · 1996 — Quantization of general relativity faces certain problems because
the theory is diffeomorphism invariant and, at the same time, has an infinity number of ...


https://www.12000.org › KERNEL › KEse115

Determine if a set of linear equations Ax = b has a solution ...
... set of linear equations A x = b how to test if it has no solution (inconsistent), or one unique
solution, or an infinity number of solutions?


https://link.aps.org › doi › PhysRevD.104.044023

Overspinning naked singularities in ${\mathrm{AdS}}
by M Briceño · 2021 · Cited by 1 — Figure 6. Timelike geodesic of type T1. The orbits of these
geodesics in the plane r−θ contain an infinity number of self-intersections.


https://www.amazon.com › Callus-Induction-Evaluation...

Callus Induction and Evaluation of Somaclones in Potato ...
can produce an infinity number of plants using tissue culture system within a relatively short
period. Somaclonal variation can occur when plant ...


https://byjus.com › question-answer › i-the-sum-of-the-...

i The sum of the two digit number is 9 . Also, 9 times ... - Byjus
Find the number.ii for which values of 'a' and 'b' does the following pair of linear equations have
an infinity number of solutions?


https://www.crunchyroll.com › forumtopic-1063628

Can't update credit card method and you have NO way of ...
Dec 7, 2020 — I can add an infinity number of new cards but there is NO way to make any of
them the default payment method. What do I have to do to change ...


http://homepages.math.uic.edu › ~jan › Proj2 › armsrace

armsrace.html
In the case of an infinity number of equilibria, the solutions jump around without convergence
to a stable fixed point. This situation occurs for high ...


https://paperswithcode.com › paper › distributed-optimi...

Distributed Optimization for Over-Parameterized Learning
Jun 14, 2019 — ... even for an infinity number of steps where each node is free to update its
local model to near-optimality before exchanging information.


https://quizlet.com › materials-final-concept-check-ques...

Materials Final Concept Check Questions Flashcards | Quizlet
True or false: Fatigue limit represents the largest value of fluctuating stress that will not cause
failure for essentially an infinity number of cycles.


https://www.lentmadness.org › 2014/03 › as-seen-on-tv

As Seen on TV. Again! | Lent Madness - You decide who wins ...
Mar 19, 2014 — Thus it means that each Saint will win the Golden Halo an infinity number of
times over eternity. Thus they will all win the same number of ...


https://community.ptc.com › PTC-Mathcad › Solve › td-p

Solve - PTC Community
Jul 3, 2018 — The pure mathematical problem you posed first (the equation with trig functions)
has an infinity number of solutions.


https://blendermarket.com › colorbox › ratings

Color box - Feed from the tree of color - Blender Market
You have an infinity number of pallettes that simply work in combination with your renders, and
you can swap them fast, you can make your own, ...
             Rating: 5 · 9 reviews


https://www.npr.org › transcripts

Indicator Favs: Let's Get Ready To Retail : Planet Money - NPR
Apr 5, 2021 — There were just three of us and, like, an infinity number of calendar days to fill.
GARCIA: Day after day after day.


https://me.ucsb.edu › events › me-seminar-dynamical-s...

ME Seminar on "Dynamical systems approach to bone ...
Mar 2, 2015 — ... the basics of a 'bifurcation theory for an infinity number of ordinary
differential equations with the same coupling structure'.


https://rule11.tech › lessons-learned-from-the-robustnes...

Lessons Learned from the Robustness Principle - Rule 11 Tech
Given an infinite amount of time, an infinity number of versions of any given protocol will be
deployed. As a result, the protocol can and will break in an ...


https://epicstream.com › Fandoms

Marvel Fan Has Been Watching Avengers: Infinity War More ...
Jun 7, 2018 — Could Nem be trying to play on the title Infinity War by watching the film an
Infinity number of times? Or maybe at least till the film's ...


https://www.projectrhea.org › rhea › index.php › Lecture...

Lecture 15 - Parzen Window Method Old Kiwi - Project Rhea
We don't need an infinity number of samples to make $ E(p_i(\vec{x_o})) $ converge to $
p(\vec{x_o}) $ as $ i\to\infty $.


https://askinglot.com › what-is-the-most-digits-of-pi-ev...

What is the most digits of pi ever memorized? - AskingLot.com
Apr 11, 2020 — To children and adults alike, Pi is perplexing… a constant with an infinity
number of digits and no pattern.


https://prezi.com › 114-infinity-geometric-series

11.4 Infinity Geometric Series by - Prezi
Infinity Geometric Series -- a geometric series with an infinity number of terms. Divergent
Series -- an infinite geometric series that does not have a sum ...


https://gitfreak.com › Cartucho › mAP › issues

Draw true negative - GitFreak
May 6, 2020 — So if you think about there is an infinity number of objects that are not in a
picture and that also were not detected. Does it make sense?


https://hal.archives-ouvertes.fr › document        PDF


Linear Space Boostrap Communication Scheme - Archive ...
by C Delporte-Gallet · 2012 · Cited by 18 — If a process takes an infinity number of steps then
its Delivers terminate, and the Integrity prop- erty is trivial.


https://books.google.com › books

Data Mining: A Knowledge Discovery Approach
Krzysztof J. Cios, Witold Pedrycz, Roman W. Swiniarski · 2007 · Computers
From Equation (B.2) we get: PA = lim noccurrence = 05 nrepetition → nrepetition Since it is
impossible to perform an infinity number of experiments, ...


https://www.anfatec.de › usb_lock-in_amplifier_250

USB LockIn 250 - Anfatec
A compact Lock-in Amplifier based on highest quality with an USB- Interface that allows to
virtually connect an infinity number of USBLockIn250 to one PC.


https://books.google.com › books

Beyond Infinity: An expedition to the outer limits of the ...
Eugenia Cheng · 2017 · Mathematics
So, perhaps, you have an infinity number of tandem bicycles arriving, each with two people on.
A very realistic possibility, I'm sure you'll agree.


https://books.google.com › books

Complex Analysis with Applications to Flows and Fields
Luis Manuel Braga da Costa Campos · 2010 · Mathematics
(i) over a dense ray, that is, an infinitesimal angular sector where, by the Julia theorem (Section
39.5), lie an infinity number of roots of a ...




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       EXHIBIT M
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Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 105 of 161




                 EXHIBIT 1
     Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 106 of 161




                                 Expert Rebuttal Report of Rhonda Harper, MBA
                                In Response to the Expert Report of Patrick Farrell

                                           Harper Litigation Consulting and Research, LLC
                                                              Dallas, TX

                                                                April 27, 2022




                                                                                            1
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                                                                Introduction
1)          My name is Rhonda J. Harper. I am a marketing, advertising, sponsorship, public relations,

            branding, research, and consumer expert retained by the Plaintiff in connection with the action

            styled Infinity Energy, Inc., vs. Infinite Energy Homes Services, Inc., (case number 2:21-cv-

            00438) in the Eastern District of California.

2)          I have been engaged by the Defendant, Infinite Energy Homes Services, Inc., to review and opine

            on an expert report authored by Patrick Farrell1 (the “Farrell Report”) and submitted on behalf of

            the Plaintiff, Infinity Energy, Inc.

3)          My compensation for expert witness services is $650 per hour. Additionally, I will be compensated

            for the travel and preparation expenses associated with my work on this case. My compensation is

            in no way contingent on the particular opinions I reach or the outcome of the case.


                                                      Expert Qualifications
4)          I am the owner and manager of Harper Litigation Consulting and Research, LLC, a consulting

            firm I founded in 2011 to provide litigation support to counsel and offer research to companies. I

            began this type of work in 2005 under another company that I owned and managed: RTM&J, a

            marketing consultancy that closed in 2010.

5)          I have worked with more than 150 law firms as both a consultant and an expert witness for more

            than 250 cases and proceedings involving false and deceptive advertising, trademark and trade

            dress infringement, marketing, branding, public relations and promotion, portfolio marketing,

            licensing and sponsorship, and advertising. I have testified more than 70 times in state and federal




1
    Declaration and Expert Report of Dr. Patrick Farrell.
                                                                                                                 3
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           courts, administrative proceedings, and arbitrations.

6)         My opinions reflect the knowledge and insights I have gained over the course of a 35-year career

           working at the highest levels in the world of marketing, sponsorship marketing, branding, research,

           strategy, advertising, and public relations.

7)         After graduating from Illinois State University in 1984 with a Bachelor of Science degree, I

           taught high school mathematics for two years before attending Emory University Goizueta

           Business School and earning a Master of Business Administration degree in 1988.

8)         I began my marketing career at the American Red Cross. I was first responsible for nationwide

           blood donations, and then corporate development and strategy involving cause-related marketing

           that partnered the company with product and brand marketers to generate revenue from

           collaborative consumer advertising and promotion programs.

9)         I then moved to the private sector, where I worked for Warner-Lambert and Nabisco. As Warner-

           Lambert’s divisional promotion manager for consumer healthcare, I led my team and the $100

           million promotion budget for the company’s brands, including Listerine, Efferdent, Benadryl,

           Sudafed, Actifed, Zantac, and Lubriderm. As Nabisco’s acting director for promotional

           marketing, I oversaw a $200 million budget and led promotional marketing for brands such as

           Oreo, Chips Ahoy!, Ritz, Triscuit, Wheat Thins, and Snackwell’s.

10)        I later worked at two Fortune 500 corporations, serving as the chief marketing officer of Vanity

           Fair Intimates (VFI), a division of VF corporation, and the vice president of marketing for

           Walmart’s Sam’s Club. With budgets exceeding $30 million at VFI and $200 million at Sam’s

           Club, my responsibilities included oversight of all global consumer marketing functions

           (including branding, strategy, consumer insights, and market research), database management,

           promotions, in-store merchandising, sponsorships, creative services, communications, public

           relations, licensing and sponsorships, and advertising. I also managed the firms’ advertising,

                                                                                                              4
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           promotion, research, public relations agencies, and consulting companies.

11)        In 2002, I launched and managed RTM&J, an organic growth strategic marketing consultancy.

           The following list is a sample of RTM&J’s projects: global web strategy for IBM; private brand

           strategy for The Home Depot; brand repositioning for HSN; retail strategy for The Coca-Cola

           Company; innovation (new product development) pipeline for Tyson Foods; cereal platform

           creation for Kellogg’s; multicultural roadmaps for merchandising, marketing, operations, and

           human resources for Target; brand positioning for Russell Athletic Company; new product

           commercialization for SC Johnson; segmentation and communication strategies for Arby’s;

           Hispanic marketing for Papa John’s; and user experience for Washington Mutual/Chase.

12)        I was also a general manager, senior vice president, and office manager for Ketchum, which was

           the third-largest global public relations and communications firm at the time. I led Ketchum’s

           offices in the southern half of the United States, which comprised more than 120 professionals

           and were the firm’s second-largest income generator worldwide. My office’s clients included The

           Home Depot, FedEx, Nokia, Cingular/AT&T, and IBM.

13)        I was the global marketing communications director for United Parcel Service (UPS), where I

           managed advertising and digital agencies and launched the groundbreaking consumer program

           UPS My Choice, which was the first program to provide the ability to change package deliveries

           in real time and eliminate the need for paper information notices.

14)        I founded Penrose Check-In Services, a subscription-based service that used its proprietary app to

           check in on seniors on behalf of family members. Check-In Services users checked 150 items

           across the seven following quality-of-life factors: well-being, safety, comfort, cleanliness,

           maintenance, supplies, and caregiver observations. I received many industry accolades,

           including the following: 2017 North American Finalist, Cartier Women’s Initiative (a global

           business case competition co-sponsored by McKinsey & Co.); 2016 Winner, AARP

                                                                                                            5
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           Innovation@50+ Best Start-up for Seniors (national award); 2016 Winner, Dallas

           100 Entrepreneur Award; and 2016 Winner, American Geriatrics Society Top 15 Start-Up Firms

           (national award).

15)        I co-founded Leadership Worth Following, a premier leadership identification and coaching firm

           in Dallas, Texas, and served on its board of directors for eight years.

16)        I served on the board of directors of the Brand Activation Association (also known as the

           Promotion Marketing Association) and the Insights Association (also known as the Market

           Research Association). I also taught undergraduate- and graduate-level marketing, research, and

           strategy courses at American University (Washington, DC) and Fairleigh Dickinson University

           (Madison, NJ). I have been a guest lecturer in marketing, promotion, public relations,

           communications, research, and strategy at Harvard University (Boston, MA), Emory University

           (Atlanta, GA), and the College of William and Mary (Richmond, VA). At Emory University

           Goizueta Business School, I served as a case competition judge for 10 years and as a member of

           the board of directors for the Alumni Association for three years.

17)        I have studied consumer and business-to-business markets for more than three decades, and I am

           considered an expert in various marketing fields. While I have found academic studies of

           consumer behavior to be applicable in practice, my real-world experience and a significant

           number of corporate research studies conducted as a marketing professional have proven to be far

           more useful.

18)        One of the keys to creating successful marketing tactics is to “walk in the consumer’s shoes”—to

           do everything possible to understand how they learn, think, and feel about the products and

           services they are considering purchasing. For this reason, on behalf of my corporate employers

           and clients, I have conducted studies involving hundreds of thousands of individuals that provide

           insights into what consumers and stakeholders understand and believe (or disbelieve) about

                                                                                                             6
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           brands, corporations, and products. In addition to deriving useful information from the thousands

           of proprietary quantitative studies I have led and reviewed., I estimate that I have observed more

           than 2,500 focus groups. The numerous studies I have designed and/or reviewed, the focus groups

           I have attended, and the one-on-one interviews I have conducted as a marketing professional have

           informed my knowledge of consumer attitudes and behavior, especially those related to brand and

           corporate promises and claims.

19)        Over the past 17 years, I have conducted over 100 trademark and trade dress infringement

           consumer surveys and have rebutted more than 50 studies and reports by other experts.

20)        For further details about my professional experience, please see Exhibits 1–3.


                                                                Background2
21)        This section outlines my understanding of the case as it is described in the case pleadings.

22)        The Plaintiff is a California corporation organized and existing under the laws of the State of

           California, having its principal place of business in Rocklin, Placer County, California.

23)        The Defendant is a California corporation duly organized under the laws of the State of

           California, having its principal place in Cameron Park, El Dorado County, California.

24)        Both companies operate in the energy sector.

25)        In part, the Plaintiff alleges Federal Trademark Infringement for its use of the INFINITE mark

           and its likelihood of causing consumer confusion as being either affiliated with, endorsed or

           authorized by, or somehow connected to INFINITY Energy.


                                                       Materials Reviewed
26)        In addition to the footnotes contained herein, the following materials were provided by counsel


2
 Plaintiff Infinity Energy, Inc.’s Complaint for Federal Trademark Infringement, Federal Unfair Competition, False Designations
of Origin, Unlawful, Unfair, Fraudulent Business Practices, and Intentional Interference with Prospective Economic Advantage.
                                                                                                                             7
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           and reviewed by me in preparation for my rebuttal.

           a) Plaintiff Infinity Energy, Inc.’s Complaint for: 1. Federal Trademark Infringement; 2. Federal

                 Unfair Competition, False Designations of Origin; 3. Unlawful, Unfair, Fraudulent Business

                 Practices; and, 4. Intentional Interference with Prospective Economic Advantage

           b) Plaintiff’s Disclosure of Expert Testimony Pursuant to F.R.C.P. 26(a)(2)B

           c) Declaration and Expert Report of Dr. Patrick Farrell


                                              Expert Analysis and Opinions
27)        The Farrell Report is fatally flawed for two primary reasons: (1) it fails to present any consumer

           survey evidence in support of the Plaintiff’s allegation of a likelihood of confusion, and (2) it fails

           to appropriately analyze any of the Sleekcraft factors.

28)        The Farrell Report rests solely on Patrick Farrell’s subjective opinions regarding root words,

           definitions, irrelevant internet search results, and misstated and interpreted online posts. The

           report fails to provide any evidence showing that past and potential consumers of the Defendant’s

           service in a real-world marketplace are confused about the source of the INFINITE mark in

           question. Finally, the report has not shown that confusion has occurred or is likely to occur.


No Survey Evidence

29)        Consumer survey evidence is critically important in Lanham Act cases involving allegations of

           consumer confusion.3 A methodologically sound and well-executed survey presents the trier of

           fact with unbiased, replicable, representative information that is statistically projectable to a

           particular group of consumers relevant to the issue(s) in the case. Trademark scholar Jacob




3
    McCarthy, J.T. (2020). McCarthy on Trademarks and Unfair Competition, 5th Ed., §32:158.
                                                                                                                8
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           Jacoby explains the rationale behind the use of consumer surveys in trademark cases:

                      It is generally not feasible to bring all consumers of a particular offering into the courtroom to
                      testify regarding their states of mind. Outside the context of litigation, marketing and advertising
                      practitioners confront essentially the same problem when attempting to assess consumer states of
                      mind with respect to existing products, proposed new products, packaging, advertising, and so on.
                      As a general rule, they rely on well-conducted survey research to obtain the answers to such
                      questions. It therefore is not surprising that, as the methodological tool most often used by social
                      scientists to probe states of mind, surveys are now routinely used to assess and evaluate core
                      issues in trademark law.4

30)        Professor J. Thomas McCarthy notes:

                      As the use of surveys has become more common, judges have come to expect that a survey will be
                      introduced to aid the court in determining customers’ state of mind. Some courts have remarked
                      on the failure to introduce a survey as indicating that a litigant is less than deadly serious about
                      its case.5

31)        The lack of a properly conducted survey provides a basis for believing that the results may have

           been unfavorable. McCarthy cites Judge Ackerman as saying, “the failure of a plaintiff to conduct

           a survey to prove… likely confusion… may give rise to the inference that the contents of the

           survey would be unfavorable.”6

32)        Consumer survey evidence has become an indispensable tool in trademark litigation because it

           offers tremendous value as a source of objective information. As explained in the Reference

           Manual on Scientific Evidence:

                      Although surveys are not the only means of demonstrating particular facts, presenting the results
                      of a well-done survey through the testimony of an expert is an efficient way to inform the trier of
                      fact about a large and representative group of potential witnesses. In some cases, courts have
                      described surveys as the
                      most direct form of evidence that can be offered. Indeed, several courts have drawn negative
                      inferences from the absence of a survey, taking the position that failure to undertake a survey may
                      strongly suggest that a properly done survey would not support the plaintiff’s position.7




4
  Jacoby, J. (2013). Trademark Surveys, Volume 1: Designing, Implementing, and Evaluating Surveys,
American Bar Association, p. 6.
5
  McCarthy, J.T. (2020). McCarthy on Trademarks and Unfair Competition, 5th Ed., §32:195.
6
  Id., citing Eagle Snacks, Inc. v. Nabisco Brands, Inc., 625 F. Supp. 571, 228 U.S.P.Q. 625, 633 (D.N.J.
1985).
7
  Diamond, S. (2011). “Reference Guide On Survey Research,” in Reference Manual on Scientific Evidence. Federal Judicial
Center/National Academy of Sciences, p. 372.
                                                                                                                             9
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33)         In this case, the Plaintiff engaged Patrick Farrell to “render an opinion concerning the potential

            for consumer confusion.”8 This issue could have been examined empirically through the

            administration of a consumer survey. However, instead, Patrick Farrell simply based his opinion

            regarding consumer confusion on the pronunciation, spelling, and meaning of the words

            INFINITY and INFINITE.

34)         The Farrell Report is inherently flawed as a source of information about the potential for

            consumer confusion in this matter because it lacks the objectivity and projectability of a

            consumer survey. In one of many examples, rather than testing empirically for consumer

            confusion, the Farrell Report surmises that the similarities in spelling and pronunciation make it

            “easy… for the two words [emphasis added] to be confused with one another,”9 not the source of

            the words. It further surmises that “the spellings, pronunciations, word structure and meanings of

            these two words overlap in such a way as to make them virtually indistinguishable as trademarks

            [emphasis added].” This is pure speculation based only on Patrick Farrell’s subjective opinion.

35)          In contrast to the contents of the Farrell Report, a consumer survey would employ a sampling

            plan to select study respondents from the relevant target audience. A screening procedure would

            qualify respondents to ensure their eligibility for participation in the study. Qualified respondents

            would be administered a questionnaire designed to probe into the relevant issues of confusion.

            The findings would be projectable to the broad population of interest. None of these elements

            appear in the analysis presented in the Farrell Report. Patrick Farrell’s opinions do not carry the

            scientific validity of a consumer survey; they do not even carry the weight of an interview with a

            single consumer and therefore should be considered with extreme caution.

36)         Considering that it is incumbent upon the Plaintiff to demonstrate consumer confusion in this


8
    Farrell Report ¶ 5.
9
    Farrell Report ¶ 9.
                                                                                                                  10
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           matter, it is surprising, and perhaps telling, that they did not produce any consumer survey

           evidence to support their case.


Lack of a Sleekcraft Factor Analysis

37)        The Ninth Circuit uses the following Sleekcraft factors to assess the potential for likelihood of

           confusion: (1) the strength of the mark; (2) the proximity of the goods; (3) the similarity of the

           marks; (4) evidence of actual confusion; (5) the marketing channels used; (6) the type of goods

           and the degree of care likely to be exercised by the purchaser; (7) the defendant’s intent in

           selecting the mark; and (8) the likelihood of expansion of the product lines. Furthermore, the

           Ninth Circuit recognizes that a court must first identify “the relevant consumer market” upon

           which to apply these factors.10

38)        Not only does Patrick Farrell fail to define the relevant consumer market in his analysis, he also

           ignores the marketplace and consumers altogether.

39)        “Strength of the mark,” or trademark strength, refers to the scope of protection afforded to a

           trademark by courts based on that mark’s inherent and acquired tendency to signify to consumers

           a consistent source of the products or services to which the mark is affixed and, therefore, its

           ability to influence a consumer’s purchasing decisions.11 More pointedly, the Abercrombie

           taxonomy12 divides trademarks into five categories based on strength: (1) generic (APPLE for

           apples), (2) descriptive (TOTAL MOISTURE for hair conditioner), (3) suggestive (GOOGLE for

           a search engine, suggesting a large number of search results), (4) arbitrary (APPLE for




10
   https://www.jdsupra.com/legalnews/the-sleekcraft-factors/.
11
   Timothy Denny Greene and Jeff Wilkerson. “Understanding Trademark Strength,” Stanford Technology Law Review Vol. 16,
No. 3, Spring 2013, p. 535.
12
   Abercrombie & Fitch Co. v. Hunting World, Inc., 537 F.2d 4 (2d Cir. 1976).
                                                                                                                    11
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            computers), and (5) fanciful (KODAK for photographic equipment).13

40)         The Farrell Report does not address the issue of trademark strength. Instead, it substitutes internet

            search engine results as a proxy. Specifically, the report mistakenly assumes that the number of

            “hits” (Patrick Farrell’s term), or listings from queries involving the terms INFINITY or

            INFINITE, is a measure of trademark strength and, ultimately, consumer confusion.

41)         Even with this faulty methodology, Patrick Farrell did not replicate real-world consumer

            marketplace conditions. Rather, he used a search tool prominent in the United Kingdom and

            concocted specific, advanced parameters14 that would not be considered by consumers using

            common search engines in the United States, such as Google.

42)         The Farrell Report also relies on a personal search conducted by Patrick Farrell from his office. It

            does not consider that the results of a single online search are generated from one search engine,

            on a specific date, using one specific IP address, possibly using the computer’s stored search

            history, and in a specific geographic location; nor does it consider that search engine results are

            produced using complex algorithms that are partly based on these exact elements. For example,

            when conducting an online search for INFINITY ENERGY from my office in Dallas, TX, I did

            not discover the same issues and results as those presented in the Farrell Report. The results of a

            search conducted from my office computer on April 19, 2022, included companies in Texas and

            Florida with the names “Infinite Energy” (headquartered in Gainesville, Florida), “Infinite Energy

            saveoneenergy.com,” and “Infinite Energy Magazine.” In other words, search engine results are

            based on dynamically indexing produced using complex algorithms, search engine optimization,

            search engine marketing tactics, digital advertising, source codes, and more. As SEO and Content




13
     Ibid.
14
     The Farrell Report, ¶ 16.
                                                                                                                  12
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           expert Sam Marsden, explains:

                      Indexing is the process by which search engines organize information before a search to enable
                      super-fast responses to queries. Searching through individual pages for keywords and topics
                      would be a very slow process for search engines to identify relevant information. Instead, search
                      engines (including Google) use an inverted index, also known as a reverse index. An inverted
                      index is a system wherein a database of text elements is compiled along with pointers to the
                      documents which contain those elements. Then, search engines use a process called
                      tokenisation to reduce words to their core meaning, thus reducing the amount of resources needed
                      to store and retrieve data. This is a much faster approach than listing all known documents
                      against all relevant keywords and characters.15


43)        More disturbingly, in the Farrell Report, Patrick Farrell erroneously attributes human

           characteristics to online technology-based algorithms, stating that “even Google seems to get

           confused”16 and “That people actually do sometimes confuse the phrase INFINITE ENERGY

           with the phrase INFINITY ENERGY can be demonstrated with a Google search for [“infinity

           energy” “infinite”] or [“infinite energy” “infinity”], in which case there is an attempt to retrieve

           only pages that contain both of the terms enclosed with quotes in the search box.”17 Search

           engines are not humans, and the results they produce are not evidence of anything other than how

           search engines function based on complex combinations of software algorithms, keywords,

           search engine optimization, and search engine marketing.

44)        In contrast to the Farrell Report, a trademark analysis would involve assessing the Plaintiff’s

           mark against the Abercrombie taxonomy and determining whether it is strong or weak. Contrary

           to Patrick Farrell’s assertions, search engines are not consumers and cannot provide evidence of

           trademark strength or consumer confusion. Rather than being due to consumer knowledge,

           inherent trademark strength, or confusion, a particular search term resulting in listings for the

           Plaintiff’s company along with many others is likely a result of the Plaintiff’s search engine



15
   https://www.deepcrawl.com/knowledge/technical-seo-library/search-engine-indexing/.
16
   The Farrell Report, ¶ 19.
17
   The Farrell Report, ¶ 21.
                                                                                                                    13
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            optimization and search engine marketing tactics to garner rankings within the search engine

            itself.

45)         Finally, the Farrell Report includes three examples of “actual confusion” online. In one example,

            Patrick Farrell cropped an online post to isolate the term “Infinity.” However, Figure 1 shows the

            term “Infinite” being used correctly 12 times, while the term “Infinity” is used only once.18 This

            is clearly a copyediting issue and not an instance of source confusion between the parties in this

            case.


                      Figure 1. FinanceGuru Post Regarding Infinite Energy, Headquartered in Florida




18
     https://financeguru.com/energy/providers/infinite-energy/.
                                                                                                                 14
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46)         The Farrell Report also presents one old post from an Australian-based company called Infinite

            Energy in which the consumer provides a testimonial thanking “Infinity Energy” on its website.19

            Again, this is not convincing evidence that the source of the Defendant’s mark was the Plaintiff’s

            in present-day California, USA. It is simply evidence of a mistake made by a consumer halfway

            around the world on one post seven years ago.

47)         Finally, Patrick Farrell’s last so-called proof of consumer confusion cites one Better Business

            Bureau post from 2019 regarding the Florida-based Infinite Energy company. Figure 2 shows that

            one consumer uses the term “Infinite” correctly three times and then, mistakenly, uses the term

            “Infinity” once. Again, there is no evidence of consumer confusion as to the source of the

            Defendant’s business name in this example—only evidence of a typo.

                   Figure 2. Better Business Bureau Post for Infinite Energy Headquartered in Florida




48)         Patrick Farrell fails to assess the strength of the mark appropriately and accurately and fails to

            provide any evidence of actual confusion. Finally, Patrick Farrell does not provide any

            assessment, evidence, or comments regarding the remaining Sleekcraft factors: the proximity of

            the goods, the similarity of the marks, the marketing channels used, the type of goods and the

            degree of care likely to be exercised by the purchaser, the defendant’s intent in selecting the


19
     The Farrell Report, ¶ 22.
                                                                                                                 15
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           mark, and the likelihood of expansion of the product lines.


                                                                Summary
49)         The Farrell Report concludes that “internet corpus evidence shows that these words are in fact

           often confused” and that INFINITY ENERGY is strongly associated with [the] Plaintiff’s

           company and that the phrase INFINITE ENERGY does in fact get confused with it.”20 According

           to the Oxford Scholarship Online, corpus evidence provides “massive evidence.”21

50)        In sharp contrast to “massive evidence,” Patrick Farrell provides no evidence of consumer

           confusion based on internet searches. He only provides search engine results based on search

           engine algorithms and digital marketing tactics, none of which provides any evidence of actual

           human consumer confusion, let alone source confusion between the two marks in question.

51)        Furthermore, Patrick Farrell provides no evidence that INFINITY ENERGY is strongly

           associated with the Plaintiff’s company in the minds of relevant consumers. He also does not

           provide any evidence that INFINITE ENERGY is being confused with INFINITY ENERGY by

           relevant consumers. Even within the three pieces of so-called evidence provided by Patrick

           Farrell, only the terms INFINITE and INFINITY were presented, and they were presented as

           typos, not in reference to the parties in this case.


                                                                Conclusion
52)        Interestingly, although Patrick Farrell was engaged to “render an opinion concerning the potential

           for consumer confusion,” the term “consumer” is not referenced anywhere in his report, including

           in his CV, except for when he describes what he was engaged to do.22 Moreover, the phrase


20
   The Farrell Report, ¶ 25.
21
   https://oxford.universitypressscholarship.com/view/10.1093/acprof:oso/9780199654864.001.0001/acprof-9780199654864-
chapter-4.
22
   The Farrell Report, ¶ 5.
                                                                                                                        16
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           “likelihood of confusion” does not appear anywhere within the report.

53)        As demonstrated throughout this report, the Farrell Report provides no objective empirical

           evidence regarding the likelihood of confusion between the parties in this matter. Instead, the

           Farrell Report relies solely on the subjective and unfounded opinions of Patrick Farrell, which are

           based on irrelevant internet searches and dictionary definitions. For these reasons, I do not

           consider the Farrell Report a reliable, independent basis for evaluating the likelihood of confusion

           in this matter.


                                                        Other Information
54)        Should evidence come to my attention that I had not previously considered, I reserve the right to

           amend or supplement my report.

55)        Executed this 27th day in April, 2022, in Dallas, Texas.




           Rhonda Harper MBA, Harper Litigation Consulting and Research




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Exhibit 1: Rhonda Harper Resume


Owner, Harper Litigation Consulting and Research, Dallas, TX – Retained by more than 150 law firms to
provide consulting, research, and expert witness services in cases involving trademarks and trade dress
infringement, contract breakage, defamation, commercial reasonableness, licensing, and misleading and
fraudulent advertising. Experience: federal, state, DE chancery, all circuits, JAMS, USPTO, AAA,
TTAB, and USTTB. Courtroom and arbitration qualified. Class action cases. 2005 – present.

Founder, Owner, and CEO, Penrose Check-In Services, Dallas, TX – Created the senior care auditing
category and career field. Penrose Check-In Services was the first and only nationwide tech-/app-enabled
service that provided family oversight of seniors. Winner of the 2016 AARP Top 10 Innovation
Health/Tech Start-Ups, 2016 Geriatrics Society of America’s Top 15 Innovation Tech for Seniors Start-
Ups, and 2017 Cartier/McKinsey Women’s Initiative. 2013 – 2019.

Global Director, Communications, UPS. Atlanta, GA - Led the global marketing communications team
for all business products, services, and agencies. Successfully launched UPS My Choice, the company’s
first B2C initiative and the largest launch in its history. Responsible for all global agencies. 2011– 2012.

General Manager/Senior Vice President, Ketchum Public Relations. Atlanta, GA - Led more than 100
professionals at the Atlanta and Dallas offices of a top-three global agency. Managed the second largest
P&L serving the southern half of the United States. Increased client income by 33%. Launched practices,
including social media, retail, and energy. 2005 – 2007.

Founder, Owner, and CEO, RTM&J. Atlanta, GA - Founded and led an organic growth strategy and
research boutique consultancy. Select projects include global web strategy for IBM; private brand strategy
for The Home Depot; brand repositioning for HSN; retail strategy for The Coca-Cola Company;
innovation pipeline for Tyson Foods; cereal platform development for Kellogg’s; multicultural corporate-
wide roadmap creation for Target; portfolio brand positioning for Russell Athletic; new product
commercialization for SC Johnson; segmentation strategy for Arby’s; Hispanic marketing for Papa Johns;
and in-bank user experience for Washington Mutual. 98% client repeat. 2003 – 2010

Vice President of Marketing, Sam’s Club and Corporate Officer, Walmart. Bentonville, AR Top
marketing officer reporting to the CEO. Led brand marketing, strategic planning, creative services,
production, advertising, promotion, public relations, digital, research/insights, CRM, direct/database
marketing, in-store merchandising, and signage for Sam’s Club globally, a $40 billion division with 40
million members. Responsible for all agencies. Launched Shopper Marketing, now 25% of marketing
budgets nationwide. 2000 – 2002.

Vice President of Marketing, Vanity Fair Intimates and Corporate Officer, VF Corp. Alpharetta, GA Top
marketing officer reporting to the president. Led brand marketing, strategic planning, licensing, brand

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trade, creative, research/insights, innovation, in-store merchandising, communications, direct mail,
advertising, promotion, public relations, and digital for VFI, a $1.5 billion division of the world’s largest
apparel manufacturer. Managed a ~$40 million budget. Launched #1 product in chain stores, #1 brand in
mass merchandisers. 1998 - 2000.

(1984–1998) Promotional Marketing Director, Nabisco Biscuit. E. Hanover, NJ: Led the promotional
marketing team for the $4 billion Biscuit Division. Promotional Marketing Division Manager, Warner
Lambert. Morris Plains, NJ: Member of the Listerine team, a $300 million business. Subsequently led
team promotional marketing for the $1.5 billion consumer healthcare division. Marketing Director and
Corporate Development Manager, American Red Cross. Washington, DC: Increased blood collections by
22% through database marketing. Created a diversified revenue stream strategy, raising more than $400
million annually. High School Math Teacher. Atlanta, GA: Created a management and discipline program
that was shared systemwide. Created curriculum and increased the state student passage rate by 76%.
Voted “Teacher of the Year.”

EDUCATION

MBA, Emory University Goizueta Business School, 1988 – Business School Vice-President
BS, Education/Math Resource, Illinois State University, 1984 – Faculty Student Advisor

OTHER EXPERIENCE

Former Board Member, Partnership Against Domestic Violence (www.padv.org)
Former Board Member, Emory University Goizueta Business School Alumni Association
Former Board Member, Promotion Marketing Association (Brand Activation Association)
Former Board Member, Market Research Association (Insights Association)
Former Adjunct MBA Marketing Professor, American University and Fairleigh Dickinson University
Member, International Trademark Association
Member, Marketing Research Institute
Member, Association of National Advertisers
Member, American Marketing Association
Co-Founding Board Member Emerita, Leadership Worth Following
Keynote Speaker: Fortune 500 corporations, top 20 universities, and leading trade associations
Authored two books: Seeking Joy: The Real Truth About Work/Life Balance, 2003, and Generation Y:
What it Means for Marketers, 2008




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Exhibit 2: Rhonda Harper Professional History


 PROFESSIONAL EXPERIENCE______________________________________________________
 Founder and Owner, Harper Litigation Consulting and Research
 *Chief Marketing Officer and Vice President of Marketing, Walmart Sam’s Club
 *Chief Marketing Officer and Vice President of Marketing, VF Corporation VFI
 Senior Vice President and General Manager, Ketchum Communications
 Global Director, Marketing Communications, UPS
 Marketing Promotion Director, Nabisco Biscuit Division

 PROFESSIONAL AFFILIATIONS_____________________________________________________
 Board of Directors, Member, and Speaker, Brand Activation Association (Promotion Marketing Association)
 Board of Directors, Member, and Speaker, Insights Association (National Research Association)
 Member, American Bar Association
 Member, International Trademark Association
 Member, Data & Marketing Association (Direct Marketing Association)
 Member and Speaker, American Marketing Association
 Member and Speaker, Institute of International Research
 Member, American Association for Public Opinion Research
 Member and Speaker, Public Relations Society of America

 EDUCATION_______________________________________________________________________
 Master of Business Administration (MBA), Emory University Goizueta Business School – Vice President,
 Business School
 Bachelor of Science (BS), Education/Math Resource, Illinois State University – Faculty Advisor

 OTHER EXPERIENCE_______________________________________________________________
 Founder, Owner, and CEO, Penrose Check-In Services, LLC – International Winner: 2017 Cartier Women’s
 Initiative, co-sponsored by McKinsey & Co.; National Winner: 2016 AARP Innovation@50+, Best New Start-
 Up for Seniors; National Winner: 2016 American Geriatrics Association 10 Best New Start-Ups for Seniors
 Founder, Owner, and CEO, RTM&J, LLC
 Co-Founder and Co-Owner, Harper Street, LLC
 Co-Founder and Board of Directors, Leadership Worth Following, PLLC
 Adjunct Marketing Professor, American University and Fairleigh Dickinson University
 MBA Case Competition Judge, Emory University Goizueta Business School
 Board of Directors, Member, Emory University Goizueta Business School Alumni Association

 *The Chief Marketing Officer position title was not available at Walmart or VF Corporation. However, Ms. Harper
 held the highest marketing position and was an officer at both companies.




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Exhibit 3: Rhonda Harper Rule 26 Testimony (2019–2022)


1)    Amarussein Investments Luxembourg S.a.r.L. v. Signet Jewelers Brands Limited and Sterling

     Jewelers, Inc.

2) Diana Ismailyan, Robert Alan Leder, and Jeff Torres, individually and on behalf of all others

     similarly situated v. Apple Inc. DOES 1 to 100, inclusive

3) Kenco Bucket Trucks, LLC v. VersaBucket, LLC, Charles Rollins, and Nick Roberts

4) Think Green Limited d/b/a HAAKAA v. Medela AG and Medela LLC

5) Michael Lavine et al v. Herbalife, LTD, et al

6) River Light V, L.P. and Tory Burch LLC v. Olem Shoe Corporation

7) Sitelock LLC v. GoDaddy.com LLC

8) Louis Schwarz and Doris Schwarz v. The Villages Charter School Inc., The Holding Company of The

     Villages, Inc., and Randy McDaniel

9) Farjad Fani, Matt Johnson Finance, Inc., MyPhoneFax.com, LLC v. Shartsis Friese LLP

10) Jalinski Advisory Group, Inc. v. JBL Financial Services, Inc.

11) Ball Up, LLC v. Strategic Partners, Inc., Strategic Distribution, L.P., and Strategic General Partners,

     LLC

12) Toyota Motor Sales, USA, Inc., and Toyota Motor Corporation v. Richard Rentrop, d/b/a TVD Vinyl

     Decals

13) NEW NGC, INC. d/b/a National Gypsum Company, NGC INDUSTRIES, LLC, and National

     Gypsum Properties, LLC, v. Alpinebay, Inc.

14) Restoration Hardware Inc. v. Bungalow Home, LLC

15) Taco Mamacita, LLC f/k/a Taco Rosa LLC v. Wilco Holdings, LLC

16) The State of Idaho v. Chad Daybell and Lori Vallow


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17) Jalinski Advisory Group, Inc. v. Franklin Retirement Solutions Inc.

18) JUUL Labs, Inc. v. 4X PODS, EONSMOKE, LLC d/b/a 4X PODS, Gregory Grishayev, Michael

     Tolmach, and John Does 1-50

19) Liqwd, Inc. and Olaplex LLC, v. L'Oreal USA, Inc., L'Oreal USA Products, Inc., L'Oreal USA S/D,

     Inc., and Redken 5th Avenue NYC, LLC




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         EXHIBIT P
               Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 133 of 161

To:                  Infinity Energy Inc. (craig@simmermonlaw.com)
Subject:             U.S. Trademark Application Serial No. 88820219 - INFINITY ENERGY - N/A
Sent:                May 26, 2020 10:25:04 AM
Sent As:             ecom101@uspto.gov
Attachments:

                                          United States Patent and Trademark Office (USPTO)
                                    Office Action (Official Letter) About Applicant’s Trademark Application


                                                       U.S. Application Serial
                                                       No. 88820219

                                                       Mark: INFINITY
                                                       ENERGY

                                                       Correspondence
                                                       Address:
                                                       CRAIG SIMMERMON
                                                       LAW OFFICE OF
                                                       CRAIG A.
                                                       SIMMERMON
                                                       980 9TH ST., 16TH FL.
                                                       SACRAMENTO, CA
                                                       95814

                                                       Applicant: Infinity
                                                       Energy Inc.

                                                       Reference/Docket No.
                                                       N/A

                                                       Correspondence Email
                                                       Address:

                                                       craig@simmermonlaw.com



                                                  NONFINAL OFFICE ACTION

The USPTO must receive applicant’s response to this letter within six months of the issue date below or the application will be abandoned.
Respond using the Trademark Electronic Application System (TEAS). A link to the appropriate TEAS response form appears at the end of this
Office action.


Issue date: May 26, 2020

 The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

SEARCH OF USPTO DATABASE OF MARKS

The trademark examining attorney searched the USPTO database of registered and pending marks and found no conflicting marks that would bar
registration under Trademark Act Section 2(d). 15 U.S.C. §1052(d); TMEP §704.02.

DISCLAIMER REQUIRED

Applicant must disclaim the wording “ENERGY” because it is merely descriptive of an ingredient, quality, characteristic, function, feature,
purpose, or use of applicant’s goods and/or services. See 15 U.S.C. §1052(e)(1); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695
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F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012); TMEP §§1213, 1213.03(a).

Applicant’s services consist of the installation of energy products and as such the term ENERGY is descriptive and must be disclaimed.

Applicant may respond to this issue by submitting a disclaimer in the following format:

       No claim is made to the exclusive right to use “ENERGY” apart from the mark as shown.

For an overview of disclaimers and instructions on how to provide one using the Trademark Electronic Application System (TEAS), see the
Disclaimer webpage.


How to respond. Click to file a response to this nonfinal Office action.


                                             /Jacqueline Abrams/
                                             Examining Attorney LO 101
                                             (571) 272-9185
                                             United States Patent and Trademark Office
                                             jacky.abrams@USPTO.gov (INFORMAL ONLY)


RESPONSE GUIDANCE
      Missing the response deadline to this letter will cause the application to abandon. A response or notice of appeal must be received by
      the USPTO before midnight Eastern Time of the last day of the response period. TEAS and ESTTA maintenance or unforeseen
      circumstances could affect an applicant’s ability to timely respond.


      Responses signed by an unauthorized party are not accepted and can cause the application to abandon. If applicant does not have an
      attorney, the response must be signed by the individual applicant, all joint applicants, or someone with legal authority to bind a juristic
      applicant. If applicant has an attorney, the response must be signed by the attorney.


      If needed, find contact information for the supervisor of the office or unit listed in the signature block.
              Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 135 of 161

 To:                Infinity Energy Inc. (craig@simmermonlaw.com)
 Subject:           U.S. Trademark Application Serial No. 88820219 - INFINITY ENERGY - N/A
 Sent:              May 26, 2020 10:25:05 AM
 Sent As:           ecom101@uspto.gov
 Attachments:

                                 United States Patent and Trademark Office (USPTO)

                                              USPTO OFFICIAL NOTICE

                                         Office Action (Official Letter) has issued
                                                   on May 26, 2020 for
                                   U.S. Trademark Application Serial No. 88820219

Your trademark application has been reviewed by a trademark examining attorney. As part of that review, the assigned attorney has
issued an official letter that you must respond to by the specified deadline or your application will be abandoned. Please follow the
steps below.

(1) Read the official letter.

(2) Direct questions about the contents of the Office action to the assigned attorney below.


/Jacqueline Abrams/
Examining Attorney LO 101
(571) 272-9185
United States Patent and Trademark Office
jacky.abrams@USPTO.gov (INFORMAL ONLY)

Direct questions about navigating USPTO electronic forms, the USPTO website, the application process, the status of your
application, and/or whether there are outstanding deadlines or documents related to your file to the Trademark Assistance Center
(TAC).

(3) Respond within 6 months (or earlier, if required in the Office action) from May 26, 2020, using the Trademark Electronic
Application System (TEAS). The response must be received by the USPTO before midnight Eastern Time of the last day of the
response period. See the Office action for more information about how to respond




GENERAL GUIDANCE
·   Check the status of your application periodically in the Trademark Status & Document Retrieval (TSDR) database to avoid
    missing critical deadlines.

·    Update your correspondence email address, if needed, to ensure you receive important USPTO notices about your
    application.

·    Beware of misleading notices sent by private companies about your application. Private companies not associated with
    the USPTO use public information available in trademark registrations to mail and email trademark-related offers and notices –
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        EXHIBIT Q
    D2D Sales Booklet
                 Case 2:21-cv-00438-WBS-KJN   Document 35 FiledProposals
                                                                04/25/23 Page 137 of 161




Brochures                                                                                  INFY000073
                        Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 138 of 161
    PPA Slick                          Purchase Slick                          LOI/Appointment Form




                Lease Slick                                 Referral Slick



Sales Slicks                                                                                          INFY000074
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      Banner



                                                                       Video




       Social


Digital Ads                                                                             INFY000076
     Website   Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 PageForms
                                                                         140 of 161




Website                          Landing Pages
                                                                                      INFY000080
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         EXHIBIT R
                    Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 142 of 161




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      for you




                                                     Choose plan                                      Choose plan                                        Choose plan



                                      The Power Purchase                              The Solar Lease provides ﬁxed                     The Solar Loan provides a “best
                                      Agreement (PPA) provides you                    monthly payments for the beneﬁts                  of both worlds” between the
                                      immediate savings. With a                       of Solar Power, without requiring                 Lease and Cash Purchase. The
                                      Power Purchase Agreement,                       a loan. The Solar Lease pricing is                loan product keeps the tax credit
                                      you buy electricity at a better                 about the same as the Power                       for going solar in your pocket,
 Plan Description                     rate than you do now, straight                  Purchase Agreement – but is                       where it belongs. Our customers
                                      from your own roof. The Power                   averaged out over the year to                     that choose the Solar Loan value
                                      Purchase agreement is popular                   give you a consistent bill. Our                   both long-term and immediate
                                      with customers who want                         customers that enjoy this plan                    savings. Savings not guaranteed.
                                      savings right now and don’t                     value consistency, or sometimes                   Savings are based oﬀ system
                                      want to take out a loan.                        live on a ﬁxed income.                            size and usage.

 Fixed Monthly
                                                                                                                                           
 Payments

 Tax Credit
                                                                                                                                             
 Available


 System Owner                                                                                                                               



 $0 Down                                                                                                                                   



 Save Money                                                                                                                                



 Warranty Coverage                                                                                                                         



 Optional Battery                                                                                                                          


                                                                                                                                               Welcome to Inﬁnity Energy!
* PPA has two options. We oﬀer an Easy PPA that has ﬁxed payments when the normal PPA is determined by a price per KW. Our PPA option has the availability to purchase and own system
after 5 years.
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                   Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 143 of 161
                                                                              Contact Us Today

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         Email*                                                                                                  Phone No. (optional)



         City (optional)                                                                                         State (optional)



         Zip Code*                                                                                               How can we help you?



        Message (optional)




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                                                                                       Rooﬁng                                        Solar Plans                                   Sitemap
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         EXHIBIT S
                                                                                                                                                      B1155-9602 10/05/2022 3:12 PM Received by California Secretary of State
                 Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 145 ofBA20220943947
                                                                                  161
                           STATE OF CALIFORNIA                                                                          For Office Use Only
                           Office of the Secretary of State
                           STATEMENT OF INFORMATION                                                                      -FILED-
                           CORPORATION
                           California Secretary of State                                                      File No.: BA20220943947
                           1500 11th Street                                                                   Date Filed: 10/5/2022
                           Sacramento, California 95814
                           (916) 653-3516



Entity Details
  Corporation Name                                                          INFINITE ENERGY HOME SERVICES, INC.
  Entity No.                                                                3935396
  Formed In                                                                 CALIFORNIA
Street Address of Principal Office of Corporation
  Principal Address                                                         12178 TRIBUTARY POINT DR
                                                                            RANCHO CORDOVA, CA 95670
Mailing Address of Corporation
  Mailing Address                                                           12178 TRIBUTARTY POINT DR
                                                                            RANCHO CORDOVA, CA 95760
  Attention                                                                 Rich Walton
Street Address of California Office of Corporation
  Street Address of California Office                                       12178 TRIBUTARY POINT DR
                                                                            RANCHO CORDOVA, CA 95670
Officers

            Officer Name                        Officer Address                                         Position(s)

     • Richard E Walton           12178 TRIBUTARY POINT DR                 Secretary, Chief Executive Officer, Chief Financial Officer
                                  RANCHO CORDOVA, CA 95670
    − Richard E Walton            12171 Tributary Point Drive              Secretary, Chief Financial Officer
                                  Rancho Cordova, CA 95670


Additional Officers

                 Officer Name                           Officer Address                   Position                      Stated Position

                                                                     None Entered


Directors

                                  Director Name                                                      Director Address

     • Rich E Walton                                                       12178 TRIBUTARTY POINT DR
                                                                           RANCHO CORDOVA, CA 95670

  The number of vacancies on Board of Directors is: 0

Agent for Service of Process
  Agent Name                                                                JASON G. ELDRED
  Agent Address                                                             555 CAPITOL MALL, SUITE 700
                                                                            SACRAMENTO, CA 95814
Type of Business
  Type of Business                                                          HOME SERVICES
Email Notifications
  Opt-in Email Notifications                                                Yes, I opt-in to receive entity notifications via email.
Labor Judgment




                                                                                                                                              Page 1 of 2
                                                                                                                                          B1155-9603 10/05/2022 3:12 PM Received by California Secretary of State
             Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 146 of 161
  No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
  Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
  order or provision of the Labor Code.
Electronic Signature

       By signing, I affirm that the information herein is true and correct and that I am authorized by California law to sign.


  Richard Walton                                                     10/05/2022
  Signature                                                          Date




                                                                                                                                  Page 2 of 2
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         EXHIBIT T
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      Banner



                                                                       Video




       Social


Digital Ads                                                                             INFY000076
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        EXHIBIT U
              Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 150 of 161

                                    Trademark Snap Shot Amendment & Mail Processing Stylesheet
                                        (Table presents the data on Amendment & Mail Processing Complete)


                                                                OVERVIEW

SERIAL NUMBER                                  88820219                  FILING DATE                                03/04/2020

REG NUMBER                                      0000000                  REG DATE                                      N/A

REGISTER                                      PRINCIPAL                  MARK TYPE                                SERVICE MARK

INTL REG #                                            N/A                INTL REG DATE                                 N/A

TM ATTORNEY                            ABRAMS, JACQUELINE WIL            L.O. ASSIGNED                                 101



                                                            PUB INFORMATION

RUN DATE                         05/27/2020

PUB DATE                         N/A

STATUS                           661-RESPONSE AFTER NON-FINAL-ACTION-ENTERED

STATUS DATE                      05/26/2020

LITERAL MARK ELEMENT             INFINITY ENERGY



DATE ABANDONED                                        N/A                DATE CANCELLED                                N/A

SECTION 2F                                            NO                 SECTION 2F IN PART                            NO

SECTION 8                                             NO                 SECTION 8 IN PART                             NO

SECTION 15                                            NO                 REPUB 12C                                     N/A

RENEWAL FILED                                         NO                 RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS

                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          YES            1 (a)                                 YES              1 (a)                   NO

1 (b)                          NO             1 (b)                                 NO               1 (b)                   NO

44D                            NO             44D                                   NO               44D                     NO

44E                            NO             44E                                   NO               44E                     NO

66A                            NO             66A                                   NO

NO BASIS                       NO             NO BASIS                              NO



                                                               MARK DATA

STANDARD CHARACTER MARK                                                  YES

LITERAL MARK ELEMENT                                                     INFINITY ENERGY

MARK DRAWING CODE                                                        4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                       NO



                                                 CURRENT OWNER INFORMATION

PARTY TYPE                                                               10-ORIGINAL APPLICANT
               Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 151 of 161
NAME                                                              Infinity Energy Inc.

ADDRESS                                                           3855 Atherton Rd.
                                                                  Rocklin, CA 95765

ENTITY                                                            03-CORPORATION

CITIZENSHIP                                                       California



                                                   GOODS AND SERVICES

INTERNATIONAL CLASS                                               037

       DESCRIPTION TEXT                                           Installation of solar energy systems and alternative energy products for residential
                                                                  and commercial use




                                        GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     037          FIRST USE DATE   10/03/2014        FIRST USE IN           10/03/2014           CLASS STATUS           6-ACTIVE
CLASS                                                             COMMERCE
                                                                  DATE



                                     MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                            NO

DISCLAIMER W/PREDETER TXT                                         "ENERGY"



                                                  PROSECUTION HISTORY

DATE                        ENT CD     ENT TYPE     DESCRIPTION                                                                             ENT NUM

05/26/2020                  TEME           I        TEAS/EMAIL CORRESPONDENCE ENTERED                                                          009

05/26/2020                  CRFA           I        CORRESPONDENCE RECEIVED IN LAW OFFICE                                                      008

05/26/2020                  TROA           I        TEAS RESPONSE TO OFFICE ACTION RECEIVED                                                    007

05/26/2020                  GNRN          O         NOTIFICATION OF NON-FINAL ACTION E-MAILED                                                  006

05/26/2020                  GNRT          F         NON-FINAL ACTION E-MAILED                                                                  005

05/26/2020                  CNRT          R         NON-FINAL ACTION WRITTEN                                                                   004

05/23/2020                  DOCK          D         ASSIGNED TO EXAMINER                                                                       003

03/10/2020                  NWOS           I        NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                       002

03/07/2020                  NWAP           I        NEW APPLICATION ENTERED IN TRAM                                                            001



                                     CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                          Craig Simmermon

CORRESPONDENCE ADDRESS                                            Craig Simmermon
                                                                  LAW OFFICE OF CRAIG A. SIMMERMON
                                                                  980 9TH ST., 16TH FL.
                                                                  SACRAMENTO CA 95814

DOMESTIC REPRESENTATIVE                                           NONE
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                                                                        INFY000117
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       EXHIBIT W
           Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 156 of 161




From: Josh Hoyt <hoyt79@gmail.com>
Sent: Monday, March 14, 2022 10:11 AM
To: Customer Service <customerservice@goinfinityenergy.com>
Subject: Re: Residential Permit process delays

  You don't often get email from hoyt79@gmail.com. Learn why this is important

2879 Merriam Lane
El Dorado Hills
95762

On Mon, Mar 14, 2022 at 9:21 AM Customer Service <customerservice@goinfinityenergy.com> wrote:
Hello Josh,

I apologize for your experience with our service. Can you please provide your full street address so we
may best assist?

Thank You,

Kaycee L.
3825 Atherton Road

Rocklin, CA 95765
Toll-Free: 888-244-2513
Fax: 888-244-2514


From: Josh Hoyt <hoyt79@gmail.com>
Sent: Friday, March 11, 2022 6:52 PM
To: Customer Service <customerservice@goinfinityenergy.com>
Subject: Residential Permit process delays


  You don't often get email from hoyt79@gmail.com. Learn why this is important

Hello,

  I’m going to cut and paste my Google review to keep this easier on my end. I’ve called and emailed Rich with no
response as of 3/10/2022.

                                                               1
                                                                                                   INFY000111
                                                    Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 157 of 161
First, I’d like to acknowledge that the employees at Infinite have always been polite and friendly anytime we’ve
communicated, and overall, I’m sure Infinite Energy is a good company.
That being said, our experience has left me feeling that we may have made a mistake choosing this company, and
after almost 5 months from signing a contract and paying over $30K for our solar system, we have yet to see a
single dollar of a return on our investment.
Our system was installed back in November of 2021, and was a basic 9.6kW system that as far as we were told
was straightforward residential system that would be up and running “hopefully” before the end of the year. The
first problem we experienced was when the county inspector came to sign off on the project and we failed the
inspection. The county inspector advised us that there were wires dangling down from the panels, making contact
with the roof. “They should have picked up on that. They know better,” was the comment from the inspector. He did
mention that it was a minor issue, and easy to fix. Infinite did come out the next day and fix the wires.
Unfortunately, we were advised that this mistake would set the approval process back another 30 days.
45 days later I still had no updates from PG&E nor Infinite. Each party stated they were waiting on the other for
“paperwork processing.”
Rich advised me that PG&E was basically stalling and it “was a very busy time of year for them.”
I gave the process another month before contacting PG&E. This time, the PG&E representative advised me that our
application had been kicked back for being “incomplete.” Apparently there was a date missing on one of the
signatures. Infuriated, I asked the PG&E rep to send me the paperwork directly and I would make sure it was filled
out myself and send it right back. PG&E’s rep then stated “I’m sorry sir, but only the installer can generate the
applications to be filled out. Once they get the signatures from the homeowner, it is their job to then submit it to
us.”
So… my frustration now sits with Infinite, who, should absolutely make sure all of the permit applications are filled
out correctly and completely BEFORE submitting them to PG&E. Especially if they know the process, and especially
if they know how much money can be lost each month the systems are not up and operating.
To say the least, I’m really disappointed with the way this process has turned out, and I’m wishing we had gone
with another company that was more organized with their permit applications processing. At this point of the year,
I estimate that we’ve lost approximately $600-$800 in electrical production, especially considering the mild winter.
After requesting help via email, as well as calling and leaving messages to Infinite’s staff, we’ve heard nothing
back.
If you are considering this company, make absolutely sure that they FILL OUT YOUR PERMIT APPLICATIONS
CORRECTLY before submitting to PG&E.




I’m still waiting for a response from anyone from your company who can explain to me why this happened, and why
this is acceptable. Everyone who I’ve spoken with who has had their own residential solar systems have ALL stated
that the longest they had to wait to switch their systems on was 8 weeks. At this point I’ve lost confidence in your
company and am seriously considering alternative options for financial compensation.


PLEASE have SOMEONE contact me who knows what they’re doing and can provide me with a LEGITIMATE
EXPLANATION for what has happened with this permit process and a reasonable option to compensate us for the
failures that have this far taken place.




     To help protect y our priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
     signature_1802101622

                                                                                                                          Customer Service

                                                                                                                          | Infinity Energy Inc

                                                                                                                          1.888.244.2513 | customerservice@goinfinityenergy.com

                                                                                                                          infinityenergy.com



                                                                                                                                                  2
                                                                                                                                                                                  INFY000112
           Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 158 of 161
                                  We exist to power you.



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                                                           3
                                                                                                     INFY000113
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         EXHIBIT X
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                                                    Have a Question?
                          Describe your issue




                                                Frequently Asked Questions
                                  Have any questions? Here are the most common questions we hear today.


                                                                                                                                                       

                                                The average start to ﬁnish time is around 6-8 weeks depending on the area you live and the
                                                system we design for you.


                                                                                                                                                       



                                                                                                                                                       



                                                                                                                                                       



                                                                                                                                                       




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        First Name*                                                               Last Name*
                                                                      Decline
             Email*                                                                                                     Phone No. (optional)
                         Case 2:21-cv-00438-WBS-KJN Document 35 Filed 04/25/23 Page 161 of 161

             City (optional)                                                                                            State (optional)



             Zip Code*                                                                                                  How can we help you?



             Message (optional)




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                                                                                              Battery                                       Careers                                       Blog
                                                                                              Rooﬁng                                        Solar Plans                                   Sitemap
                                                                                                                                            Contact Us


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